                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 16
 1                IN THE UNITED STATES DISTRICT COURT
 2                   FOR THE DISTRICT OF COLORADO
 3   --------------------------------------------------------
 4   Eric Coomer, Ph.D.,
 5                  Plaintiff,
 6       vs.                   Civil Action No. 1:22-cv-01129-WJM
 7   Michael J. Lindell, Frankspeech LLC,
 8   and My Pillow, Inc.,
 9                  Defendants.
10   --------------------------------------------------------
11
12            VIDEOTAPED DEPOSITION OF MICHAEL J. LINDELL
13           DESIGNATED REPRESENTATIVE OF MY PILLOW, INC.
14                      VOLUME I (Pages 1-370)
15
16
17   DATE:     March 8, 2023
18   TIME:     9:30 a.m. CST
19   PLACE:    PARKER DANIELS KIBORT, LLC
20             Colwell Building, Suite 888, 123 North 3rd St
21             Minneapolis, Minnesota 55401
22
23
24   REPORTED BY: KELLEY E. ZILLES, RPR
25   Job No.: 5761446

                                                        Page 1

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 1                 APPEARANCES                                      1 EXHIBITS MARKED AND REFERRED TO:
 2                                                                  2
 3   On Behalf of Plaintiff:                                        3 Exhibit 60 Plaintiff's First Amended Notice of
 4     CHARLES J. CAIN, ESQ.                                        4            Intention to Take Oral and Videotaped
 5     Ccain@cstrial.com                                            5            Deposition of the Authorized
 6     BRADLEY A. KLOEWER, ESQ.                                     6            Representative(s) of My Pillow, Inc.... 8
 7     Bkloewer@cstrial.com                                         7
 8     Cain & Skarnulis PLLC                                        8 Exhibit 61                                                121
 9     P.O. Box 1064/101 N. F Street, Suite 207                     9
10     Salida, Colorado 81201                                      10 Exhibit 62                                                        152
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12   On Behalf of Defendant:                                       12 Exhibit 63 My Pillow Ads on Fox News Since 2017... 169
13     RYAN MALONE, ESQ.                                           13
14     Malone@parkerdk.com                                         14 Exhibit 64 My Pillow Flash Sale Ad................ 192
15     Parker Daniels Kibort                                       15
16     888 Colwell Building                                        16 Exhibit 65 Flash Drive............................ 201
17     123 North Third Street                                      17
18     Minneapolis, Minnesota 55401                                18 Exhibit 66                                                      242
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20   ALSO PRESENT:                                                 20 Exhibit 67                                                268
21                                                                 21
22     Adam Wallin, Videographer                                   22 Exhibit 68
23
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 1            VIDEO TECHNICIAN: We are going on the                  1      A. Go ahead.
 2   record at 9:36 a.m. on March 8th, 2023. This is the             2      Q. All right. So No. 1, ground rules. She's
 3   video recorded deposition of designated representative          3   trying to take down what you're saying, so it's
 4   of My Pillow, Incorporated, Michael J. Lindell, being           4   important that we don't talk over each other. Do you
 5   taken by counsel for the plaintiff in the matter of Eric        5   understand that?
 6   Coomer, Ph.D. versus Michael J. Lindell, Frankspeech,           6      A. Yes.
 7   LLC, and My Pillow, Incorporated, in the United States          7      Q. Okay. You understand you're here as a corporate
 8   District Court for the District of Colorado, Civil              8   rep for My Pillow?
 9   Action No: 1:22-cv-01129-WJM.                                   9      A. Yes.
10        This deposition is being held in Minneapolis,             10      Q. Do you understand that we provided a notice of
11   Minnesota. My name is Adam Wallin from the firm                11   deposition topics for you to look at in order to prepare
12   Veritext and I am the videographer. The court reporter         12   to give testimony today?
13   is Kelley Zilles from the firm Veritext.                       13      A. Yes.
14        Will counsel please identify themselves for the           14      Q. Did you look at them?
15   record.                                                        15      A. Yes.
16            MR. CAIN: Charlie Cain, Brad Kloewer for              16      Q. I'm going to be handing you some exhibits
17   the plaintiff.                                                 17   throughout the day. We've been marking them, so we're
18            MR. MALONE: Ryan Malone for My Pillow,                18   already up to Exhibit 60.
19   Incorporated.                                                  19            (Exhibit 60 marked for identification.)
20            VIDEO TECHNICIAN: Will the court reporter             20      Q. Is that a copy of the deposition notice?
21   please swear in the witness.                                   21      A. I need my glasses. Got it.
22                MICHAEL J. LINDELL,                               22      Q. Is that a copy of the notice that you reviewed
23   duly sworn, was examined and testified as follows:             23   in order to prepare to give testimony today?
24                  EXAMINATION                                     24      A. Yes, it appears to be, yeah.
25   BY MR. CAIN:                                                   25      Q. All right. What, if anything, did you do to
                                                           Page 6                                                            Page 8

 1      Q. Tell us your full name, please.                           1   prepare yourself today?
 2      A. Michael James Lindell.                                    2      A. I read the case, I read this frivolous case.
 3      Q. Well, good morning, Mr. Lindell. My name is               3      Q. Okay. Is that it?
 4   Charlie Cain, we met for the first time --                      4      A. That's what I did, I read this frivolous case.
 5      A. Who's paying you?                                         5   I answered your question.
 6      Q. -- about four minutes ago.                                6      Q. If there is a question that you don't
 7      A. Okay. Go.                                                 7   understand --
 8      Q. Is that right?                                            8      A. No, I read the, I got it all, I got all these
 9      A. What's that?                                              9   down here, I read this, I read the frivolous case.
10      Q. Is that right?                                           10      Q. All right. If there is a question that you
11      A. Is what was the question?                                11   don't understand that I ask you during today.
12      Q. We met for the first time --                             12      A. Mm-hmm.
13      A. Yes, yes.                                                13      Q. Will you ask me to clarify that for you?
14      Q. Okay. Here's what we're going to do, we're               14      A. Yes.
15   going to start slow because the court reporter is trying       15      Q. Okay. Otherwise I'm going to assume that you
16   to take down what you're saying, okay?                         16   understand what I'm asking you.
17      A. Don't sit and scold me already, Mister. I'll             17      A. Right, got it.
18   do, I'll do whatever I have to do. So you're not,              18      Q. You're still quick answering on me.
19   you're just a lawyer, you're an ambulance chasing              19      A. Mm-hmm.
20   lawyer, so don't start with me, I got all day, I'll take       20      Q. So let me finish my question, okay?
21   as much time as you want, so let's go. You're not my           21      A. Yes.
22   boss, you're just a lawyer, frivolous lawyer. So go.           22      Q. I tend to be a slow talker.
23   Don't start scolding me.                                       23      A. Good for you.
24      Q. Well, I'm asking questions, I'm not going to             24      Q. I'm from Texas originally.
25   scold you.                                                     25      A. Good for you. I got all day, we'll make a week
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                                                                                                                3 (Pages 6 - 9)
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 1   of this. Go ahead.                                          1      A. No, it was the note to tell my lawyers to get
 2       Q. Probably up to your lawyer, but I'm happy to         2   the emails from Chris Ruddy, which we've already
 3   stay as long as you'd like.                                 3   subpoenaed you guys but you don't seem to supply
 4       A. Just keep going.                                     4   anything. We've already subpoenaed the emails from
 5       Q. All right. Why did you call me an ambulance          5   Ruddy to you, you, Mr. Lawyer, that won't give us those
 6   chaser?                                                     6   because you don't seem to think you have to give
 7       A. What?                                                7   anything because you like your frivolous case. That's
 8       Q. Why did you call me an ambulance chaser?             8   what it is, it's a note for me to tell my lawyer. But
 9       A. Because you are. This is a frivolous case and        9   as long as you bring it up, this is when I went out, I
10   if you're representing this guy and you've read this       10   didn't even know who Eric Coomer was until he did this
11   case, you are a disgusting lawyer, period. There's my,     11   dirty deal with Newsmax and Ruddy and hurt my business.
12   that's my, that's my right to say. You want to sue me      12            MR. CAIN: Objection, nonresponsive.
13   too, Mr. Ambulance Chaser. Are you working on              13      A. Huh, say it?
14   contingency or consignment with the guy, what are you --   14      Q. I said, objection, nonresponsive.
15   I can't believe anybody would take this. This is           15      A. Well, you don't like that, huh?
16   absolutely disgusting, it's a disgrace to our country,     16      Q. Let me explain a few things to you.
17   it's a disgrace to you.                                    17      A. What?
18       Q. Anything else?                                      18      Q. Let me explain a few more things to you.
19       A. No, that's it. You asked me a question, I           19      A. Mm-hmm.
20   answered it.                                               20      Q. Have you given a deposition before like this?
21       Q. Okay. Now you, it looks to me based on what you     21      A. I've given a ton of depositions.
22   told me off the record before we started that you put      22      Q. Okay. So you, you understand the process
23   some notes on the back of that?                            23   somewhat?
24       A. Yeah, I put the notes in here. It says, do you      24      A. Mm-hmm, sure do.
25   want me to read them?                                      25      Q. Okay. When I ask you a question, you need to do
                                                      Page 10                                                         Page 12

 1      Q. Yes, I do, because I looked at them and I             1   your best to respond only to my question.
 2   couldn't, I couldn't --                                     2      A. Are you going to arrest me? I'll say whatever I
 3      A. It says Chris Ruddy emails, it says Eric Coomer       3   want and if we have extra, that's too bad. There's no
 4   emails with Newsmax and Ruddy. It says, and then it         4   rule that says I can't give a full answer. So, you
 5   says Coomer, from when I lost business with Eric Coomer     5   know, I'm telling you the rules. Have you ever been in
 6   I put a note here. That's the only time I ever, ever        6   a deposition where they can't stand who you are, have
 7   said anything before I was filed. I said one paragraph      7   you?
 8   and that was after Eric Coomer made a deal with Chris       8      Q. A lot more than you, sir.
 9   Ruddy. And that's when I lost business. And then I          9      A. Okay, good. Keep going. Don't tell me about my
10   came out and made the comment that I said.                 10   depositions, you're not my boss, you're just some
11         I was just, my notes to tell. That's the only        11   frivolous lawyer in here and you're bringing this
12   thing that was ever said. Everything else that I said      12   frivolous case to me, and especially against a company
13   came after I was served papers at the capitol in           13   that had nothing to do with anything. You're
14   Colorado, it was just my personal notes here.              14   disgusting. Keep going.
15         I made one comment in two years and that was         15      Q. I want you to understand another thing.
16   after Eric Coomer hurt me by going to Newsmax and          16      A. What's that?
17   whatever he said to them so I couldn't appear on Newsmax   17      Q. This case is pending in Federal Court.
18   anymore and that's it. And I talked to Ruddy and it was    18      A. I don't care. What does that have to do with
19   disgusting what he did, Eric Coomer did with Newsmax.      19   anything.
20   So there, that's my, that's what the notes are.            20      Q. Do you understand that?
21      Q. Okay. Well, let me follow up then. Who's Chris       21      A. Yes.
22   Ruddy?                                                     22      Q. All right. There's a federal judge that's going
23      A. He's the owner of Newsmax.                           23   to likely be reading and watching this deposition.
24      Q. And you said a note, email with Chris Ruddy or       24      A. I don't care.
25   something to that effect?                                  25      Q. Do you understand that?
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                                                                                                        4 (Pages 10 - 13)
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 1      A. I don't care. She should have dismissed this a          1   not being responsive or acting in good faith today, we
 2   long time ago. She hasn't ruled on that, there's a            2   may have to come back and do this some more, and I want
 3   problem, I got a problem with her too.                        3   you to understand that.
 4      Q. Okay. The judge has practice standards on               4      A. Oh, I got that.
 5   how --                                                        5      Q. All right. And if that's the case, I will be
 6      A. No, the judge did not dismiss this case. We put         6   asking for attorneys fees and costs.
 7   in to get it dismissed and she ruled, an unfair ruling        7      A. Oh, you will, huh. I'm already asking for them,
 8   saying well, go ahead and do discovery and waste all          8   I might just come after you guys for the most frivolous
 9   your time while I'm sitting here not doing nothing.           9   case ever when this is done. If there is a way to sue
10   That's what that judge is doing. So don't tell me what       10   you, believe me I'm doing it.
11   the judge is doing. And you just let me worry about the      11      Q. Okay.
12   judge reading this, okay.                                    12      A. Okay. Just so you know that, beyond anything
13      Q. I just want you to understand.                         13   you've ever seen, so be prepared.
14      A. No, you just don't worry about me. You're not          14      Q. I'm committed to being polite and professional
15   out for my benefit, okay, he's out for my benefit, not       15   today.
16   you. So you can get, don't worry if I say something          16      A. Okay, go ahead. We're getting through that.
17   that offends the judge, okay. You just let me worry          17   Now you know where I sit, let's get on with it.
18   about that, you got that.                                    18      Q. Okay.
19      Q. Yeah, I got it.                                        19      A. All right.
20      A. Okay, good. Keep going.                                20      Q. Now we talked about the notice, you looked at
21      Q. The reason I bring that up, sir, is if the judge       21   Exhibit 60.
22   is not pleased with your conduct in this deposition,         22      A. Yep.
23   there may be penalties.                                      23      Q. You're the only person here on behalf of My
24      A. Oh, okay, good. You tell, you go ahead. And            24   Pillow --
25   you think you're worrying about old Mike, you're really,     25      A. That's correct.
                                                        Page 14                                                         Page 16

 1   that's great. You're bringing a frivolous case, you're    1          Q. -- to testify. You need to let me finish my
 2   really up my back. Go ahead, keep going.                  2       question before you answer, okay?
 3         That judge, you put this in the record, that        3          A. Mm-hmm.
 4   judge is a big problem I got. If someone didn't have      4          Q. In my estimation you seem agitated this morning.
 5   the money or time to sit through this garbage when I put  5       Are you taking any medication or other drugs that would
 6   in to her a summary judgment last summer and she hasn't   6       affect your ability to testify?
 7   ruled on it, either say yeah or nay, it's disgusting.     7          A. No.
 8   It's disgusting to our country that she couldn't make a   8          Q. Now I prior to the deposition your counsel Mr.
 9   ruling. But go ahead and do deposition. If there was      9       Malone indicated that you'd have an assistant in here
10   some guy that didn't have money you would put them under 10       today.
11   just in this garbage, wasting my day, wasting my time.   11          A. Mm-hmm.
12   But think if it was someone on the street, don't you     12          Q. And that's
13   care about people. This is disgusting.                   13          A. Yes.
14         This judge should have ruled a long time ago,      14               MR. CAIN: Hi,
15   either yeah or nay, frivolous or not, but she didn't.    15          Q. Her last name is what?
16   She said go ahead and do discovery while I sit and       16          A.
17   decide what I'm going to do, that's disgusting. I got    17          Q. Does she work for My Pillow?
18   no problem with you on that, I got a problem with the    18          A. Yes. No, she doesn't, she works --
19   judge not making a ruling, so there.                     19               THE WITNESS: My Pillow or Lindell
20         Now go ahead. Now that the judge has that on       20       Management?
21   record, now you don't have to worry about what me and    21                                   Lindell Management.
22   the judge think about each other, all right.             22          A. Lindell Management.
23            MR. CAIN: Objection, nonresponsive.             23          Q. Lindell Management.
24       Q. Here's, here's another thing that I need you to   24          A. Yeah. She can go in the other room if you want.
25   know, Mr. Lindell. If the court determines that you're   25       It was only because if I get an emergency call she has
                                                        Page 15                                                         Page 17

                                                                                                          5 (Pages 14 - 17)
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 1 to take it.                                                           1   don't, I never met the guy.
 2    Q. Well, given that she's not an employee --                       2      Q. Because you wanted to talk about election fraud
 3    A. That's fine, she can go out there.                              3   issues on Newsmax?
 4          THE WITNESS: Just go. It's no big deal.                      4      A. No, My Pillow, do you get it, My Pillow. I
 5                               the deposition.)                        5   couldn't go on there to talk about My Pillow. And I
 6    A. Okay.                                                           6   asked him why I couldn't talk about my new platform
 7    Q. All right. Now is there anyone, Mr. Lindell, in                 7   Frankspeech or My Pillow. I couldn't have my ads there,
 8 your view that's more knowledgeable about your company                8   he wouldn't let me run Frankspeech ads after that
 9 My Pillow than yourself?                                              9   either. He let me run plenty of Frankspeech ads,
10    A. No.                                                            10   wouldn't let me run that.
11    Q. You mentioned Mr. Ruddy and then we kind of got                11         I couldn't go on to talk, I'm friends with all
12 sidetracked and you talked about lost business as a                  12   the hosts there, we would go on and they would say, hey,
13 result of Eric Coomer, is that correct?                              13   you hired so many people today, hey, Made in America.
14    A. That's correct.                                                14   He, he, I could never go on again and talk about My
15    Q. Explain that to me, how did you lose business.                 15   Pillow and it hurt our sales. Sure, we run the ads, but
16    A. Chris Ruddy, apparently Eric Coomer when I found               16   sales would spike if you could go on and say how many,
17 out the spring of '21 he sued, I guess at some point he              17   Made in America, talking about your number of employees,
18 must have sued Newsmax, okay. And when he did, when he               18   hiring, you know, you're hiring employees, new things
19 made a deal with Newsmax, which I believe was the                    19   that would develop at My Pillow, new products. From
20 spring, it was right before the statement I made here on             20   that day I've never been able to go back on there
21 Page 36. The only comment I ever made about, I didn't                21   because of Eric Coomer. And I didn't know who the guy
22 know who Eric Coomer was, and when I made the statement              22   was, I don't know why he did this to me.
23 it was I believe the day after I heard Chris Ruddy                   23      Q. Would sales spike when you talked about election
24 announce that there was no, they found no evidence of                24   fraud issues?
25 crime or whatever, blah, blah, blah, and this guy named              25      A. No, no. You're talking about the Cyber
                                                              Page 18                                                         Page 20

 1   Eric Coomer had, it was a case with Eric Coomer.          1             Symposium, I lost $4 million over that because of that,
 2          From that point I was not allowed, I talked to     2             at least, maybe more.
 3   Ruddy, I was not allowed to go on Newsmax anymore to      3                Q. All right. We'll get to that.
 4   talk about My Pillow and it hurt my business. And then,   4                A. And when I talked about election, when I talked
 5   and I said Eric Coomer is a traitor what he did, and      5             about election things I lost $100 million in one month
 6   that's when I made that comment and I stand by that.      6             going forward. Right now I probably lost a quarter, at
 7   What he did to My Pillow that day and whatever he made a 7              least 250 million. I've had to borrow money, my company
 8   dirty deal with Chris Ruddy, I'm not allowed to go on     8             is down, it's way down.
 9   Newsmax like I was always on to go and talk about my      9                Q. And you're here on behalf of My Pillow, so I
10   products and talk about anything that's out there in the 10             want to make the record clear.
11   news. They had me on all the time for ten years.         11                A. Yep.
12       Q. Is My Pillow not running advertisements on        12                Q. When you say I lost 4 million.
13   Newsmax?                                                 13                A. My Pillow has, My Pillow, it's just My Pillow.
14       A. Yeah, we run advertisements, we have since 2011   14             You're correct. So you want me to answer My Pillow all
15   on every station, every single station, ABC, CNN, all of 15             the time?
16   them. But what happened is when I would go on there he 16                  Q. Well, I just don't want --
17   would have me on to talk about My Pillow, just like on a 17                A. My Pillow has lost millions and millions,
18   newscast, talk about my employees, talk about, talk      18             hundreds of millions.
19   about the business, Made in America.                     19                Q. And My Pillow lost $4 million in connection with
20          But I from that point, from the time Eric Coomer  20             the Cyber Symposium?
21   did this, whatever deal they made, I was shut out of     21                A. Probably more than that because we made a
22   Newsmax, I never appeared on there since. One time in a 22              decision when Fox wouldn't run the ads and everybody
23   recording, one time in a recording when they, and that's 23             else did, ABC, NBC, CBS, CNN, everybody ran the ads,
24   it, it was shut off. And I was very upset with this guy  24             Newsmax, OAN, they all ran the ads to advertise for this
25   Eric Coomer. I had no idea who this guy was, still       25             symposium. Fox would not take the ad and then we
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                                                                                                                6 (Pages 18 - 21)
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 1   pulled, we had to pull our ads, My Pillow ads off there.    1       Q. But you did bring up the fact that you could not
 2   And so we probably lost it could have been upwards of 8     2   run My Pillow advertisements during the symposium?
 3   million, but for sure 4 million. 4 million minimum, 8       3       A. No, I chose not to.
 4   million max because we didn't advertise at the Cyber        4       Q. Okay.
 5   Symposium, it was completely free, a free event, and        5       A. On Frankspeech. Let me --
 6   that cost us to sell probably a million or 2, at least.     6       Q. You, you made that decision.
 7      Q. And do you blame Dr. Coomer for that as well?         7       A. No, no, I'm going to make, I got to explain
 8      A. No, he had nothing to do with that, I don't know      8   something. At the symposium My Pillow had nothing to do
 9   what he had to do with that. I'm just saying we lost a      9   with that except for if any outlets were there, like
10   lot of money there. But that was, it was an event, it      10   RSBN, ABC, CNN, Frankspeech, if they chose not to run
11   was an event that I didn't want, I didn't want to          11   ads during that, that was their choice.
12   advertise there, it was so serious I didn't advertise My   12          At Frankspeech, which was my stream, I chose not
13   Pillow, we chose not to.                                   13   to, I chose commercial free. That's what I did and
14      Q. Well, we'll look at some clips about that.           14   that's not, now that's not My Pillow, that's my
15      A. Yeah.                                                15   Frankspeech platform. It's like a Rumble, it's like a,
16      Q. Because you did actually.                            16   it's like a Rumble and a Facebook combined kind of. And
17      A. No. If they are RSBN, there's other outlets          17   I just chose, I said we're not running ad, this is too
18   that were there, that's their own deal. You need to        18   important, we're not running any ads.
19   understand, for My Pillow we did, we have other            19          Anything else you see in that -- now did I at
20   advertisers out there. RSBN is another network. We're      20   one point if I said anything from the stage, I might
21   on over 3,000 stations, we have been for over 15 years,    21   have at one time for 30 seconds or whatever, but, but I
22   and if they do the news and they're advertising My         22   don't know, I don't know, we'd have to look back if
23   Pillow, that has nothing to do with the Cyber Symposium.   23   there was something there, that would have been it. But
24         What I'm saying is I think maybe the whole           24   I don't think I did and there was definitely no ads ran.
25   thing, I might have read one, made one read, but we did    25   Not even, I don't even think bottom thirds or anything,
                                                      Page 22                                                         Page 24

 1   not run. We ran commercial free, commercial free the        1   I think it was just too important to me not to run any
 2   whole 72 hours, that's a fact. And that, that's not My      2   ads.
 3   Pillow, that would be my, my platform, the stream that      3      Q. You did.
 4   we were doing Frankspeech.                                  4      A. Well, we'll see if you got Frankspeech, if you
 5         All the other news outlets were there, that's         5   have that, if you have, if it's a bottom third or
 6   whatever they did, that's their deal, you know, because     6   whatever, but you can say what you want. So you're
 7   they, it's like any other platform, they all advertise      7   telling me I ran an ad. I don't believe we ran an ad.
 8   My Pillow, like whether if CNN was there they ran a My      8      Q. Well, we'll talk about it.
 9   Pillow ad I think, ABC, CBS, NBC, whoever was there,        9      A. Okay, well.
10   they ran ads, that's their normal programming. Do you      10      Q. Depends on how you define ad.
11   follow me?                                                 11      A. We never broke for a commercial, I ran it
12      Q. Oh, I'm following you. I'm not sure, her name        12   commercial free, so if you're saying that, I know it's a
13   is Kelley.                                                 13   lie.
14      A. Okay, sorry. I'll go slower.                         14      Q. You promoted My Pillow products during the Cyber
15      Q. Maybe less coffee, I don't know. We're going to      15   Symposium.
16   talk about it.                                             16      A. No, I did not promote My Pillow products. My
17      A. This is my second cup, thank you. Maybe you          17   Pillow, let me just tell you something about My Pillow.
18   should talk faster.                                        18   My Pillow doesn't promote anything. We sell our
19      Q. No, I think the court reporter appreciates a         19   product, we have ads on 3,000 stations, newspapers,
20   slower --                                                  20   podcasts across the country, we have since 2010. We're
21      A. You're getting personal, do you want to go back      21   the No. 1 advertiser, New York City Times No. 1
22   there. Keep going.                                         22   advertiser, Washington Post, CNN, MSNBC, Fox,
23      Q. All right. We'll talk about the symposium            23   Frankspeech now, that was just a new platform, RSBN,
24   obviously in a minute.                                     24   Real America's Voice, all of these platforms. They do a
25      A. Okay.                                                25   daily, they do it every day and that was just another
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 1   day for them, okay, period.                                 1   records?
 2         So My Pillow didn't put ads in there, it's their      2      A. This is our sales. So you'd have to, you would
 3   normal programming, do you understand that, that's what     3   look at the sales. It's very easy to see. Here's Fox
 4   you need to know. I chose on Frankspeech where I would      4   News, let's just use Fox. Fox News sales that are
 5   normally have ads running, I chose not to run ads           5   directly related to promo codes that go, are in between
 6   because I also control Frankspeech. I just told not to      6   the spots on Fox News, so let's just take them. That
 7   run breaks with ads. I didn't think it was, I didn't        7   alone would have been, I think it was four weeks, three
 8   want to do that. And you know, did it cost me a lot of      8   or four weeks, so that would be at least a million
 9   money, could I have made a lot of money, probably, but      9   dollars worth of sales a week from Fox gone, and it
10   instead I lost $2 million, 4 million overall at least,     10   could have been more, I'm just saying that's minimum, so
11   at least $4 million. If I look back, could I have ran      11   that would be.
12   ads, I could have, but I thought the messaging was more    12         If the Cyber Symposium did not exist we would
13   important than to run ads.                                 13   have gotten, we would have been $4 million higher. And
14         Now if they did anything at the bottom third of      14   that's, that would be looking at the Fox News promo
15   Frankspeech, I don't know that, at that time we were       15   codes, that would be, you would easily be able to tell.
16   brand-new with Lindell TV and Frank -- it was              16   But here, Cyber Symposium, after, that's very easy to
17   Frankspeech, it wasn't even Lindell TV. I don't know if    17   show that.
18   they ran a bottom third, I don't know, because I'd have    18      Q. Okay.
19   to look back and see.                                      19      A. And then the other one would be easier, easier
20            MR. MALONE: Mike, just remember the court         20   to show, and I don't know this, would be what
21   reporter.                                                  21   Frankspeech, if there was a promo code there you would
22            THE WITNESS: Okay, yeah.                          22   have had, and I don't know if there was, I didn't even
23      Q. You said now multiple times you lost money, and      23   know if we used them back then, but if there was you
24   by you we mean My Pillow, right?                           24   would see sales before, on email, on emails, we have
25      A. Yeah, My Pillow lost us money.                       25   emails, you would have seen sales before and then during
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 1       Q. Are you having trouble hearing me?                   1   and you would see this big drop-off.
 2       A. I have hearing aids, I can hear you.                 2      Q. Okay.
 3       Q. Okay. I'll try to speak up if I need to.             3      A. And those are the two biggest platforms I think
 4       A. There's two things, when I say -- I'm sorry, I       4   that, that were affected.
 5   got to say. I lost money personally, I lost money and       5      Q. All right.
 6   Frankspeech lost money, the platform, and My Pillow lost    6      A. Yeah, yeah.
 7   money because we couldn't, we didn't, it hurt us because    7      Q. I think you answered my question.
 8   the ads of Fox when I pulled down the My Pillow ads on      8      A. All right.
 9   Fox because of what, because of what they were saying       9      Q. Visually, I'm a visual person.
10   about the Cyber Symposium and they were the only outlet    10      A. Mm-hmm.
11   that did not run the ads just to, for people to watch      11      Q. I certainly have the emails with you and
12   it.                                                        12   you know someone named               at your company?
13         So My Pillow lost, I mean, if I had to break         13      A. Yeah.
14   them down, My Pillow probably lost 4 million, 3 million,   14      Q. What's her last name?
15   I personally lost at least 2 million, and then, and        15      A.                          l now, she's married, I
16   Frankspeech, that was new, so you could consider that      16   don't know.
17   me, probably another million. So I would say 6 million,    17      Q. All right. And you, we'll look at those, but
18   3 million My Pillow though just segregated that we would   18   you would email with her daily about how much money was
19   have normally had sales. Had the Cyber Symposium not       19   coming in under certain promo codes, right?
20   ran, we would have at least 3 million, it could be as      20      A. I do, I've done that for 15 years.
21   high as 5 million.                                         21      Q. Okay.
22       Q. Now, Mr. Lindell, if I wanted to verify those       22      A. What I, and what I look at, this is very
23   numbers by looking at any of the financial data from the   23   important you know this, she'll send me, every day I
24   symposium time period and looking at the My Pillow         24   look at a report of like a thousand promo codes and I
25   financial data, what would I look to in your company's     25   look for deviations. I'll tell you one that happened
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 1   yesterday, it's called ARK, and yesterday we normally do        1   every day.
 2   about $        but yesterday we did           So this is        2         But the, but the sales can be deceiving. If you
 3   what           and I would talk about. I called her and said    3   have gross sales it could be because you bought a bunch
 4   what happened, what's with this ARK. It's called a              4   of media for a break-even, you know, just a break-even.
 5   deviation and we have to look in to see why did this            5   Because a lot of times I have to do that to keep our
 6   happen. Well, yesterday we found out the reason was we          6   manufacturing level, even though I don't make any money,
 7   had launched a new product a month ago called My Pillow         7   net money, but I have the volume of, to keep our
 8   2.0 and yesterday the gal on the show did a 15-minute           8   employees employed because we have, I do my own
 9   read of how much she liked the, liked it. And so                9   manufacturing too on a lot of the products. So I'll,
10   that's, that's the deviation. Otherwise it could have          10   sometimes I'll buy media. Let's say, let's say it's --
11   shown up on a promo code site, like RetailMeNot.               11      Q. I'm not asking you about buying media.
12         We always have to find out why the numbers               12      A. Well, this is what, this is what you're asking,
13   changed from our regular numbers, that's how we do it          13   this is how I'm tracking stuff. Like you just have the
14   every day, we've been doing it for 15 years and that's         14   daily gross sales would be another way to look at it,
15   how I run my company. If you see a deviation out there,        15   but then you would have to look into that because it
16   you know, let's say it's CNN in the middle of the night        16   could be, it could be different if you're looking at
17   and it's a promo code directly to a show that cost a           17   your net or where you're making your money. You could
18   thousand dollars, we look at that and if it only took in       18   have a $2 million day, but you lost money on it is what
19   1,200 or let's say 900, we don't run it again. And             19   I'm saying, where I have to do it to match the
20   that's why we track everything with promo codes. It's          20   manufacturing with the media buys.
21   like otherwise you have no way, you're just putting ads        21         Ours is different than any other media out
22   out there that would be frivolous or they could be great       22   there, media company ever. I've been doing it for
23   and you wouldn't know, one or the other.                       23   15 years. Every single thing is like its own business,
24      Q. Right. I understand that. All I'm talking                24   you have to do it that way or otherwise, imagine a ball
25   about right now, Mr. Lindell, is what documents are            25   team and you want all 300 batters. If one falls below
                                                         Page 30                                                           Page 32

 1   available in your company that track sales. We're         1         that, you don't play them again, and you don't play them
 2   talking about promo codes.                                2         again. Or if you did, you better have a reason why you
 3      A. That's it.                                          3         played it.
 4      Q. You discussed deviations and how you analyze        4               There are times I bought media, like just this
 5   that.                                                     5         week, I bought media on The View, I bought media on
 6      A. With promo codes. Promo codes and 1-800 numbers 6             General Hospital. I normally don't buy that, but I
 7   that are attached to every single event, every single     7         bought it just to test it and I lost, I lost a lot of
 8   station, every single news article, I mean, I mean        8         money this week testing those, those spots with the new
 9   newspaper, every single spot has its own individual code  9         product.
10   and 1-800 number, everything for 15 years. It doesn't    10            Q. Let's focus on my question, okay. I appreciate
11   matter what station they're on or what's going on,       11         your answer. What I'm trying to understand is what kind
12   they're all tracked by that.                             12         of financial reporting is done within your company?
13      Q. Okay. On a macro level, that's a micro level,      13            A. You --
14   on a macro level financial reporting for your company,   14            Q. Outside of --
15   okay, do you have monthly profit and loss statements     15            A. Okay. The year-end profit and loss, the
16   that are generated that you review, in what form do you  16         year-end, the year-end tax returns.
17   look at macro financial data?                            17            Q. Yeah. So you have P&L statements, you've seen
18      A. Macro, what do you mean macro. When we get our, 18            those in your company, right?
19   if we get a, we'll look at our I guess monthly or        19            A. We, when we have a board meeting which we have
20   whatever. But ours changes based on the media buys we 20            maybe once a quarter.
21   do. So I look at, I look at more of, like I say, a       21            Q. Okay.
22   daily. The macro I'm looking, you know, to be honest, I  22            A. You know.
23   don't, I don't even look at the monthly. I'll look at    23            Q. Is that the kind of information --
24   maybe the year, the year-end. But we look, we micro      24            A. I don't look at them, I don't look at them. I
25   every day. We look at the, you know, you look at sales   25         look at the dailies, like I told you, every day.
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 1       Q. That's great. I appreciate your business style,       1      Q. Where are they?
 2   that's fine, but I may need to have some different           2      A. They're in
 3   information than perhaps you possess, so. Is it true         3      Q. How long have they been preparing returns for My
 4   that at least on a quarterly basis you would look at         4   Pillow?
 5   profit and loss statements for the company as a whole,       5      A. Since 2004.
 6   yes or no?                                                   6      Q. Okay. Do they produce, if you know, any audited
 7       A. Me personally I just look at year-end. I know         7   financial statements for the company?
 8   where things are at on a daily basis, so the answer is       8      A. I don't know, that's all done, they're, they're
 9   no.                                                          9   a professional company. I guess.
10       Q. All right. On an annual basis is it your             10      Q. Okay. Have you ever seen any audited financial
11   practice to, to review P&L statements for the company?      11   statements for My Pillow?
12       A. I see the tax returns. I already know what           12      A. Yeah, the year-end, the year-end, whatever is on
13   they're going to end up because I look at it every day.     13   that tax return, how's that, that's what I look at.
14   That's what I'm trying to tell you, I micromanage is my     14      Q. And has the corporate tax return for My Pillow
15   macromanage. I know where everything is every single        15   been filed for the tax year 2020?
16   day. I don't need to look at a monthly report that's        16      A. Yes.
17   going to show me, I look at the bank account every day,     17      Q. 2021?
18   I look at the, I know what's going on, everything.          18      A. Yes.
19          This, I took calculus in 9th grade, I know           19      Q. I assume not for 2022?
20   what's going on out there, I know every single -- I         20      A. I believe it's almost done because I know that
21   could tell you if a little station is a, does 200 grand     21   he said we lost, I don't know, 5 million or something.
22   or $200 less than it's supposed to and then we check        22      Q. In 2021, or 2022?
23   into it. This is, so I don't know what to tell you. Do      23      A. In 2022, it was a $5 million loss. I just have
24   I, if I wanted to go out there and say, hey, could you      24   to sign them, that was the end, it was a loss, which,
25   put together a financial statement, I don't know, they      25   which explains, you know, we lost a lot of money.
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 1   probably could.                                              1     Q. All right. And you mentioned 9th grade
 2             MR. MALONE: Mike, let's keep it nice and           2   calculus. Do you have a high school degree?
 3   slow.                                                        3     A. Yeah.
 4             THE WITNESS: Huh?                                  4     Q. Or diploma?
 5             MR. MALONE: Keep it nice and slow for the          5     A. Yeah.
 6   court reporter.                                              6     Q. Where did you go to school?
 7             THE WITNESS: Right. But I don't know what          7     A. Chaska, Minnesota.
 8   he's asking here.                                            8     Q. Okay. When did you graduate?
 9      A. I just, yeah, I don't, I don't look at that            9     A. 1979.
10   stuff, I look at daily. So I want to know every, I want     10     Q. Did you go to college?
11   to know in real-time. I'm not like another corporation      11     A. Yes.
12   where they come in fourth quarter we lost this, by that     12     Q. Where did you go to college?
13   time it might be too late.                                  13     A. University of Minnesota.
14      Q. All right. The object of the exercise here,           14     Q. Did you graduate?
15   sir, is to figure out what kind of financial documents      15     A. No.
16   the company would prepare in its normal course, that's      16     Q. How many years did you go?
17   all I'm asking.                                             17     A. Half a year.
18      A. Okay. Year-end sales.                                 18     Q. So you don't have any bachelor degrees or
19      Q. Okay.                                                 19   anything like that?
20      A. Year-end tax returns.                                 20     A. No. Is that required for this deposition?
21      Q. And obviously the tax returns are prepared I          21     Q. No, I'm just trying to figure out.
22   assume by an outside accountant?                            22     A. Well, what business is that of yours, I'm asking
23      A. Yep, absolutely.                                      23   you, I don't think it's any of your business. But keep
24      Q. What accounting firm?                                 24   going. Now you're getting personal on me again. Do you
25      A.                                                       25   got a bachelors degree? I mean, I don't even know why
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 1   this is relevant.                                            1   not my job.
 2             THE WITNESS: Can you object to this stuff.         2      Q. Do you hold yourself out as an expert in
 3             MR. MALONE: Sure, Mike. We'll object,              3   elections?
 4   outside the scope. If you know, you can answer.              4            MR. MALONE: Object, outside the scope.
 5      A. I mean, I guess, a half a year, okay. So what's        5      A. Yeah, I'll object.
 6   your point. Keep going.                                      6            MR. MALONE: You can still answer, Mike.
 7      Q. There may not be a point, I'm just asking              7            THE WITNESS: I can answer?
 8   questions.                                                   8            MR. MALONE: Yes.
 9      A. Okay.                                                  9      A. I would say yes. I'm very, I'm more
10      Q. Do you have any expertise, any personal               10   knowledgeable than I think 99.9 percent of people. What
11   expertise --                                                11   I know not many other people would know because of what
12             MR. CAIN: Is that -- pardon me for a              12   I've studied over the past two years every day.
13   second, the TV.                                             13      Q. Have you performed any work in journalism?
14             MR. MALONE: Let's go off the record for a         14            MR. MALONE: Object, outside the scope.
15   second.                                                     15      Q. I assume not.
16             MR. CAIN: Clicked on.                             16      A. Like what?
17             VIDEO TECHNICIAN: We are going off the            17      Q. You don't have any training as a journalist, do
18   record at 10:12 a.m.                                        18   you?
19             (A break was taken at 10:12 a.m.)                 19            MR. MALONE: Same objection.
20             VIDEO TECHNICIAN: We are back on the              20      A. It's, you mean like college?
21   record at 10:12 a.m.                                        21      Q. Any training, any, have you ever acted as a
22   BY MR. CAIN:                                                22   journalist, do you have any training or expertise in
23      Q. If you have to use your phone, sir --                 23   journalism?
24      A. I don't. I had to see if there were any               24      A. Define journalism. I mean, I'm a host of my own
25   emergencies. Go ahead.                                      25   TV show now.
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 1      Q. All right. Thank you. Part of the reason I             1      Q. Different, sir. Do you have any training in
 2   asked that question about your educational background is     2   journalism?
 3   to determine whether or not you had any expertise in         3      A. I would say no.
 4   things such as computer science or forensics?                4      Q. Okay. Do you, and by -- well, let me, let me
 5      A. Or what?                                               5   switch this up. Does My Pillow employ any individual or
 6      Q. Forensics, computer science or forensics. Do           6   consultant that has expertise in election management or
 7   you have any education, skill or training in that field?     7   election technology?
 8      A. No.                                                    8      A. No.
 9            MR. MALONE: Object, outside the scope.              9      Q. Okay.
10   Mike, you can still answer.                                 10             THE WITNESS: Why, why does he need to know
11      A. No, no.                                               11   about that when we're talking about My Pillow, about
12      Q. All right. Do you have any expertise or               12   what I know about elections.
13   experience in the election industry or election             13      Q. Well, you talk about elections pretty much
14   technology?                                                 14   constantly, like you said, in the last two years, right?
15            MR. MALONE: Same objection.                        15      A. Not on TV, never, I never would mix it with My
16      A. Yes, but I'll say yes.                                16   Pillow ever.
17      Q. All right. Explain what expertise or education        17      Q. You don't mix it?
18   or training you have in that area.                          18      A. No, never. Ever, by the way, ever. The, the
19            MR. MALONE: Same objection.                        19   media, media wouldn't even let me if I even tried to do
20      A. Over the last, over the last two years I have         20   that, I can't do it.
21   learned more than anyone I believe has probably ever        21      Q. And in your capacity you are CEO of My Pillow,
22   learned through other investigations, my own studies and    22   is that right?
23   everything else.                                            23      A. Mm-hmm, yes.
24      Q. All right. So on-the-job training basically?          24      Q. All right. In your capacity as CEO have you
25      A. Call it whatever you want, I don't know, it's         25   reviewed any of the election data that you've
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 1   accumulated that supports these allegations that the         1   founder of the company?
 2   2020 presidential election was procured by fraud?            2      A. I'm the inventor of My Pillow in 2004, I
 3            MR. MALONE: Object to form.                         3   invented My Pillow. I don't like the word founder, it's
 4      A. Have I reviewed, not as CEO of My Pillow, it has       4   I'm the inventor of My Pillow, I got a patent on it.
 5   nothing to do with it. But have I looked at stuff as         5      Q. And are you a majority shareholder of the
 6   Mike Lindell as an individual, absolutely. I've never        6   company?
 7   done anything on behalf of My Pillow for the election.       7      A. Right now. I wasn't back when you asked, but I
 8      Q. Is that right?                                         8   am now. Now I have 51 or 54 percent. When you asked
 9      A. That's right.                                          9   about 2010, I think I was, I wasn't the majority.
10      Q. As it relates to My Pillow itself, from a             10      Q. You had other partners in the company?
11   corporate standpoint you said 15 years you've been doing    11      A. It's all kinds of people, yeah, partners and,
12   things essentially the same way, right?                     12   and employees that got stock. We're an employee owned
13      A. We started doing promo codes and, and phone           13   company.
14   numbers, in 2010 I started with newspaper ads, they were    14      Q. Right. But you're the controlling shareholder
15   called remnant ads. It was the most, one of the most        15   to this day?
16   successful remnant ads in the United States history. I      16      A. Now, now I am, I wasn't then.
17   made them myself, we did it in-house, it was me holding     17      Q. As of when have you been the controlling
18   a pillow, but I had to know how each ad worked.             18   shareholder of My Pillow?
19         My whole premise is you treat every, every,           19      A. I think, I'd have to look, I think 2010 or '11.
20   every ad or everything like it's your only one. I come      20   I can't, I want to say '10, '11, '12. I don't know, I'd
21   from doing home shows and fairs where that's all the        21   have to look, I'm not sure about that. It might have
22   money I had. So I want to make this ad the best it can      22   even been 2009. I don't know, to be honest with you, I
23   be and you have to track the sales or you don't know if     23   don't know.
24   it did good or not. It's direct, direct to consumer,        24      Q. Okay. But fair to say for the last decade?
25   direct marketing. And I started, that was 2010, we did      25      A. Oh, at least, yeah. You know what, I would
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 1   every paper in the United States hundreds of times and       1   probably say the summer of 2009 maybe when we, I think
 2   that was --                                                  2   that's when we went from one corp. to the My Pillow,
 3      Q. I'm sorry to interrupt you. When you started in        3   Inc. So I, I think it was the summer of 2009, that's
 4   2010 was that under the current corporation My Pillow,       4   what I'll say.
 5   Inc. that is --                                              5      Q. I didn't understand what you said, we went
 6      A. Yes, yes.                                              6   from --
 7      Q. -- it is today?                                        7      A. Before, before it was My Pillow, Inc. it was, I
 8      A. Yes.                                                   8   think it was Night, I think it was Night Moves
 9      Q. Okay. And when you started in 2010, how many           9   Minnesota, LLC and that was in 2004 or '05. And then in
10   shareholders were in the company?                           10   2009 in the summer I believe that's when My Pillow, Inc.
11      A. A lot.                                                11   was formed and that's when I became the majority
12      Q. In 2010?                                              12   shareholder.
13      A. Mm-hmm.                                               13      Q. Okay.
14      Q. In --                                                 14      A. There were two partners we got that got out.
15      A. A lot of employees, a lot of people.                  15      Q. Does, does My Pillow have what's called a cap
16      Q. I'm talking about shareholders.                       16   table that identifies the shareholders and their
17      A. Yes, yes.                                             17   respective interests?
18      Q. Okay. So and the company itself is as I               18      A. Yeah, yeah.
19   understand it from looking at the articles is, is a         19      Q. You've seen that document?
20   company that was formed here in Minnesota, right?           20      A. Yeah. I think there's 50 some people or 40 some
21      A. Mm-hmm, I think so, yeah, yes.                        21   at least of shareholders.
22      Q. All right. And it's authorized to do business         22      Q. 40 to 50?
23   certainly in Colorado, correct?                             23      A. 40 to 50, it could be more, but at least 40 to
24      A. Yes, yes.                                             24   50, yeah, I believe.
25      Q. All right. And it's fair to say you're the            25      Q. Are there any shareholders of the company that
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 1   aren't also employees?                                      1      A. Yes, yes.
 2      A. There was, I think his shares were bought when        2      Q. In other words, it's not --
 3   you leave, it's an employee owned, so when you leave My     3      A. Yes.
 4   Pillow you can't just go sell your shares publicly, you     4      Q. You know what a nonprofit company is?
 5   know, I think it has to be -- you'd have to look at our     5      A. Yes. It's for profit, but it lost money because
 6   bylaws. I don't believe so that aren't, that aren't         6   of all this, yes.
 7   actively, there's probably some that aren't actively        7      Q. All right. And you mentioned the board several
 8   working, but I don't know. The short answer is I don't      8   times, so let's talk about the board, okay.
 9   know.                                                       9      A. The board of what, My Pillow?
10      Q. Okay. There's a process under the bylaws of My       10      Q. Yes, sir.
11   Pillow if a, let's say an employee quits but he has a      11      A. Yeah.
12   share of the company.                                      12      Q. How many board members are there?
13      A. If he, yeah, if he wants to sell there's a           13      A. Probably a dozen maybe, ten to 12.
14   process. You can't just go to sell to an outsider.         14      Q. Okay. Who, has that changed in the last two
15      Q. Right.                                               15   years?
16      A. We buy back, I believe we buy back, the company      16      A. I don't think in the last two years. You get
17   has to buy back the shares or something like that, there   17   people come and go. One guy got Alzheimer's and there's
18   is a process.                                              18   people, and one guy, one guy left. In 2020, in 2021
19      Q. Yeah.                                                19   there was about three that switched over, one was the
20      A. You know, and the board has to approve it and        20   ex-mayor of Chaska. Some of these guys, you know, these
21   all, you know, we had --                                   21   guys were just board members, they don't work for My
22      Q. It's called treasury stock?                          22   Pillow, they're outside members who keep an eye on and
23      A. What's that? I don't know, I don't know.             23   watch everything.
24      Q. All right. But there's no group or block of          24      Q. That's, that's --
25   venture capitalists that --                                25      A. That guy is gone. Since '20, since the
                                                      Page 46                                                       Page 48

 1      A. No.                                                   1   beginning of 2021 we probably had three. One guy, like
 2      Q. -- own shares in the company?                         2   I say, he had Alzheimer's, he's still like an honorary
 3      A. No, it's all employee, it's all people that have      3   board member I think, but and then you have one, the
 4   helped My Pillow and, yeah, it's not capital.               4   mayor of Chaska left when we were getting, when we were
 5      Q. Okay. Well, you mentioned early on that the           5   losing all our box stores and getting cancelled he
 6   company has gone into debt and --                           6   pulled out, you know, he didn't, he, he wanted to
 7      A. That what?                                            7   leave.
 8      Q. The company has gone into debt?                       8      Q. Why?
 9      A. Yeah, mm-hmm.                                         9      A. Huh?
10      Q. Is that bank debt?                                   10      Q. Why?
11      A. We had to borrow money from a, from a, I'll call     11      A. Because we were getting attacked every day in
12   it a bank basically. It's against your sales, against      12   the media about losing box stores, you remember that.
13   your inventory, we had to borrow money this year because   13   Every day My Pillow loses three more box stores, you
14   of the stuff that's hurt us so bad with lawsuits like      14   know. We lost 20 some box stores in January alone in
15   this.                                                      15   2021 and that's when he pulled out. He didn't, you
16      Q. Is that called factoring, did you factor?            16   know, you'd have to ask him, I never asked him why, he
17      A. No, we didn't buy it, we didn't do it against        17   just said I want to resign and --
18   our daily sales. I know what you're talking about, we      18      Q. Well, let's, let's do this, sir. Let's break it
19   didn't do it against sales. But it was very high           19   down since you told me there's been some switching in
20   interest loans, very high interest. And that's             20   2021.
21   partially because the bank, if you remember, they          21      A. Mm-hmm.
22   debanked us, they did. We've been attacked every way,      22      Q. In 2020, all right, who was on the board of
23   including this lawsuit.                                    23   directors of My Pillow?
24      Q. And this goes without saying, but I just need it     24      A. You'd have to --
25   on the record, My Pillow is a for profit company?          25            MR. MALONE: That's outside the scope.
                                                      Page 47                                                       Page 49

                                                                                                     13 (Pages 46 - 49)
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 1     A. I don't know, you'd have to look yourself, I         1       their names.
 2   don't know the exact. I'm not going to say what I don't   2          Q. Well, I'll talk to your lawyer about that. But
 3   know. There was, you know, I could give you names,        3       I guess, like I was asking earlier, Mr. Lindell, I need
 4                                                             4       to know what exists --
 5      Q. Hold on, slow down.                                 5          A. I don't care what you need to know, so keep
 6      A.                                                     6       going. I'm not giving you those right now, so that's my
 7      Q. How, how do you spell his last name?                7       answer. You can get the judge to order that.
 8      A. I don't know, that's why you should just get the    8          Q. The --
 9   list. I'll give it to you, I'll gladly give it to you.    9          A. And I'm doing it to protect their names because
10      Q. Thank you.                                         10       it gets out there and they get attacked by people like
11      A. I don't, I give you names, I give you some         11       you or Coomer, whoever this frivolous case is. So
12   misinformation. Because they might have been, 2020, you 12        that's, you can respect that. I'm not giving you names
13   know, the only changes I think came with maybe three     13       out there.
14   people, the rest are still on there. We had a corporate  14          Q. Don't point your finger at me.
15   attorney that left for another job and he was on there   15          A. Okay. Point your finger, what, I went like
16   back then. But there was a change, I don't know when     16       this, I went like this, I didn't point no finger at you.
17   they --                                                  17       You're asking me to try and incriminate my employees.
18      Q. Okay. But you're, you're fine with giving me a     18       What are you going to do, go after them, you already
19   list?                                                    19       have, just saying.
20      A. I'll give you the list, you can have the list,     20          Q. The corporate attorney that left the board, who
21   you can have the stockholders, you can have it, I got no 21       was that?
22   problem.                                                 22          A. None of your business. You want to attack his
23      Q. Okay. So you have no problem giving me the cap     23       name too, I'm not giving you that. So you can get the
24   table that I referred to earlier.                        24       judge to order that, tell her I wouldn't give you that.
25      A. I don't know, what's that, list of stockholders?   25       I'm not having you put these names out there, so these
                                                        Page 50                                                           Page 52

 1      Q. It's the list of stockholders and their records.        1   people are good people, to get attacked by the media or
 2      A. If my lawyers say it's fine, otherwise I don't,         2   you.
 3   you know, what's your point. So maybe not. I don't            3      Q. I have no interest in publicizing --
 4   want them attacked, I don't want their names out there        4      A. I know, but it doesn't matter.
 5   publicly and I'm sure they don't. So maybe not. We'll         5            THE WITNESS: This is, is this thing
 6   have to see, I'll ask my attorneys. Because, you know,        6   public, will this be public?
 7   we get attacked, employees have been attacked enough by       7            MR. MALONE: Mike, I'm not here to testify
 8   people like you. So maybe not. In fact, I might just          8   today. This is a confidential proceeding.
 9   say not. The ones I gave you aren't on the board so,          9            THE WITNESS: Okay. I'm just asking a
10   you know, get a subpoena because I don't want these          10   question, could this testimony get to the public, yes or
11   people to know they're shareholders and get attacked         11   no?
12   because stuff gets released to the public and I'm tired      12            MR. MALONE: Mike, this is a confidential
13   of my employees getting attacked by people like you.         13   deposition, all right. I am going to continue to object
14      Q. I'm attacking your employees?                          14   to this being outside the scope and asked and answered.
15      A. So I'm going to say no. You better have your,          15   You've given your answer, we can move on.
16   have that judge do that when she's done making her other     16            THE WITNESS: Okay. I just want to ask
17   ruling.                                                      17   this question before I move on, can stuff from here be
18      Q. I'm sorry, you said I'm attacking your                 18   leaked through the media, or to the public, yes or no,
19   employees?                                                   19   is this public information, even though as you say it's
20      A. No, this, this, this thing attacked and hurt my        20   confident, that's my question?
21   employees. They're tired of being attacked out there by      21            MR. MALONE: Not right now, Mike, no.
22   box stores and frivolous lawsuits. So I'm not putting        22            THE WITNESS: Okay, okay, all right.
23   their names out there. They have enough stuff to worry       23   BY MR. CAIN:
24   about, they have families, they have children,               24      Q. Are you refusing to tell me who is on your board
25   grandchildren and they're, so no, I'm not giving you         25   now?
                                                        Page 51                                                           Page 53

                                                                                                          14 (Pages 50 - 53)
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 1      A. Right now I am because I'm not going to give            1   company records?
 2   you, there's too many, things are too subjective right        2      A. Somebody probably has them. I don't keep them
 3   now, I don't know who is on that and I don't know how to      3   in my drawer.
 4   spell their names and I'm not giving you their names for      4      Q. Okay.
 5   you to go attack them. And that's just me, I'll consult       5      A. But, yeah, I'm sure whoever keeps it, you have
 6   with my attorney. You can subpoena that later, go             6   to keep them I think. We would have corporate minutes,
 7   subpoena their names, that's up to you, you know.             7   yes.
 8      Q. You mentioned -- and I will. You mentioned              8      Q. Thank you. I just want to make sure they exist.
 9   outside board of directors versus --                          9
10      A. Yeah, yeah.
11      Q. -- inside?
12      A. Yeah, most of them are outside.
13      Q. Right now most of them are outside?
14      A. I think so.
15      Q. Okay. And by that, let's make sure we're
16   talking apples to apples. Outside directors are not
17   employed by the company, correct?                            17      A. I'm not giving you that right now. I don't need
18      A. Correct.                                               18   him attacked, I'm not giving you that. I've answered
19      Q. Do the outside directors have shares in the            19   your question, I'm not giving you names to protect them
20   company?                                                     20   from being attacked. I don't trust you as far as I can
21      A. I'd have to check, I'll have to check that, I          21   throw you. And I'm sorry, that's just my opinion. I
22   don't know.                                                  22   have had stuff leaked to the media and I'm not having
23      Q. Okay.                                                  23   these guys get attacked, especially my son, period.
24      A. They did, the ones, they did. Of the two I told        24      Q.            would have the knowledge of the
25   you that left, they 100 percent did not have shares.         25   operations of the company as COO, right?
                                                        Page 54                                                          Page 56

 1   But I don't know the other ones that are there right          1      A. Not the stuff that I do with, with this. If
 2   now, I don't know.                                            2   you're asking about the, the ads and stuff, that's not.
 3      Q. All right.                                              3   He's more over the manufacturing and the shipping and
 4      A. I don't believe so. I think one, two, three, it         4   stuff, that's his forte.
 5   might be 50/50, you know, but I don't know.                   5      Q. But he sat through My Pillow board meetings?
 6      Q. And how often does the My Pillow board meet?            6      A. Mm-hmm.
 7      A. As often as required. We sometimes it will be           7      Q. Is that a yes?
 8   four times a year, sometimes one time, whatever is            8      A. Yes.
 9   required by corporate, you know. Sometimes it just,           9      Q. All right. So he would have knowledge of what
10   that really depends. It's pretty regularly.                  10   goes on during the board meetings?
11      Q. Is there a secretary or someone there that             11      A. I'll give you the minutes, I don't care, you can
12   takes --                                                     12   have the minutes. I'll definitely give you the minutes
13      A. Yep, 100 percent. It's a legal company, yes.           13   because I want you to see the minutes because I know
14      Q. Okay.                                                  14   what you're getting at. There ain't nothing in there
15      A. The answer is yes.                                     15   about anything like this. So I want you to have the
16      Q. All right.                                             16   minutes. So let that be on the record, you can have the
17      A. What do you think we're running.                       17   board minutes.
18      Q. I'm just asking you questions, I don't know what       18      Q. And               has sat on the board since 2020?
19   you're running.                                              19      A. I don't know that, I don't know, that I don't
20      A. Right.                                                 20   know.
21      Q. So typically when you have a meeting of the            21      Q. How long has he worked for the company?
22   board you'll look at the minutes from the prior meeting      22      A. A long time, but not in that capacity of COO.
23   and approve those?                                           23   And you're going to ask me when did he come in, I don't
24      A. Correct.                                               24   know, I don't know that, I don't know the dates.
25      Q. Do you have those minutes in at least the              25      Q. Who did he replace?
                                                        Page 55                                                          Page 57

                                                                                                         15 (Pages 54 - 57)
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 1      A. Nobody, we didn't have a COO I don't think then.       1      A. I don't know what to tell you. I'm not, for
 2   I was basically CEO. If somebody was designated that, I      2   that reason, and if the judge orders that and she wants
 3   don't know, you'd have to look back, no.                     3   to put them at risk, which the judge didn't even order
 4      Q. Does the company have a CFO?                           4   that this case is frivolous, we've been waiting on that
 5      A. No. We have a controller.                              5   for nine months, which I would hope she would make her
 6      Q. I looked at your -- have you looked at the             6   decision so you don't get to leak all this information
 7   interrogatory answers that My Pillow gave in this case?      7   out with these names.
 8      A. I don't know, where?                                   8         There's no reason that you should have names
 9      Q. It looks like the controller was identified as a       9   other than you want to go attack them and make them,
10   person named                                                10   make them feel like crap, you know, or make them, put
11      A. Yeah, he came on last summer. He wasn't here          11   fear into them, that's what, that's what you guys do, I
12   when, when this all went down.                              12   get it, that's what's been done to my company. And you
13      Q. Who was?                                              13   can't say, that's what this guy does here, Eric Coomer.
14      A.        and I don't know his last name, sorry.         14   So that's, that's where I'm at.
15      Q. Is       still with the company?                      15         I'm not giving you names and I can't, and you
16      A. No, no, no.                                           16   should understand that. If you've seen us get attacked
17      Q. Do you know where he went?                            17   every single day, I could pull up my name right now
18      A. I don't know the company he went to, no.              18   every single day, people that work in the call center,
19      Q. Do you know why he left?                              19   they have to listen to garbage every day, you know. We
20      A. He got, he got an amazing offer. And I guess it       20   have to listen to attacks or see it out there how
21   was, what do you call it, headhunters that came out, you    21   another box store goes or another lawsuit that they're
22   know, tried to, they hired him away. And it was a, you      22   getting, that these guys have stock and have to worry
23   know, he was a good guy, a good friend of me, he just       23   about their company which lost millions of dollars
24   prayed about it and that's where he went.                   24   because of stuff that your client did.
25      Q. Is he here locally still?                             25             MR. CAIN: Objection, nonresponsive.
                                                       Page 58                                                            Page 60

 1       A. Yeah, I think so. I don't know where he, I            1      Q. I'm going to start doing that, you've been
 2   don't know where he lives.                                   2   nonresponsive throughout, but this is going to go a lot
 3       Q. Is his last name --                                   3   faster if you answer my question.
 4             MR. CAIN: I'm hearing my own voice I think         4      A. Okay. I'm not giving you the names of anybody
 5   through your ear phones or something. Thank you.             5   that works for me, period.
 6       Q. Is his last name something you can find for us?       6      Q. I've already got them.
 7       A. Yeah, but I'm not, but I'm going to let you get       7      A. Okay, go, then go, go ahead.
 8   it, I'm not going to give you his name once again to be      8      Q. I just don't have this particular person.
 9   attacked. I'm not giving you names because I don't want      9      A. Well, you're not getting his name.
10   them attacked, especially him. He's not with the            10      Q. Okay. And this, this would have been, for
11   company and I'm not going to give you his last name.        11   example,                  I know who               is.
12   And I quite frankly I don't remember his last name, I       12      A. Good for him. He doesn't work for My Pillow, I
13   don't have, but I'm not giving that out today.              13   think he works for Lindell Management, I don't know, but
14       Q. Sir, No. 1, I'm not going to attack anyone.          14   I don't know, I don't know which one he works for.
15       A. It doesn't, I'm not, it's not you, I don't trust     15      Q. Do you know what he does?
16   these names to leave here. The media grabs them, this       16      A. Yeah, he's an IT guy.
17   is my world now, these guys have been attacked by           17      Q. All right.
18   lawsuits by like this, by media, by box stores              18      A. He works on the back end of Websites.
19   cancelling us, by our company, when they cancel to keep     19      Q. Let's just, let's complete the roster. We know
20   people employed, they get shamed by the media. No, I'm      20           whoever his last name is, was controller of the
21   not giving you the guy's name. And I don't, to be           21   company for the period of 2020 and 2021, correct?
22   frank, now I don't remember it anyway. So I'm sorry, if     22      A. Yes.
23   you want names you're going to have to go get them          23      Q. All right. And, and do you recall roughly, I
24   yourself, do your own research, you know.                   24   won't hold you to this, but how long         the controller
25       Q. It's a private company.                              25   worked for the company prior to that?
                                                       Page 59                                                            Page 61

                                                                                                         16 (Pages 58 - 61)
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 1      A. I think three, four years maybe, I don't know.           1   Minnesota. He's an IT guy, he's in Texas, he works on
 2      Q. Okay.                                                    2   the back end of computers. He doesn't do, that's what
 3      A. Four years let's say. Probably since '15 or              3   he does, he works on the back end like servers and stuff
 4   '16, but I don't know that for sure.                           4   or, you know.
 5      Q. Okay. And within My Pillow what, what role does          5      Q. Gotcha.
 6   the controller perform?                                        6      A. He's IT, not, not like Website, like the back
 7      A. They just do the, I guess it would be                    7   end, you know, servers and --
 8   accounting, you know, accounting, more of an accounting.       8      Q. I gotcha.
 9   That's why it's not, it's not the role, like a typical         9      A. I don't know what you'd call it, stuff I don't
10   CFO, they're not making decisions like projections and        10   understand, you know.
11   what we do here or whatever because the way My Pillow's       11      Q. Okay. That's done remotely is what you're
12   business model is they couldn't do that anyway. So it's       12   saying?
13   more almost like an accountant.                               13      A. Yeah.
14      Q. Okay. So            would have knowledge at least by    14      Q. All right. And, and then in terms of you
15   virtue of his position in the company and the time            15   mentioned --
16   period of the, let's say revenue that was being               16      A. He's an employee, not a subcontractor. We have
17   generated by the company in 2020, right?                      17   other people that are subcontract for IT, he's an actual
18      A. I guess, yeah, he would see the dailies and             18   employee, I do know that.
19   stuff, yeah.                                                  19      Q. Okay. Do you know whether he works for a
20      Q. Would he be responsible for preparing, you call         20   company called PiDOXA?
21   them the dailies, what do you mean by that?                   21      A. No.
22      A. No, I get those on my phone, that's automated.          22      Q. Have you ever heard of that company?
23   I don't know what          back then, like I say, it's more   23      A. PiDOXA. He told me the other day --
24   of an accounting, you make sure that vendors are paid,        24      Q. PiDOXA?
25   you make sure that bills are paid. That's when I say          25      A. I don't know.
                                                        Page 62                                                            Page 64

 1   accountant, you know, that's, it's more of an accountant       1      Q. P-I-D-O-X-A.
 2   type where you're just paying bills, you're making sure        2      A. I, I know the name and I believe we just got,
 3   we're not late, making sure that these are, you know,          3   hired that company about four months ago, but I don't,
 4   upcoming. Every day he would send me a square, here's          4   I'd have to see the spelling. I don't want to say
 5   the bills due today, here's what I suggest we pay based        5   something out of context. We hired a company to do our
 6   on the money we have in the account, that's what he            6   Website, the back end, because we got rid of another
 7   would do every day.                                            7   company called, let's see, something Howse, something
 8      Q. And then you mentioned or, well, I mentioned the         8   Howse. It was a company I had when I built Frankspeech,
 9                 individual and you said you're not sure if       9   and when I built Frankspeech we switched, I believe we
10   he works for Lindell Management or My Pillow?                 10   switched now the back end of that, the servers and stuff
11      A. Yeah, I don't know if it's Lindell Management or        11   to, it might be this PiDOXA company you're talking
12   My Pillow, I don't know.                                      12   about. I don't know for sure, I'd have to check on a
13      Q. I apologize. Where are the corporate offices of         13   break.
14   your company?                                                 14      Q. Okay. So and you used pronouns, which is fine,
15      A. As far as where it lists corporate or where I           15   you said we. You're referring to My Pillow --
16   physically am at?                                             16      A. No, no, no, that's not My Pillow.
17      Q. Yeah, where do you --                                   17      Q. Okay.
18      A. Chaska, Minnesota.                                      18      A. My Pillow doesn't, this is Frankspeech. My
19      Q. Okay. What's the address?                               19   Pillow doesn't have anything to do with PiDOXA. My
20      A. 1550 Audubon Road.                                      20   Pillow has no idea what PiDOXA is.
21      Q. All right. And do you go to work there, is that         21      Q. All right.
22   where your office is?                                         22      A. I thought you said, I've heard the name and I
23      A. Mm-hmm.                                                 23   think it could be the other company we hired on the back
24      Q. And is that where                office is?             24   end of Frankspeech.
25      A. No, no, he doesn't work in, he's not in                 25      Q. Gotcha.
                                                        Page 63                                                            Page 65

                                                                                                           17 (Pages 62 - 65)
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 1      A. Had nothing to do with My Pillow.                          1      A. No, no.
 2      Q. All right.                                                 2      Q. You're not aware of any of those types --
 3      A. That's why I believe                if he's with           3      A. No, no.
 4   that, he works for Lindell Management, not My Pillow.            4      Q. You got to let me finish.
 5   That's what I'm, I'm almost 99 percent sure. I could,            5      A. No.
 6   you know,             would know. No, he doesn't work for        6      Q. That's the fourth no.
 7   My Pillow, I'm almost, like I say, I am 99 percent sure.         7      A. Okay.
 8      Q. And, and the Lindell Management company, does              8      Q. You're not aware of any of those types of
 9   that company office out of the My Pillow headquarters?           9   agreements, right?
10      A. Yeah. Well, most of them, a lot of them are               10      A. No, you don't get to work for other companies.
11   remotely, I mean, there's just maybe ten employees              11      Q. Well, it's, it's --
12   remotely I think. I'd have to check that to see how             12      A. No.
13   many. It's, I know I think        there might be four or        13      Q. Okay.
14   five other employees, but they're not in Chaska.                14      A. All right. You don't, I think what you're
15      Q. Okay.                                                     15   asking is, are you paid by, are you working for multiple
16      A. It's kind of a, like a management, it's like              16   companies, you know, and that would be no, a My Pillow
17   tech management on the back end and individual projects         17   employee wouldn't even be allowed to be a subcontractor
18   I guess, I don't know.                                          18   and work at a, if they have another job that I don't
19      Q. Are you aware of whether My Pillow has any                19   know about, would be like a McDonald's or something,
20   employee sharing agreements with any of these other             20   you're not working outside of My Pillow in your same
21   companies that you're affiliated with?                          21   capacity, that answer is no.
22      A. No. As far as My Pillow has a, what are you               22      Q. Okay. Now let's go back to the board because
23   talking about, can you be more specific.                        23   I've neglected to ask you a few questions about your
24      Q. I will. And thank you, that's a good example of           24   board, whoever they may be.
25   asking for a clarification.                                     25      A. Yeah.
                                                           Page 66                                                          Page 68

 1      A. Well, thank you, I'm such --                               1      Q. Is there during, let's just frame it from when
 2            THE WITNESS: Maybe I'll get that A plus                 2   did you publicly start getting involved in political, in
 3   you said, or did that go out the window.                         3   politics or supporting political candidates publicly?
 4            MR. MALONE: You got a ways to go, Mike.                 4             MR. MALONE: Object to form, scope.
 5      Q. I don't think you can claw back into this,                 5      A. Okay. The, I didn't get involved with anything
 6   respectfully.                                                    6   political until I, in, in January, or August 15th of
 7         So affiliated companies, companies that share,             7   2016 I, Donald Trump had reached out to me in a private
 8   have a relationship, you're, you're affiliated with My           8   meeting asking about stuff made in the USA, about having
 9   Pillow, with Lindell Management?                                 9   the manufacturing here, and that was a very, you know,
10      A. My Pillow has no affiliation with any company             10   30-minute meeting. Talked to his employees and came
11   other than we have, when you talk about there's rev             11   back to Minnesota and said, hey, you know, he's going to
12   shares with about I think 500, I don't know how many            12   be a good president and if he -- I didn't, I never
13   podcasts and shows over the last 15 years, radio                13   voted, I never have been political at all, I'm an
14   stations, if you call that a --                                 14   ex-crack head, you know, and I thought he would be a
15      Q. No, I'm not talking about, we'll talk about               15   great president and that was it.
16   revenue share.                                                  16         That's, and if you call that involved, I went
17      A. And that's it, there's none, zero.                        17   to, from that point I went to, came back here and I did
18      Q. What I'm talking about is, for example, you have          18   a press release and said I met Donald Trump and then I
19   someone like                  who does IT, but he is actually   19   was attacked like I've never been attacked. I was the
20   an employee of My Pillow. This is hypothetical, I don't         20   media's darling. And the day I did the press release
21   know the answer.                                                21   every news outlet attacked me, called me a racist and
22      A. Yeah, he's not, right.                                    22   everything else. And I never had that happen before in
23      Q. Okay. But that, that employee might be shared             23   history. I never, I had never, all I said I met him, I
24   with other companies, related companies and then there          24   didn't even say what we talked about and I was attacked.
25   would be an, an accounting for that person's time.              25         In fact, when I got back, and this should be,
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                                                                                                            18 (Pages 66 - 69)
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 1   this is probably relevant, I got back from that meeting,     1      Q. So                  to go back to the early part of
 2   and like I say, I didn't ever, I didn't know a liberal       2   that.
 3   from a conservative, a Democrat from a Republican, I         3      A. And he's a very much left liberal too, so you
 4   knew nothing, it was just, the conversation was about        4   could have a great conversation with him.
 5   making manufacturing, how is it made in the USA, I want      5      Q. You should never presume someone's politics.
 6   to bring the manufacturing back. I talked to him about       6      A. Well, I'm just telling you because you guys
 7   being an ex-crack addict and I had the Lindell Recovery      7   attack and you seem to be a little bit on that side, you
 8   Network for Addicts and he said, well, you know, I'm         8   know. You presume that I had a lot of coffee this
 9   going to stop drugs being brought in, it was just a          9   morning, you should never presume that. So you want to
10   conversation.                                               10   get back personal again, we can go there.
11         And I got back here and before I did the press        11      Q. So                  what I'm hearing from your
12   release we had a board meeting and I told the board         12   testimony is one of the My Pillow board members in
13   about meeting him. I said I want to do a press release,     13   August, in or about August --
14   I said he's going to be a great president and he's going    14      A. August 15th. It would be August 16th after the
15   to help manufacturing here. Or my board, that one guy       15   first time you said when did I become political. I
16   that was on the board, that corporate attorney, I can       16   didn't even know if that was political, I just met a
17   tell you the name,                  and he said if you do   17   presidential candidate, which I had never met before, I
18   that, if you do that, we're going to lose half our          18   never met him, didn't know him from Adam. I had heard
19   business. And I walked out of there, of the meeting and     19   about Donald Trump of course, everybody had. And I came
20   the gal, some gal came from the thing and came outside      20   back here and I was totally shocked that this hate that
21   and she goes we didn't get this far by you not listening    21   came out of a press release, you know.
22   to God, because I pray about what I do.                     22      Q. I'll try to finish my question now.
23         And I went back in there and I said I'm going to      23      A. Mm-hmm.
24   do this, I'm going to do this press release and I don't     24      Q. It was after this meeting with Former President
25   care what you guys say. I said I think he'll help our       25   Trump and the issuance of this press release that you
                                                       Page 70                                                          Page 72

 1   recovery, because I was doing evangelizing them, they        1   were advised by at least one member of the board that it
 2   were Recovery Network for Addiction and what he had          2   would be, at least you'd lose a significant amount of
 3   talked about I thought would help our country in             3   business at My Pillow through public support of that
 4   bringing manufacturing back and it made sense.               4   candidate, is that fair?
 5         So when I did the press release I said I met           5       A. He didn't say anything about the candidate. His
 6   Donald Trump. Now you got to realize, back then I could      6   exact quote was I think it will hurt half of our
 7   say anything and I had a hundred media people going how      7   business because, and it was relevant, he is, was a
 8   many employees are, while you're helping people in the,      8   Democrat and he was voting for Hillary or whatever back
 9   you know, in the inner city and helping this, because I      9   then. So that's the relevance of it. He was saying
10   was helping everybody, pouring money out, just pouring      10   don't do this because I believe he didn't want Donald
11   money out of my personal pocket to help addiction and       11   Trump, that's all.
12   everyone across this country including here in              12       Q. Oh, I think it's relevant. I didn't --
13   Minneapolis.                                                13       A. You just said you shouldn't assume the candidate
14         And I did the press release and I was very much       14   or what his, what his affiliate was. I know that
15   taken back going I'm not, I was attacked online by, I       15   because that was why he said it.
16   find out later most of them were box and trolls, hired      16       Q. No, to be clear, I said that about myself.
17   hit groups, they called me a racist, they called me         17       A. Oh, okay, okay.
18   everything you could imagine. And, and I got a taste,       18       Q. Not him.
19   you know. And would I do it again, yeah, I didn't do        19       A. I understand now. But the relevance is he said
20   anything wrong. I didn't even say I wanted the guy to       20   it because he didn't want anything good being said about
21   be president or anything, I didn't put anything, I just     21   Donald Trump. And I didn't know politics at all and I'm
22   said I talked to him. I figured they would interview me     22   going, okay, well that, what does that have to do with
23   and instead they attacked me and shut me out. That was      23   it, I think he'll help manufacturing and I think he will
24   the first time ever being shut out by the media and it's    24   help addiction in this country.
25   pretty much never let up.                                   25          That was my whole point of even doing the press
                                                       Page 71                                                          Page 73

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 1   release, hey, this guy said, if he didn't lie, if he        1   this person, I'm telling you from the heart that I met
 2   said the truth, I mean, which I talked to all his           2   this guy, I was excited for these guys to hear, hey, all
 3   employees and they said no, he is who he is, he's a         3   this stuff you're reading about or hearing about this
 4   great man, great leader, great person. And I said okay,     4   guy, I think he could really help addiction and, and, or
 5   I've done my due diligence, I'm going to do a press         5   help addiction, which was my platform, they all knew.
 6   release and tell what I thought he could do, if he said,    6         My Pillow donates, donated a lot because of
 7   he said he would manufacturing and help addiction, which 7      where I come from, I donate a lot to churches, Salvation
 8   those are my wheelhouses, it would help my employees and 8      Army, Teen Challenge for addiction, that was our
 9   help people out of addiction and help people to Jesus       9   wheelhouse, we help, we help everyone, people. We had
10   Christ.                                                    10   at that time millions of dollars that we would put into.
11         That's what I was doing back then, I was doing       11   And that was even, even in our thing at My Pillow that
12   church speaking, everything when I got saved, that's       12   we could give X amount, it's like a tithe to, for Jesus
13   where I was at. You asked me when this got political.      13   and for people in addiction, Teen Challenge, Salvation
14   Call that politics, whatever, it was a press release.      14   Army. So my point was saying, hey, this guy I just met
15      Q. The discussion with                    and the other 15   can really help, I think he's going to help people get
16   members of the board about whether to publicly support     16   out of addiction, and which that was a big conversation
17   Donald Trump, did that occur before or after the press     17   we had, and manufacturing.
18   release?                                                   18      Q. Okay.
19      A. It was before the press release. And it was one      19      A. You know, he wanted my opinion on making here
20   statement, I just told you the statement. There wasn't     20   because back then there weren't a lot of manufacturers
21   a big discussion, one statement out of him. Because he     21   where people were making stuff overseas and My Pillow
22   was, and everybody knew that he was voting for Hillary     22   was 100 percent made here and that, that intrigued him,
23   Clinton.                                                   23   you know.
24         You know, we had had, here's what you got in the     24      Q. Okay.
25   background, we had done a big Mike Lindell life story in 25               MR. CAIN: You alright, Kelley, do you want
                                                      Page 74                                                          Page 76

 1   Minneapolis here about coming to, coming to Jesus Christ    1   a break?
 2   and it's a documentary that's out there and, and it was,    2            COURT REPORTER: No, it's fine. Thank you.
 3   we filmed at the Pantages in Minneapolis. And they          3            MR. CAIN: I'll give you a 30-second break.
 4   asked there, and it was kind of a running thing, did        4   You need a drink?
 5   anybody here, is anybody voting for Hillary I think it      5            COURT REPORTER: No, I'm okay.
 6   was someone said, and Joe and his wife, his wife stood      6            MR. CAIN: All right.
 7   up.                                                         7   BY MR. CAIN:
 8         So that's why, I didn't know if he was making         8      Q. Okay. So that one comment in 2016 by a former
 9   that as a, you know, as a statement there or whatever, I    9   board member, have there been any other discussions on
10   mean, it was, just he was, he, you know, I didn't care     10   the board level about you curtailing your political
11   who he voted for. I just knew this guy could help, you     11   speech?
12   know. And but it was before the press release because I    12      A. We never talked about that ever in board
13   told the board, I said, you know, I just made a comment.   13   meetings.
14         I don't even know if the board meeting had           14      Q. So you never, there's not been a, an instruction
15   started. I think we had got in there, I had just come      15   to you by the board of directors of the company to cease
16   back from, from, from New York and I said, hey, you        16   talking about either Donald Trump or political issues
17   guys, before we start, I said I met Donald Trump, I said   17   publicly?
18   he's going to, he's going to help manufacturing and he's   18      A. No, that was never, never. The only time ever
19   going to stop, we talked about addiction. That would be    19   was in January when I, when I talked about election
20   a part of the board meeting. And that's when he said,      20   crime, when I talked about election, that's when that
21   well, I don't know if I'd do that, it could hurt our       21                left. And why he left, I don't know.
22   company. And I, I got mad at him going just because you    22   That's when we were getting cancelled by box stores.
23   are, he got political. I, I made a comment about a man,    23   Never was anybody when we would talk about in board
24   not a politician, you know, and he, and I took offense     24   meetings that, you know.
25   at him more than anything going just because you want      25        Most of them are, if you want to talk politics,
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 1   most of them are Democrat liberal, you know, and             1   no matter if we lost everything, in which because we
 2   including my own family members. And they, and they,         2   started losing box stores, we started losing millions.
 3   I'm sure they didn't vote for Donald Trump, but we never     3      Q. And the we is My Pillow?
 4   talked about it, we wouldn't talk about it at all.           4      A. Yes, this is My Pillow.
 5      Q. So --                                                  5      Q. Okay. All right. Well, you said we earlier and
 6      A. But we did when it came to the election where          6   so --
 7   box stores tanked, we didn't have a board meeting, kept      7      A. When I'm saying My Pillow that you'd have to ask
 8   attacking us, that's when      pulled out and that           8               I believe he left because he would have said
 9   probably had a lot to do with it, he just thought My         9   quit doing this and, you know, quit doing this, we're
10   Pillow was going down. That former attorney, that           10   going to lose our company. But it wouldn't have
11              he at that time wanted to sell, when these       11   mattered for me, I wasn't talking with My Pillow.
12   lawsuits started he wanted to sell, blah, blah, blah,       12         I'm out there on my own and I would think anyone
13   you know, because he had stock, and then he sits and        13   else that would have that evidence would keep talking
14   sold his stock. But he, you know, he was like we're         14   too. They knew that I'm going to be talking. I wasn't
15   done, we're done as a company, you know. They were all      15   speaking out for My Pillow, I was speaking out for Mike
16   just like, you know, I guess they didn't want to be a       16   Lindell and I was given this evidence and it had a
17   part of something that was getting destroyed because we     17   government gag order on it, which I had to get signed to
18   were losing millions of dollars and he was very             18   release this evidence. And that's, you know, you know
19   concerned about his stock at that time,               was   19   the rest of that story.
20   very concerned.                                             20      Q. Somewhat. Again, let me go back to what I was
21      Q. You kind of anticipated where I was pivoting to.      21   trying to ask.
22      A. Okay.                                                 22      A. Okay.
23      Q. Because we were talking about did the, did the        23      Q. Okay. And I want to break it down.
24   board try to curtail your, your public --                   24      A. Yeah.
25      A. No, only in January of '21.                           25      Q. All right. You said no one would stop me, and
                                                       Page 78                                                          Page 80

 1       Q. Okay.                                                 1   then you talked about members of, at least one member,
 2       A. But it was too late for them.                         2   but members of the board --
 3       Q. Okay. What do you mean by that?                       3      A. I didn't talk to them, they left, he left the
 4       A. Because I already got the evidence on                 4   board.
 5   January 9th.                                                 5      Q. Okay.
 6       Q. Okay.                                                 6      A. He pulled out and said he was resigning. Did I
 7       A. I got my evidence on January 9th. And when I          7   say good-bye or talk to him, no. Once I got that
 8   got that evidence nobody was going to stop me. This is       8   evidence, every day was all consuming from morning to
 9   100 percent it showed China intrusion in our election.       9   night trying to tell the media, hey, I have this
10   And no, this wasn't about Donald Trump. Because I even      10   evidence, you know, but I, I have this evidence, here it
11   went on Jimmy Kimmel and, and he said would you be          11   is, here it is. But as you know, everybody was
12   sounding the alarm if your friend Donald Trump won, and     12   cancelled on video, YouTube on the 7th and 8th of
13   I said absolutely, and I'd still be sounding the alarm.     13   January, my evidence came on January 9th.
14       Q. So --                                                14      Q. All right. So you had one board member that
15       A. And, and the board, they knew that I was not         15   resigned because of a concern about you going public
16   going to back down on that once I got that evidence.        16   with this evidence about election fraud?
17   And that's when that Joe had that concern over because      17      A. It had already happened, I didn't plan it, I
18   we were losing so much money, we just tanked.               18   didn't plan it. You understand, I wasn't in Minnesota,
19       Q. Okay. Let's, as the kids say, unpack that a          19   I don't even know where I was when I got it. I guess I
20   little bit. January 9th of 2021 is when you got that        20   was, I got the phone call. I didn't have a board
21   evidence?                                                   21   meeting to say what Mike Lindell was going to be doing
22       A. Yeah.                                                22   out there, you know.
23       Q. And then you said no one would stop me at that       23      Q. Okay.
24   point?                                                      24      A. So what I did, and now you got to follow this.
25       A. I was going to get the word out no matter what,      25      Q. Yes, I do want to follow it.
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 1      A. Okay.                                               1         we're losing, we're getting destroyed, we're losing,
 2      Q. But here's what I want you to tell me though.       2         yes. Conversations, many conversations, they called me.
 3      A. Right.                                              3         Even family members saying, hey, you can't, we're going
 4      Q. How this affected the board and what the board      4         to, you're going to lose everything, we're going to lose
 5   did when you started going public?                        5         our business, we keep losing more of our money every
 6      A. The board didn't have a meeting in January.         6         day. And it never let up and, you know, this last year
 7      Q. Okay.                                               7         we lost millions too, you know, I mean, this doesn't, it
 8      A. I'm going to tell you about two board members       8         didn't let up, but that doesn't mean I'm not going to
 9   that I know of.                                           9         help save my country.
10      Q. Okay. Thank you.                                   10            Q. So you kept, you kept doing it irrespective of
11      A. One of them was                  and he resigned   11         people within the company that were telling you that you
12   sometime in January, he said I'm done because he seen My 12         were hurting the company itself financially, right?
13   Pillow getting destroyed. The other one was Joe          13                  MR. MALONE: Objection, form.
14              and he actually made a call to            and 14            A. They, I don't know the exact conversations. I
15   said we need to sell the stock, we need to get rid of,   15         think they were more about they were all so worried
16   we need to sell, My Pillow is going to lose everything,  16         about me getting attacked, you know, they felt, they,
17   we're losing, and every day more box stores would cancel 17         you know.
18   and we would just, our revenue would just, you know.     18            Q. But you said, you said tanking the company, it's
19      Q. So they were correct at least in that respect      19         hurting the --
20   that, that you going public about this election fraud    20            A. No.
21   issue --                                                 21            Q. You said multiple times that concerns were
22      A. They didn't tell me, they didn't, they didn't      22         raised about the company tanking.
23   say that, they didn't, you know, I didn't hear that from 23            A. They were concerned. Did they sit there and try
24   them. You're trying to -- I'm out there doing it, I      24         and help me out of it, no. Did they say stuff to me or
25   never talked to them then. This was after the fact       25         say stuff amongst themselves going, hey, you know, we're
                                                         Page 82                                                           Page 84

 1   where I heard a month later that                  had called    1   going down. And then they'd ask me, I'd go, you know
 2   the controller behind my back and said, hey, we need to         2   what, you guys, I have to or we don't have a company
 3   do something, you know, Mike keeps out there, you know.         3   anyway, I got to get this money out there, or I mean I
 4   Whatever he said, I wasn't there.                   I said      4   got to get this, this evidence out there.
 5   what is he, you know, what, did he quit, yeah, he said,         5       Q. Right.
 6   he's out. I don't know why, you know, you'd have to             6       A. And they, you know, where they, my, my, some of
 7   talk to them.                                                   7   my guys internally, so we were getting calls by box
 8         But there was, I'm just assuming because they             8   stores then by all of a sudden their CMO's would call or
 9   see us, our business getting destroyed, you know,               9   their CEO's of big companies, your Bed Bath & Beyond,
10   destroyed, and I'm out here talking about, hey, we got         10   they would call up and my VP's would get on the phone.
11   to do something with this, our election because China          11   And it was every day, they go, Mike, they want to talk
12   intruded. That was my narrative, China intruded in our         12   about the next year. I go they're cancelling us, you
13   election and I have the evidence, here it is, it was           13   know, and they, you know. Were they discouraged, they
14   handed to me. But there was one problem, there was a           14   were discouraged because these, these were guys that
15   government gag order on it. And Dennis Montgomery, I           15   were out there, the salespeople.
16   didn't even say the name back then, but I had to get           16          And every day instead of a call saying rejecting
17   that signed in order to be able to release it, that was        17   the next year, they're going sorry, we're pulling out,
18   it. And this never let up for four months, five months,        18   we're done. And I would get, you know, I would have to
19   you know, you know, it just kept going and going every         19   get on those calls and say why, why are you sugarcoating
20   day. Now did --                                                20   it, I said you're cancelling us, well, we want to take a
21      Q. Has that been --                                         21   break. And I go, you know what, why don't you just be
22      A. Now did my family and stuff, did people from My          22   honest, you're cancelling us, and then they would cancel
23   Pillow --                                                      23   us.
24      Q. Yep.                                                     24          So my, my, one of my VP's back then, did he, you
25      A. -- did they say, hey, quit talking about this,           25   know, did he have concern, he goes, you know, we're
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 1   losing all of our, our box stores. And I go, yeah,           1   everyone they deal with one after another after another
 2   we're losing them all I said, you know, I agreed with        2   after another, and so I did sit them down. And I go
 3   him. I said I don't know what you want me to do, I           3   what would you guys do and, you know, you got to do it,
 4   can't stop, stop spreading that China attacked us and,       4   we got to save our country, the guy brought me the
 5   and that was it.                                             5   evidence, you know.
 6         So there was a, that was a VP, I forgot about          6      Q. After you got the evidence, and I want to, I
 7   that, there was at least three that are normal, they         7   want to stay on this topic.
 8   deal with all the box stores, those VP's. And there was      8      A. Yep.
 9   very much concern for them, they go we just lost another     9      Q. The topic is when you received what you thought
10   10 million a year, we just lost another 20 million          10   was evidence of interference in our election, just to
11   today, we lost another 10 million, it just kept going.      11   summarize, you had two board members at some point
12         And the last one was Costco, that was, they,          12   resigned,                you had some discussions with the
13   they kind of waited under the radar and then 90 some        13   VP's about the box stores cancelling, it sounds like you
14   people that go around the country that do home shows and    14   had some concern amongst your family members that were
15   fairs at Costco, they got cancelled. That one bothered      15   working for My Pillow --
16   me the most because we had to try and replace their         16      A. No, they were worrying about me getting
17   jobs. But that's what they were used to, traveling. So      17   attacked, they were worried about my welfare.
18   Costco was horrible what they did. And then last spring     18      Q. All right.
19   was Walmart, you know, a year ago. So they cancelled        19      A. About my welfare because I was getting, I had to
20   us, it has hurt us and they, you know, I'm sure that        20   leave Minnesota, I mean, to get physically attacked,
21   they --                                                     21   that was their concern. Most of it was out of concern
22      Q. But let's just talk about within the company          22   for me, it wasn't, you know, most of them was out of
23   and, and --                                                 23   concern for me.
24      A. That's what I'm talking about.                        24      Q. And then publicly you started talking pretty
25      Q. And I appreciate your response. You said that         25   shortly after January of 2021 about Dominion Voting
                                                       Page 86                                                          Page 88

 1   there were VP's, at least three that were associated         1   Systems?
 2   with the box store sales that were concerned about this      2      A. It was all machines, it was all machines.
 3   issue?                                                       3      Q. Right. And they are --
 4      A. They did not, they didn't tell me to not keep          4      A. Voting, electronic voting machines.
 5   talking, okay, they didn't tell me that. And they will       5      Q. Dominion being one of them?
 6   probably tell you to this day, those guys have talked        6      A. Dominion being one of them. Computers, the
 7   about is, hey, they got it. If I don't keep getting the      7   computers, when on January 9th -- let me just go back so
 8   word out, we don't have a company anyway because we          8   you know. When I was brought the evidence on
 9   don't have a country, that was their attitude too.           9   January 9th it explained to me, my own research in
10         But it was a, they go is there, you know, they        10   November and December, those two months, I looked at
11   were, I don't know what the word would be. They             11   things all over our country myself.
12   couldn't believe what the box stores were doing when all    12         Since I am, I'm very good at math and deviation,
13   I was doing was out there was saying, hey, we got a         13   so I looked at different counties and stuff that went on
14   problem with our election here, China, we have proof        14   in past elections and I did a deep dive. And I said,
15   that they attacked, that they got inside our elections,     15   one of the things I found was all these nonresidents
16   and, and that was it.                                       16   that voted in every state didn't, like in Minnesota, 20
17         Most of those guys, and I think them, they would      17   some thousand people didn't come across into Wisconsin
18   say, you know, they were behind what I was doing, they      18   and vote or vice versa, people are good people, so I
19   trusted me because they knew. When I took the time to       19   couldn't explain that, it was unexplainable to me. So
20   show them here's what I got, you guys, what am I            20   then when I got the evidence on January 9th it showed
21   supposed to do, wouldn't you do the same thing. And         21   that it was done with computers. That explained it
22   they all said yes because you don't, we're going to lose    22   because you couldn't have that many bad people.
23   everything anyway if we don't, if we lose our country.      23      Q. Right.
24         So a lot of them, if I took the time to sit them      24      A. And from that point on, that's where I said
25   down, which those guys I did because they were losing       25   machine, machine, China. And it's 100 percent evidence
                                                       Page 87                                                          Page 89

                                                                                                        23 (Pages 86 - 89)
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 1   that China was involved because the IP's came from China      1   Minnesota. I had physical threats. By physical I mean
 2   and this is in the cyber world.                               2   threats, I was the No. 1 threat, here's the evidence and
 3      Q. Right. We're going to get into that topic,              3   they, they the bad guys, whatever, it was pretty bad
 4   those topics.                                                 4   then, you know.
 5      A. Okay.                                                   5      Q. But not to get too legalistic, to the extent
 6      Q. Probably a lot more in your individual                  6   that you had the authority as the CEO of the company to
 7   deposition. I'm really trying to focus on My Pillow --        7   make statements publicly on behalf of My Pillow, it was
 8      A. Okay.                                                   8   you and you alone --
 9      Q. -- here. But I appreciate that, I'm not                 9      A. I didn't make any statements --
10   quibbling with you, I just --                                10      Q. No, no, no, let me finish.
11      A. The short answer in January, just so you know,         11      A. -- on behalf of My Pillow.
12   in January nobody talked to me, I didn't talk to the two     12      Q. Let me finish my question. To the extent that
13   board members, I found this out way after the fact, you      13   you made statements.
14   know. It could have been March when, hey, when I found       14      A. Mm-hmm.
15   out did you know back then                   came back and   15      Q. On behalf of My Pillow publicly.
16   said it, did you know        probably when we were having    16      A. Mm-hmm.
17   our next board meeting we go what do you mean                17      Q. It was you and you alone that had the authority
18   resigned, this was three months later.                       18   to do so, right?
19      Q. Yeah, that's fine, that's fine.                        19            MR. MALONE: Object to the form.
20      A. But you're putting it in there like I got warned       20      Q. In other words, no one in the company could say,
21   or something, that did not happen.                           21   you know what, Mr. Lindell, you can't say that, you
22      Q. No, no, you've clarified it.                           22   don't have the authority to say that --
23      A. Okay.                                                  23      A. Well, they could say it but, they could say
24      Q. So the subsequent board meetings after your            24   anything they wanted.
25   discovery and you went public, all right, in any of the      25      Q. But it wouldn't matter, it wouldn't matter,
                                                       Page 90                                                           Page 92

 1   subsequent board meetings from then till now has the          1   right?
 2   board ever instructed you to, you got to stop talking         2      A. They can't fire me, no. They could, I could,
 3   about this stuff?                                             3   the whole company could be going down and there is
 4      A. No, not that I know of.                                 4   nothing they could do if I'm still out as my own
 5      Q. It's hurting the company?                               5   individual capacity, that's correct.
 6      A. No. They said it's hurting the company                  6      Q. And you had the discretion to do whatever you
 7   probably, but I don't know we said it in the board            7   wanted to in terms of exercising your authority as CEO?
 8   minutes.                                                      8      A. Correct.
 9      Q. Does the board have the authority to fire you?          9      Q. Yes?
10      A. No.                                                    10      A. Yeah.
11      Q. Now you own the company, at least the majority         11      Q. Okay. In other words, if Joe VP box guy says,
12   of the shares, right?                                        12   you know what, Mr. Lindell, you shouldn't be out there
13      A. The majority, right. They do not have the              13   talking about this and also selling this product at the
14   authority to fire me.                                        14   same time, maybe people could get confused.
15      Q. So as far as you know, your understanding of the       15      A. What do you mean selling this product at the
16   bylaws of the company, any shareholder agreements that       16   same time? I object to that dumb answer. What are you
17   may be there, no one within that company has the             17   talking about. I didn't go out there, melt down our
18   authority to fire you?                                       18   machines and buy a pillow, I mean, what is wrong with
19      A. That's correct. And I'm sure, whatever they            19   you.
20   said or didn't say, which more things they didn't say,       20      Q. So it was a question --
21   they probably kept it to themselves.                         21      A. Nothing changed with My Pillow other than we
22      Q. Right.                                                 22   were destroyed taking pieces off, that stayed the same.
23      A. Because they know. When I got back we probably         23   The different variables, I'm out here in my own
24   didn't have a board meeting for five months, I would say     24   capacity, which trying to get people to see this
25   maybe even longer because I was, I had to stay out of        25   evidence and sounding the alarm and getting the
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                                                                                                         24 (Pages 90 - 93)
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 1   government to release the gag order on it, that's all,      1   gag order on it. And it's, and now did I say Dennis
 2   so everybody could see it. It had a government gag          2   Montgomery back then, no, because it was four different
 3   order that's why I couldn't even, I couldn't even say,      3   sources then. When I went to validate it I got it from
 4   hey, here it all is, I couldn't do that. To this day        4   three other sources that validated that it was real and
 5   that gag order is still on the Dennis Montgomery stuff,     5   then it was 100 percent nonsubjective evidence. It
 6   you know.                                                   6   wasn't like I thought that, it was 100 percent real. I
 7         So all I'm saying is what I'm doing over here we      7   didn't just go out there and start talking about machine
 8   were, it was very separate to over here. It was             8   and stuff unless and until I was 100 percent sure.
 9   shameful that they were doing, that box stores were         9      Q. Since you raised it, three other sources, who
10   making a decision based on a person over here. That's,     10   were they?
11   you know, that's what I don't, that's what the, you        11      A. I'm not, it's not, I can't say that because
12   know.                                                      12   they're under, they're under that gag order. And I
13      Q. You're saying you have information from Dennis       13   didn't say it back then and I never said Dennis
14   Montgomery that's subject to a gag order?                  14   Montgomery back then. That's all part of another deal
15      A. It's subject to a government gag order, it's         15   and you can see that in the news in about two,
16   been there, yes, it's been there.                          16   three weeks.
17      Q. How did you get it?                                  17      Q. All right. So going back to the beginning of
18      A. They gave it, on January 9th this was the            18   this rabbit trail.
19   evidence that was given to me.                             19      A. Mm-hmm.
20      Q. Right. But if it's subject to a gag order then       20      Q. My questions were geared towards the fact that
21   you shouldn't have possession --                           21   you were and still remain the majority shareholder?
22      A. No, this was pieces, it was like the tip of an       22      A. Yeah, yeah.
23   iceberg. Then you talk to Dennis Montgomery about that.    23      Q. And you can't be fired by the company?
24   This evidence I got, whether it was from the, I've been    24      A. That's correct.
25   very public with it, okay. And that's a whole another      25      Q. And the company can't instruct you what you can
                                                      Page 94                                                          Page 96

 1   court case where BlitzWare was part of it, a big            1   and cannot say publicly?
 2   majority of it.                                             2       A. That's right.
 3      Q. Of what?                                              3       Q. And I'm assuming you decide what your discretion
 4      A. It's called BlitzWare, it's a, it's a whole           4   is as the CEO of the company, what authority you have or
 5   another thing and it would take, if you want to use up      5   what authority you don't have?
 6   two days of this, we sure can. But that's a whole           6       A. That's correct.
 7   another deal there. But all I know is the evidence I        7       Q. Is there anything you can think of you don't
 8   got, it was very simple. I would hope that if you got       8   have the authority to do on behalf of My Pillow?
 9   that evidence or you got it or you got it or you got it     9       A. That would, the authority to do everything,
10   that you would do the same thing if you, with what         10   unless it would be illegal, I mean, of course, I mean,
11   you've seen. Because it explained everything I had done    11   you know. These, these people that have stock trust
12   looking at deviation. I go, this is the only answer and    12   it's a private company and I'm the majority shareholder
13   it was handed to me on a silver platter.                   13   of it, just like any other company.
14         And I, and I even made it really more real after     14       Q. Okay. But you're telling the jury at least, and
15   I validated three other called cameras angles from this    15   the jury may end up watching this on the, on the video,
16   election, three other things pointed to this, the same     16   that you don't have the authority, or you haven't given
17   exact thing in the cyber world. Which I didn't know        17   yourself the authority to talk about election fraud
18   about the cyber world, I didn't know nothing about it,     18   issues on behalf of My Pillow, is that --
19   but it explained all the other illegal stuff, which was    19       A. No, I never talked to it with My Pillow, like
20   people voted in states and counties that don't live        20   putting My, you know, My Pillow, that's, that doesn't
21   there. And that's the only thing, and that was the         21   make sense. The only thing My Pillow has ever done is
22   deviation and here was the, here was the evidence.         22   ads that when Frankspeech was formed the same as any
23         Now the rest of it, if you call it the back end,     23   other, same as any other retail outlet, or I mean
24   the source code, all this stuff that would prove it.       24   podcast show that's been going on for 15 years.
25   This was the front end evidence, right, that's got the     25       Q. Yeah, but --
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 1      A. It's the same business model.                          1   Dominion or Eric Coomer or any of these things --
 2      Q. I don't really, you probably gathered this, I          2      A. I've never, I've never --
 3   don't watch much TV, I don't watch --                        3      Q. Let me finish my question.
 4      A. I'm everywhere, I'm on CNN, MSNBC, Fox News,           4      A. Yeah.
 5   Newsmax.                                                     5      Q. Are not the positions of My Pillow and that they
 6      Q. What, what do you call publicly?                       6   are not --
 7      A. Huh?                                                   7      A. 100 percent I've said that.
 8      Q. What, what do you call --                              8      Q. Okay. Where?
 9      A. Here is what I can't, here's what I can't do           9      A. 100 percent. All the time. I say, you know
10   now, let me tell you this.                                  10   what, this has nothing to do with My Pillow. I have
11      Q. I didn't ask you what you can't do.                   11   said that so many times you can't believe it. The
12      A. Okay.                                                 12   difference is now I can't go on stations and talk about
13      Q. I'm asking you what are you, how are you              13   My Pillow because of people like Coomer that did this to
14   referred to publicly, the My Pillow guy?                    14   me, it's the other way.
15      A. Yeah.                                                 15         Because people associate me over here with the
16      Q. Right?                                                16   election, fixing our election, now I can't go and be the
17      A. That, people say that, yeah.                          17   My Pillow guy. You're right, I am suppressed from doing
18      Q. Okay.                                                 18   that. It's the opposite of what you think. Because of
19      A. Now, now when I'm out there now, people are out       19   over here they recognize me as trying to fix our
20   there, they're going, you know, it's almost probably        20   election, I can no longer on go on all these, it's cost
21   more so over here to help fix our country, help save our    21   me millions, I can't go on Salem Media, and that was our
22   election. I don't know how people know me.                  22   No. 1 outlet, Fox News, Newsmax, none of them, no media.
23      Q. Do you understand how the public might be             23   I can't go on any station at all and talk about My
24   confused about you talking about election fraud --          24   Pillow anymore. That's why it's cost us so much.
25      A. Let me tell you something --                          25         I could go on like back in the day go on Imus,
                                                       Page 98                                                       Page 100

 1      Q. Hold on, let me --                                     1   go on these stations and talk and say, hey, what are we
 2      A. No, let me tell you something. This is an              2   doing with My Pillow, like our new My Pillow 2.0. I
 3   anomaly in history. I was on TV 3 million times --           3   can't do that now. When I did that we would let people
 4      Q. I didn't ask you that.                                 4   who know about our company. Now because of this
 5      A. I'm going to explain your question. I was on TV        5   election, trying to save our country, it's crap like
 6   3 million times up to 2016, so anything I do out there,      6   this, now I can't go on there and do it because of
 7   they're going to associate me with My Pillow.                7   people like Eric Coomer, that's a fact, that's a fact.
 8      Q. Of course.                                             8         All I was trying to do was bring to light that
 9      A. Anything I do, that's the way because I'm so           9   these machine companies and that China intruded in our
10   branded. It's like you're branded as a frivolous            10   election, that's reality. So you are exactly right.
11   lawyer, anything you do, well, you'll be branded as that    11   They don't know me as the My Pillow guy over there,
12   because that's all I know about you right now. So go.       12   these stations, they know me as trying to fix our
13   I mean, you know, I don't know what you're saying.          13   election so I can't even go on and advertise My Pillow.
14   You're trying to associate that anything I say becomes      14   That's why we've been hurt, that's why last year we lost
15   part of My Pillow, that's not true.                         15   $6 million that we had to go borrow money for my
16      Q. Well, that's, but you know that's the perception      16   employees so I can keep them all employed. They have
17   publicly, don't you?                                        17   families and stuff.
18      A. No, I don't know that's the perception publicly.      18         So don't try and flip it the other way because
19      Q. Of course. If you're talking about election           19   it's only one way. We keep losing, losing, losing
20   fraud issues and you're the My Pillow guy, you're saying    20   because now I'm branded over here trying to fix our
21   that the public can separate those two out?                 21   election because media attacks me every day and people
22      A. I would hope they could, why wouldn't they.           22   like this guy, Eric Coomer, that cost me almost
23      Q. Have you ever, have you ever issued a press           23   everything when he went and made a deal with Chris Ruddy
24   release or a statement to the public that says any, any     24   behind my back and said don't ever have Mike Lindell
25   discussions that I have publicly about election fraud or    25   come on anymore.
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 1         I made one comment, there it is circled, that's       1   one struck a chord.
 2   the only one I ever made about Eric Coomer, the only        2       Q. No, I just want answers to my questions.
 3   thing I ever said, until after he sued me, then there's     3       A. Okay, what is it?
 4   plenty in here. That's the only statement right there       4       Q. So let's just talk about press releases.
 5   that I ever said about this guy I didn't even know,         5       A. About what?
 6   period.                                                     6       Q. Press releases, public statements by My Pillow.
 7      Q. What page are you looking at?                         7       A. Okay.
 8      A. 36. I looked at this last night, it's                 8       Q. Okay. Here's the question, has My Pillow issued
 9   disgusting. That's the only thing I ever said and that      9   any press releases or public statements in writing
10   was the day after he made the dirty deal with Chris        10   saying that you do not speak on behalf of the company as
11   Ruddy. And I called Chris Ruddy up, I go, what are you     11   it relates to election fraud issues?
12   doing. I go, what do you mean I can't come on and talk     12       A. I believe so, but I'd have to go back because we
13   about My Pillow anymore. Well, he's done it with this      13   may have a PR person back then maybe. I think she did,
14   Eric Coomer. That's when I made that statement. I          14   but I'd have to check on that. I believe so.
15   never had made one statement, didn't even know who he      15       Q. Okay. So you think as you sit here, I don't
16   was before that.                                           16   want you to guess.
17         All that, all this crap about Joe Oltmann who I      17       A. I don't know, I don't know, but I would really,
18   didn't even know then and all this stuff about,            18   because I had a, I think we had a PR person back then,
19   everything after that from this on is after he sued me     19   this is two years ago now or three years ago.
20   in Colorado, every statement I made. And I'll continue     20       Q. Who, who is that person, are you not going to
21   to make statements about both you and him. This is why     21   tell me?
22   this judge should have ruled this as frivolous instead     22       A. I don't know, and I'm not giving you her name so
23   of last summer sitting on it for nine months and making    23   you can attack her.
24   me sit here and waste two days of my life because I        24       Q. Do you have any evidence that I've attacked
25   could be helping my employees, trying to keep them         25   anybody within your company? Don't show me the, don't
                                                     Page 102                                                        Page 104

 1   employed while you people attack. There's my statement.     1   show me what you're going to show me.
 2             THE WITNESS: Did you get all that?                2      A. Right there, Page 36, Page 36, where you, where
 3             MR. CAIN: Objection, nonresponsive.               3   I called you lawyers just as bad as him, I called you
 4       A. No, but it's disgusting when you sit here --         4   guys criminals.
 5             MR. MALONE: Slow down.                            5      Q. You did.
 6       A. I'm branded as now election, not My Pillow guy,      6      A. Because what you did to my company back then,
 7   it's the opposite.                                          7   that's when I brought up Eric Coomer. I had never, I
 8             MR. MALONE: You just got to slow it down.         8   had never said his name ever in history until he drew
 9             THE WITNESS: I know, but it just pisses me        9   first. He went to, he went to Chris Ruddy and made a
10   off.                                                       10   dirty deal behind my back and then Chris told me I could
11             MR. MALONE: I understand, they understand.       11   never come on Newsmax again and talk about My Pillow.
12             THE WITNESS: So disgusting.                      12      Q. Did Mr. Ruddy, since you've raised it now maybe
13   BY MR. CAIN:                                               13   half a dozen times, did Mr. Ruddy tell you the terms of
14       Q. You don't remember my question, do you?             14   the settlement between Dr. Coomer and Newsmax?
15       A. Yeah, the question is do people know you as the     15             MR. MALONE: Object to form.
16   My Pillow guy, blah, blah, blah. I just gave my answer.    16      A. No. What he said, he said I couldn't come on
17   No, they know me over here as this guy that's trying to    17   Newsmax anymore even if it was to talk about My Pillow.
18   save our country. But because of Lawfare and start         18      Q. And he, did he say --
19   dirty things that Eric Coomer did on that one day, which   19      A. This was public, it went out publicly, I seen it
20   that's when I called him out, I can't go on my stand, I    20   publicly.
21   can't, my company has been hurt so bad because of people   21      Q. No, no, no.
22   like this Eric Coomer, so bad, tens of millions of         22      A. No, this is what I'm telling you, let me tell
23   dollars, hundreds of millions of dollars.                  23   you the answer. I seen it publicly out there in the
24       Q. You don't remember my question, do you?             24   public, this guy named Eric Coomer. I go who the heck
25       A. What's your question, give me a new one. That       25   is that, then I see he's with Dominion and he made a
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 1   deal with Ruddy and Ruddy put out a statement saying                 1   never able to go on there and talk about my employees,
 2   there's no election crime, we didn't find any election.              2   My Pillow because you guys, whatever he was afraid of
 3         So I called him up, I go, Chris, what are you                  3   you guys to deal with, whatever crooked deal you made or
 4   doing. I said I have the stuff, the evidence. I said                 4   whatever you'd be, whatever deal was made that day, that
 5   what are you making this. Well, he made, I don't know                5   killed My Pillow.
 6   what he said at that point, but I said, I said well, I               6      Q. Why don't you step down as CEO if it's, if your
 7   want to come on. So I can't come on because I, I go I'm              7   activities are hurting the company, your public
 8   not going to be able to come on your show anymore to                 8   statements about election fraud, why don't you step
 9   talk about My Pillow at all.                                         9   down?
10         Because at that point if you remember in                      10      A. That's none of your business, is it. What are
11   February one of his things pulled, pulled their                     11   you trying to give me advice, you care about me, you
12   whatever, they pulled their microphone off, they left               12   care about my employees so much.
13   the thing, and that I guess was because of Eric Coomer,             13      Q. Well, if you did --
14   I didn't know it then. But I, but there's a very famous             14      A. No, no, I'm asking you that. Don't sit here,
15   thing when he pulled, my Twitter got cancelled, My                  15   that's subjective, I don't have to answer that question.
16   Pillow's Twitter got cancelled, it got cancelled. So                16      Q. Have you ever considered doing it?
17   Newsmax had me on to talk about My Pillow getting, My               17      A. Was I there? You know what, let me tell
18   Pillow's Twitter getting cancelled.                                 18   you what I did.
19         Well, I get on there and I start telling him,                 19      Q. No, I said --
20   yes, I said we've been attacked, I said we have                     20      A. No, let me tell you what I did do. My company
21   electronic voting machines. And the guy took his                    21   runs off deviations and blocks. As we sit here today,
22   microphone and threw it, I don't know if you seen it, it            22   you know what, you know why I have to answer my phone
23   went worldwide, No. 1 story in the world. And I was so              23   right now, every 500 of my employees have my direct
24   upset with Ruddy, I go why did the guy. He was, oh,                 24   number, if that phone rings it's an emergency, it's a
25   Mike, this guy, he shouldn't have done that, he                     25   deviation. But when we, when I don't get a call I have
                                                              Page 106                                                       Page 108

 1 shouldn't have done that.                                              1   peace that I know everything is running good back there,
 2       So at that point he came, I came back on the                     2   do you understand. That's how I run my company.
 3 show and he, he actually helped, he put out ads for My                 3         So when I'm sitting out here and I'm doing all
 4 Pillow, email blasts and stuff to help My Pillow because               4   this stuff for the country, I'm out here spreading the
 5 we had been, you know, damaged with Twitter and                        5   thing and I hear a call, which I did back then, one
 6 cancellation of the box store. So Ruddy helped putting                 6   after another, we're in an emergency, we're in an
 7 out ads and said, hey, we'll put out, you know, look I                 7   emergency, and we would, I have to then over the phone,
 8 did this. Well, Chris, well, then all of a sudden that                 8   hey, what can we do because we were getting cancelled so
 9 spring when this happened, I started, I called Chris and               9   fast. We had to move employees to here to shift them.
10 I go, Chris, what are you doing. And he's arguing with                10         To give you an example, when Walmart cancelled
11 me and saying, well, Mike, I can't, I can't get sued,                 11   us last year, we made those pillows, that was, and what
12 you know, I was getting sued, blah, blah, blah. And I                 12   did I do then, I put it up right up to Mr. Biden's
13 go that's Lawfare. I said, so I can't even come on, I                 13   laptop, we put a statement of their chairman making a
14 said, to advertise My Pillow.                                         14   deal with Hunter Biden, we played it on my own show, we
15       And at that point, because him doing that, there                15   played that out there. But you know what I had to do
16 was a deal made or something between, and we've                       16   with My Pillow, that was a separate thing, at My Pillow
17 subpoenaed you guys I think for that but you guys won't               17   then I had all the employees that they lost their job
18 give us your, your, the conversation between you and                  18   immediately. Instead I started MyStore.com to help
19 Chris Ruddy and Newsmax. So I went very public in the                 19   them, we're USA entrepreneurs, and moved them over there
20 statement and bad-mouthed Newsmax, Eric Coomer and you                20   to shipping so they would keep supporting their family.
21 lawyers. That's all I ever said ever about Eric Coomer,               21   So that's what I did.
22 ever, until after you sued me. That's what I said.                    22         I took all my savings, $40 million, kept paying
23       And that capacity right there, I had every right                23   employees, kept to keep the company going, borrowed
24 to say it. When you hurt My Pillow like that, I've                    24   whatever I had to do because this is separate from this.
25 never been able to do email blasts with him again, I was              25   And so I'm not there on a day-to-day running, I'm, I'm
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 1   sitting there, they call me for deviations and blocks.       1      Q. Do you view your role as CEO of My Pillow to
 2      Q. How do you say they're separate when one is            2   maximize the value for the shareholders, to make money
 3   affecting the other?                                         3   for the shareholders?
 4      A. Well, okay, let me tell you something. What            4      A. To provide them jobs and yes, and make, yes,
 5   does it have to do with decisions made here. The only        5   provide them jobs. We have careers there, people are
 6   thing you're saying, is this one over here affecting My      6   like a family, we have blacks, white, Hispanics, Asian,
 7   Pillow, yeah, it's catastrophic. But because of things       7   liberals, conservatives.
 8   I can't reel back like what you did to Newsmax, so I         8      Q. Okay.
 9   can't go out there and tell about My Pillow, tell about      9      A. We're like a family, this has united us. Would
10   how great, good My Pillow is doing or if it's doing         10   I lose everything to protect them, yes. So if I lose my
11   employees or that we didn't have to lay off my              11   life savings and everything I had, I've borrowed money
12   employees, or I can sit there.                              12   to put in there, I will do whatever it takes. Whatever
13          At one point I could go on Newsmax and say, hey,     13   I'm doing here, even though you guys keep attacking, I
14   we're being attacked, we've lost the box store. So          14   will do whatever it takes to, you know, down to the last
15   Chris did emails to help us. But as soon as you did         15   dollar I ever have. I've sold stuff to keep, to keep
16   this I can't do that, I can't talk about, Mike Lindell      16   the company going this last year, I've sold stuff,
17   is not allowed on these platforms because I'm in this       17   borrowed the money, sold pieces of land, everything to
18   space.                                                      18   try and get, to try and save their jobs.
19          So but decisions made here have nothing to do,       19      Q. Do you view your role though to maximize the
20   if I say I'm resigning as CEO of My Pillow, then it         20   value of the shares, I'm not talking about their jobs,
21   still, like you say, I'm branded, even though I'm over      21   value the shares --
22   here doing this, I'm branded at My Pillow. The cancel       22      A. That's what the CEO is, that's what I did, if
23   culture is you think those box stores are going to come     23   you've read my book, that's what I've been doing for
24   back, you think Newsmax and all them are going to go,       24   20 years.
25   okay, let's have Mike Lindell on to talk about My           25      Q. Right. Does the company issue shareholder
                                                      Page 110                                                         Page 112

 1   Pillow, or even if I'm not there or I can talk now, no.   1      dividends?
 2         It was the damage that was done because of stuff    2          A. What do you mean dividends? Yeah, they, it's,
 3   like this has hurt My Pillow irreparable. And you're      3      it's, it's a, what do you call a, it's an S corp. or an
 4   going to say, well, why haven't we done a lawsuit         4      LLC. All the money filters down, every one of them get
 5   against you yet. We'll see, you know. The damage that     5      money form the stock. It's a direct filtered down, if
 6   was done, you can't reel it back, you know. Would I       6      you know what an LLC is, you don't get dividends, you
 7   make the same, do the same thing now knowing now what I 7        get direct money. If the company makes money, like this
 8   knew then, yes, we're saving our country, we're saving    8      year they lost, these guys all lost money, they have to
 9   our election. This isn't about Donald Trump or Eric       9      take, they'll take a loss on their taxes, they lost
10   Coomer or anybody, this is about saving our elections,   10      money, their K-1's will have a minus on there, they lost
11   saving our country.                                      11      money.
12         Our elections is, the system is broken. You        12          Q. It's not an LLC.
13   know what I said out there, paper ballots, hand count,   13          A. Or S corp., whatever it is, it's either an LLC
14   paper ballots. I've met with Germany, France, UK,        14      or an S corp. My feeling is it's an S corp., same,
15   Netherlands, met with them all, they're beautiful what   15      works the same say, LLC or an S corp. work the same way.
16   they do there, there's no machines. I'm sorry that you   16      The money flows, your K-1's flow right to you, it's not
17   love machines so much or Eric does or whatever he does. 17       a C corp.
18   I don't even know what he does with Dominion, I don't    18          Q. Okay.
19   care. I made one statement about him ever and that's     19          A. So these guys will get hit with that loss, but
20   because he attacked me by going after Newsmax and saying 20      it will go, that loss will go against their taxes this
21   don't have Mike Lindell on anymore. Now whether he said 21       year, you know.
22   that or not, I don't know, but Chris won't let me on     22          Q. So the shareholders of My Pillow have been
23   anymore.                                                 23      losing money since when?
24      Q. Do you view your --                                24          A. The last year they lost, they lost money, the
25             MR. CAIN: Objection, nonresponsive.            25      last three years since this happened.
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                                                                                                     29 (Pages 110 - 113)
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 1       Q. So you see a direct correlation as the CEO of       1   give an example here, this is a perfect example.
 2   the company of your public statements about election       2      Q. You can finish your answer and then we're going
 3   fraud and the loss of value of the shares that your        3   to take a break because she's catching on fire.
 4   shareholders own?                                          4      A. Okay. But I'm going to give you this perfect
 5       A. 100 percent, yeah, it's not even a question,        5   example. In the state of Minnesota I had a bar for
 6   it's not even a question. It's in black and white, 24      6   13 years, I fought for pull tabs. Are you familiar what
 7   box stores, that's 100 million a year. But it's the        7   a pull tab is?
 8   daily, it's now the, you had, you know, what we had        8      Q. Pull tab?
 9   before where we had way more podcasts and shows out        9      A. It's a, it's a gambling thing, it's a, it's a
10   there now and we've lost some of them. And so they had,   10   gambling cardboard gambling thing, okay. Our gambling
11   you know, everything is.                                  11   laws in Minnesota back when I had this --
12       Q. And none of the 500 people that can call you       12      Q. What does this have to do with --
13   directly on your phone have called you and said Mike,     13      A. Because I'm going to tell you why, this is what
14   you need to, you need to cut it out, you need to stop     14   my employees, you want to know, this is exactly
15   talking about this publicly because it's hurting the      15   relevant. I had that bar and I fought for law changes.
16   company?                                                  16   I basically fought city hall and I fought our state, our
17       A. They, they, yeah, well, they, they haven't         17   state on these laws and I fought. And I was attacked
18   called me and said that. They've had, you know, I'll      18   for fighting, I lost everything, everything in 2003, I
19   have conversations and they'll go, you know, is there     19   lost all the value of my bar.
20   any, you know, you know we lost another one. But they     20         Four years later everything I fought for came
21   don't say that, hey, stop doing it because they know.     21   true, it's in my book. I got calls from, it saved our
22   If they do that I will educate them and say here, you     22   industry here, our restaurant and bar industry, I got
23   guys know we have, they all know, we have big meetings,   23   calls from people around the state going Mike, we know
24   we've had big meetings, I've said you guys, here's what   24   you lost everything, but thank you for standing up for
25   I have, you know, if we lose it all, you know, this is    25   what was right and not worrying about the, you know,
                                                    Page 114                                                        Page 116

 1   it. And all of them, you know, you got to do it, we got   1    backing down. I lost everything, just like this, and my
 2   to save our country, most of them have that attitude.     2    employees, they all know that.
 3   If you went employee by employee --                       3          I'm sorry if this the repercussions, but I'm
 4          I'll give you an example. I had The New York       4    100 percent, I have to do what I have to do because I
 5   Times was there and also on a separate thing Business     5    have the evidence that China intruded in our elections
 6   Insider, they both were doing huge stories on this.       6    and it was through machines, and that's fact. And
 7   They came and spent three days there at different, both   7    you're never going to tell me, I don't care if I lose
 8   ones at different times. They're doing a huge             8    every dime. And do I care about them, yeah, I borrowed
 9   documentary, whatever it is, okay.                        9    money to help them out, to keep My Pillow going about, I
10          They were there, they went and had free rein,     10    don't know, 10 million in the last year, I borrowed to
11   feel free to talk to the employees. They asked them all  11    the max. I keep doing it and I will keep doing that.
12   those questions. I didn't know what they'd say,          12    If they keep destroying us, I have to keep doing that.
13   everything you're saying. And they said, you know what, 13           And that's what I'm saying, my employees will
14   we, we now, we now see it, we know Mike is out there and 14    all tell you the same thing. They're not going to tell
15   if he, if he doesn't say, most of them know I'm doing    15    me don't do this because they know me, so they know that
16   it, I wouldn't be doing it to destroy the company. But   16    what I'm doing is what I need to do.
17   if that, if that happens, I can't help that. I'm going   17       Q. And no one within the company has the authority
18   to do what I have to do because it's so important that   18    to stop you?
19   we save our election or I won't have a company anyway.   19       A. What's that?
20          And they all, if you went down and talked to all  20       Q. I said no one in the company has the
21   my employees like they did, and believe me, the Business 21    authority --
22   Insider and New York City Times would love to write bad 22        A. They wouldn't want to.
23   stuff about me, trust me on that. And all of them, they  23       Q. No, no. No one has the authority to stop you,
24   were, they couldn't even believe, they were very         24    do they?
25   impressed after talking to find out who I was. I'll      25       A. They could certainly voice their opinion to say
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 1   please stop, they could. But they don't, and because        1   so.
 2   you if you ask them, and just like The New York Times,      2      Q. Well, that matters.
 3   then they say no, we believe in what he's doing, 100        3      A. Not that I'm going to give you their names.
 4   percent.                                                    4   You're not getting any names, so.
 5      Q. Aside from --                                         5      Q. You told me that. I'm not asking you for names,
 6      A. He's always had our back and he always will.          6   this, this --
 7   And if we have to lose everything, they're willing to       7      A. There would be no one that could, that would be,
 8   lose it too because they love our country.                  8   that I haven't told you about, the VP's that were in
 9      Q. So besides from voicing their opinions, no one        9   charge of the, you know, box store stuff and, you know.
10   in the company has the authority to make you stop,         10      Q. Okay. All right. And we talked about you're
11   right?                                                     11   not sure if the CTO works for My Pillow or for --
12      A. No, not a legal authority.                           12      A. The what?
13      Q. Okay.                                                13      Q. Chief technical officer,
14      A. You know.                                            14      A. I can't check on that right now. I don't
15      Q. Let's take a break.                                  15   believe he works for My Pillow.
16      A. I guess, I don't know if there's any legal way       16      Q. All right. Does My Pillow employ Kurt Olsen?
17   to do that.                                                17      A. No.
18      Q. You answered my question.                            18      Q. So he does not -- Mr. Olsen is an attorney,
19             MR. CAIN: Let's take a brief break.              19   right?
20             VIDEO TECHNICIAN: We are going off the           20      A. Yeah.
21   record at 11:43 a.m.                                       21      Q. He does not act as an attorney for My Pillow?
22             (A break was taken at 11:43 a.m.)                22      A. Absolutely not.
23             VIDEO TECHNICIAN: We are back on the             23      Q. All right. Joe Oltmann?
24   record at 12:04 p.m.                                       24      A. Yeah.
25   BY MR. CAIN:                                               25      Q. Does he either consult with or is he employed by
                                                     Page 118                                                          Page 120

 1      Q. Before the break we were talking a lot about          1   My Pillow?
 2   your shareholders and your employees. How many people       2      A. No.
 3   did My Pillow employ let's say in 2020?                     3      Q. Has he in the past been?
 4      A. No idea. I don't know, 1,500 maybe, I don't           4      A. No.
 5   know.                                                       5      Q. Has he received compensation by virtue of an
 6      Q. Okay. Is that your best estimate, around 1,500?       6   association with My Pillow?
 7      A. Mm-hmm.                                               7      A. No. He's got a podcast. If he has a, if he has
 8      Q. And you did the stairstep thing with your hands       8   a, if he's an affiliate code with a podcast, then he
 9   talking about shareholder price and the profits going       9   would, his podcast would have got the sales from My
10   down. What, what has happened with your level of           10   Pillow products.
11   employment at My Pillow?                                   11      Q. Okay.
12      A. It's down, it's down. We had to, all the, all        12      A. That would be the only, the only thing I can
13   the people that did home shows and fairs, they're gone.    13   think of.
14   They had to, which we offered them a job, like I say,      14      Q. Let's do this, let's, let's break up the
15   over at MyStore and we did everything we could. But        15   monotony a little bit and look at some pieces of paper.
16   yeah, it's down, probably significantly.                   16   I wasn't planning on marking this right now, but let's
17      Q. 50 percent?                                          17   do it anyway.
18      A. I don't know. I, I couldn't even guess.              18             (Exhibit 61 marked for identification.)
19   Probably.                                                  19      Q. This is Exhibit 61, Mr. Lindell.
20      Q. Okay. As far as employees themselves, we talked      20      A. Mm-hmm.
21   about your, some, somewhat about the executive team. Is    21      Q. Have you looked at it?
22   there anyone else that is either a C level employee or a   22      A. I see it, yep.
23   member of your executive team that we haven't discussed,   23      Q.
24   just in terms of names?
25      A. No, not that I'm going to give you their names,
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                                                                     1             (Exhibit 62 marked for identification.)
                                                                     2      Q. Okay. Mr. Lindell, it's a thick document, so.
                                                                     3      A. Yep, yep, got it.
                                                                     4      Q. Does this jump out at you as something that you
                                                                     5   recognize?
                                                                     6      A. No.
                                                                     7      Q. Okay. I'll give you a minute to look at it
                                                                     8   then.
                                                                     9      A. Oh, yeah, this, yeah, when one of my employees
                                                                    10   got killed, is that what it is?
                                                                    11      Q. I don't know.
                                                                    12      A. It says homicide. Yeah, one of my employees,
                                                                    13   her, let's see, her boyfriend or whatever at that
                                                                    14   intersection, he cut her head off.
                                                                    15      Q. Oh, boy. Okay.
                                                                    16      A. I don't know why that's relevant.
                                                                    17      Q. It's not. Flip through it just to familiarize
                                                                    18   yourself with it, because that's not the point of this
                                                                    19   exhibit.
                                                                    20      A. Well, then why would you put that horrific
                                                                    21   picture on there?
                                                                    22      Q. Well, why would it be produced by My Pillow, I
                                                                    23   don't know.
                                                                    24             THE WITNESS: Where did this, what is this,
                                                                    25   why is this on there?
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                                                                     1             MR. MALONE: Mike, just take a second to
                                                                     2   flip through.
                                                                     3             THE WITNESS: Okay.
                                                                     4       A. Okay.
                                                                     5       Q. So I'll tell you what I think this is, and then
                                                                     6   you can tell me if I'm wrong.
                                                                     7       A. Yep.
                                                                     8       Q. What I believe this to be, after looking through
                                                                     9   it, is a copy of the texts between yourself --
                                                                    10       A. And
                                                                    11       Q. -- and
                                                                    12       A. Yep, that's right.
                                                                    13       Q. Over time.
                                                                    14       A. Every, every morning she sends the same thing,
                                                                    15   yep.
                                                                    16       Q. Okay. So it's not about the beheading.
                                                                    17       A. Right. I don't know why that, but she probably
                                                                    18   texted me this showing me one of our employees this
                                                                    19   happened to, it had to be in her text.
20    Q. Along the lines of, we already kind of got on              20       Q. Right. I think it just is the first one because
21 the weeds on promo codes, but I do have some more                21   of the dates range that was produced, that's it.
22 questions based on some documents that were just                 22       A. Right.
23 produced to us on Monday.                                        23       Q. Nothing special about that. All right. And if
24          MR. CAIN: So let's mark this, Kelley.                   24   you, if you look at the first page.
25 This will be Exhibit 62.                                         25       A. Yep.
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 1      Q. Back to the beheading page. It says on the top            1      Q. Okay. Back to what I was asking. On the first
 2   there's it looks like four boxes,                 and a 952     2   page there's also a box that says
 3   area code number, do you see that?                              3   do you see that?
 4      A. Yeah.                                                     4      A. Yeah.
 5      Q. And then device owner and then Mike Lindell,              5      Q. Do you know what device that goes to?
 6   that's you, 952 --                                              6      A. That's the same device, that's just --
 7      A. Yep.                                                      7      Q. Okay.
 8      Q. --                                                        8      A. There's no, there's other device, that's the
 9      A. Yeah.                                                     9   same device, that's.
10      Q. Is that the same number as what goes to that             10      Q. All right. My assumption was it might be an
11   phone?                                                         11   iPad or something or another.
12      A. That's this one, yeah.                                   12      A. No, I don't have it. Everything I do is on
13      Q. Okay. All right. And then, and is that a new             13   here, everything in the world. I don't have a computer,
14   phone or is that the same one that was seized?                 14   this is it.
15      A. No, they seized it, it's still there with them.          15      Q. Is that a company phone?
16      Q. Oh, but you --                                           16      A. This is a, yeah, this is My Pillow I believe,
17      A. They make new phones.                                    17   yeah, yeah. But everything, it's also my personal,
18      Q. They do, that's true.                                    18   everything is on here.
19      A. Yeah, ain't that something. I can't believe              19      Q. Right. But is it, it's a, the company pays for
20   people are that, wow, did you get your phone back, how         20   your device?
21   do you make calls.                                             21      A. I don't know, probably.
22      Q. And, and you can even back things up to the              22      Q. Okay.
23   Cloud.                                                         23      A. We pay for 20, 30 other employees, so probably
24      A. Yeah. But there was a lot of stuff on there              24   mine too I assume.
25   that they took that wasn't backed up, that was the             25      Q. Probably            as well?
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 1   disturbing part.                                          1            A. Yeah.
 2      Q. That's actually a question that I had to ask        2            Q. Okay.
 3   you, which is, is there any My Pillow data that's been    3            A. I don't know, I can't say that for sure because
 4   lost as a result of that?                                 4         she's got one in her office. Oh, that's a, that's a
 5      A. No, not, no, no, that was my pictures of my         5         cell, this would be her cell.
 6   grandkids and stuff.                                      6            Q. Okay. So this would be a company issued cell --
 7      Q. Personal?                                           7            A. I don't know if                 is a company phone or
 8      A. Yeah. Everything, everything here that you're       8         not is what I'm telling you. I assume it is, but I
 9   showing me is a text I get, like I told you, every        9         don't know.
10   morning, there's a snidbit, this little gray thing.      10            Q. Okay.
11      Q. Yeah.                                              11            A.          the reason it says        is because that's
12      A. She'll just send a snidbit, and it can be          12         her husband's name.
13   whatever she thinks is, you know, random. Okay, it will  13            Q. Right.
14   be, like she'll say, hey, I'm checking on this one.      14            A. You know. She might not have a company phone,
15   She'll show, there's no logic, she'll say a cross        15         that's just I'm texting her on her personal phone
16   section so I can look and see, I'll be able to look.     16         because we can't, because we're not texting on a company
17   Like I'll look at this one here, Diamond & Silk.         17         phone. She, it's a physical phone with buttons on it,
18      Q. Okay. I'm going to ask you about specific ones.    18         you know, like, you know.
19      A. Okay. All right.                                   19            Q. Yes, I understand.
20      Q. Just let me do that because I don't know --        20            A. Right.
21      A. That's what this is, this is all this is.          21            Q. Okay. Thank you. And that's how you have her
22      Q. Okay.                                              22         in your phone as                  but her actual last name is
23      A. She probably, I text her more than anyone in the   23                  or her married name may be different, is that
24   company because every morning like clockwork that's what 24         right?
25   she sends.                                               25            A. Yeah.
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 1      Q. Is that right?                                             1      A. But it was because everybody was, their
 2      A. Yeah,                because her husband           this    2   commercials didn't run because everybody was focused on
 3   goes back a long time.                                           3   that. There's always a reason for the changes, you
 4      Q. Does he work for the company as well?                      4   know.
 5      A. He works in manufacturing.                                 5      Q. Okay. But to this, this page, and we're going
 6      Q. For the company?                                           6   to use this as an example.
 7      A. He's a forklift driver, correct.                           7      A. Yeah, yeah.
 8      Q. All right. So let's flip the page to -- and the            8      Q. I'll have some other questions, but.
 9   bottom has some what they call Bates numbering in our            9      A. Right.
10   profession and it says My Pillow 2135 on the bottom             10      Q. She is, is she deciding what, these are promo
11   right.                                                          11   codes on the left-hand side, like L66?
12      A. Yep.                                                      12      A. Yeah, yeah.
13      Q. Are you with me?                                          13      Q. She decides what information to provide you?
14      A. Yep.                                                      14      A. Yeah, it's just, it's just a snidbit. She can
15      Q. Okay. Now you started to talk about this                  15   send whatever she wants. And she'll for sure send
16   earlier. And, and this is kind of the explain to the            16   something she thinks looks out of whack.
17   jury what we're looking at part of your deposition. It          17      Q. So it's not, for example, one could assume that
18   appears to me on the left side is where          is texting     18   the bigger accounts that are making more money --
19   you revenue numbers, is that right?                             19      A. No, no.
20      A. Right, right. You know what I just showed you             20      Q. -- she might put on there?
21   on this phone?                                                  21      A. No, no, it's not the bigger accounts, it could
22      Q. Yes, sir.                                                 22   be the smallest or the biggest.
23      A. There's, she's texting me like 20, maybe ten to           23      Q. Okay. So is it fair to say then that we're
24   20 of all those you just seen. So I can make in the             24   looking at maybe just deviations that she sent to you?
25   morning without me having to go through them all, she'll        25      A. No, you're just looking at a cross section, so
                                                          Page 158                                                          Page 160

 1   text me what she thinks could be a deviation or at least         1   like a cross section. Here, I'll give you an example.
 2   so I can make a thing that overall all is well before I,         2   So here she put, she's got some TV on here, she's got
 3   because otherwise if I, if they're all down or                   3   some like Hannity on here, he is a, he's definitely on
 4   something, I'm looking at something, I wanted her, I'm           4   a, kind of a guarantee, but --
 5   the one that told her to do this every morning. If I             5      Q. On the radio?
 6   see something that's out of whack I got to quick get to          6      A. It's radio.
 7   here because in real-time if there's, if there's                 7      Q. Yeah.
 8   something wrong the computer.                                    8      A. So it's a snidbit. Like you might have some
 9      Q. Mm-hmm.                                                    9   podcasts, some radio, some TV. So I can say, well, gee,
10      A. This happened because of what happened one time           10   that number is higher on a podcast. She's got to do
11   on Thanksgiving. We took in, all the numbers were down          11   some of each group, so to speak. She doesn't do the,
12   and I'm going these are, you know, I caught it on the, I        12   the emails and text marketing, that comes from, I look
13   caught it myself, but I said I need to get a snidbit            13   at that, I get the emails on myself. So that's a whole
14   sent every morning so that I can see if there's a               14   another world there because I don't have a guy, he'll
15   deviation overall. Like the Website if it's down 5 or           15   look at that now and he'll see deviations,         will,
16   10 percent, I would be able to know.                            16   and he would call me up. But usually I catch that
17         And this also shows me something could have               17   myself because it can be --
18   happened the day before. I'll give you a perfect                18      Q. So           doesn't do email or text?
19   example. Let's say that, I don't know, something huge           19      A. She doesn't look at those promo codes. She only
20   like, you know, invasion of Ukraine or Afghanistan, that        20   gets, she stays in her lane. She doesn't even do the,
21   day in Afghanistan when they did that, all our numbers          21   the print, any of the print or the, she doesn't do text,
22   were down. Now I hadn't seen the news that day, but I           22   emails, mailers or print, she just does podcast, TV and
23   woke up and she sent me, I'm going what happened                23   radio.
24   because, you know, because it was all the deviation.            24      Q. All right. So up at the top left of this, I've
25      Q. Right.                                                    25   seen this L66 code a fair amount. What does that relate
                                                          Page 159                                                          Page 161

                                                                                                         41 (Pages 158 - 161)
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 1   to?                                                            1       A. Yeah.
 2       A. L66 is Frankspeech buy, or they're, these are           2       Q. All right.
 3   real ads, like they go in between Frankspeech buys for         3       A. That was, Frank was, I think that one, that one
 4   My Pillow. So they, same, it's the same thing as any           4   I would have to look into. Or it was for Frankspeech.
 5   other platform, like Rumble or a podcast, whatever. But        5   The short answer is I don't know. It has to, it's
 6   these are, these are real ads, these are like                  6   probably an email that I did back then and used Frank on
 7   commercials like you see on Fox, the L66 is.                   7   that. But I don't know why she, I might have, I might
 8       Q. And so anything that has an L66 associated with         8   have asked her to give me that Frank code because Frank
 9   it is --                                                       9   only gets email blasts. So that would have been email,
10       A. That's a 24/7, like all over, it's like, it's a        10   an email, an email blast. Does that make sense. Email
11   24/7 TV show. This a Lindell TV.                              11   marketing. She shouldn't, if she sent that back then,
12       Q. Okay.                                                  12   it's not in her lane.
13       A. So it's in between Pete Santilli, I hired Emma         13       Q. Right.
14   Robinson, War Room, Mike Lindell, I do, I do an hour          14       A. But I asked her, I can also ask her if you see
15   show there, Hope Report, my Christian hour. So it's           15   any, like I'm saying, if you see any e-codes. Like last
16   just a TV lineup. Diamond & Silk.                             16   night I almost did call her and say send me the, the
17       Q. Okay.                                                  17   email blast, that big one we were doing that I just
18       A. And the ads go in between like a regular               18   checked myself because I didn't know how much time I
19   commercial like on Fox.                                       19   would have to check. That would have been to
20       Q. Okay. And so if it says in this example, L66,          20   here, check on this, you know, send me this code too,
21            and then last Wednesday                              21   you know.
22       A. Right.                                                 22       Q. Right. And I mentioned the time period on this.
23       Q. What does that           number represent, just a      23   Part of the reason we're looking at this, this period is
24   number --                                                     24   because it's in the sort of the weeks leading up to your
25       A. That would be a, that would be gross sales             25   symposium, okay. Do you remember when your symposium
                                                        Page 162                                                      Page 164

 1   before anything is taken off, sales tax, shipping,             1   was?
 2   anything, that's a gross sale number before anything is        2      A. Yeah, in August.
 3   touched.                                                       3      Q. Okay. Of 2021, right?
 4       Q. So all of these, am I correct then she is giving        4      A. Yeah.
 5   you all the things with the dollar signs are gross sale        5      Q. All right. So would the Frank code here have
 6   numbers?                                                       6   anything to do with ads that were being run in
 7       A. These were gross sale, yeah. So this would be           7   connection with the symposium?
 8   before any, anything taken out, returns, everything that       8      A. No, not at all.
 9   got taken out. These are your gross sales that, that           9      Q. Okay. I'm sorry.
10   these, and these are, I don't know if they're, I believe      10      A. 100 percent no.
11   that they are gross even after the discounts, you know        11      Q. Okay.
12   what I mean.                                                  12      A. These were, and you realize this is, this is,
13       Q. No, I don't know the last part.                        13   this is My Pillow, this is another promo code, that's
14       A. Well, see, what she's giving me there is like if       14   just another promo code Frank.
15   you have a retail, the thing is $50 and you're selling        15      Q. Right. No, I get it.
16   it for 25, that's that added up here. So it's not             16      A. No, there was no ads ran with, those would have
17   gross, when I say gross, it's not the retail what they,       17   been My Pillow advertisements, not Cyber Symposium. On
18   you know, this is actual sales that we got credit cards       18   Cyber Symposium we didn't sell pillows, a Cyber
19   for, you know.                                                19   Symposium ad, you realize that. So like when I bought
20       Q. Gotcha. Okay. There's a separate promo code            20   ads on everywhere in the country including Fox, but Fox
21   below L66 that's just Frank, what does that relate to?        21   wouldn't run them, there was no money to be made, you
22       A. That, that's an email, or that's an email. I           22   know what I mean, there was no, it was, it was to watch
23   don't know why she has Frank on there. This is, what,         23   the Cyber Symposium. It was, it cost me money, it
24   what day is this from?                                        24   wasn't a revenue generator.
25       Q. So this is in the time period late July of 2021.       25      Q. Okay. Back to Exhibit 62. War Room we know you
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 1   mentioned is, is Steve Bannon's show, correct, that's         1   let me run ads, of all the companies in the country, to
 2   the War Room?                                                 2   watch the Cyber Symposium, to watch it. And it was an
 3      A. Yeah. Well, it says, it doesn't have a, yeah,           3   ad, hey, we're having this, we're having this event.
 4   yeah, yeah, that's War Room, yep.                             4   And that was it, everyone else accepted it, CBS, NBC,
 5      Q. Okay. And then the rest are sort of                     5   CNN, MSNBC, everybody in the whole country except for
 6   self-explanatory. There is Dawn in this --                    6   Fox.
 7      A. Gallagher is on, on Salem Media, he's the host I        7         And I thought, you know what, I can't have you
 8   guess since 2010, Hannity since, or 2012, Hannity since       8   censoring my ads, I couldn't even believe it. So I
 9   2014, that's radio.                                           9   took, I pulled my My Pillow ads from them. And then
10      Q. Okay.                                                  10   that became a big story, everyone is going why would you
11      A. On GMO, I don't know. Dinesh D'Souza, that             11   do that, how much did it cost you. It cost me over 2
12   would be his show on both, I think he does radio and         12   million, over $2 million a week, in, in actual net
13   podcast, I don't know. But that's Salem Media, a lot of      13   revenue over almost a million a week. I just completely
14   them are Salem Media.                                        14   crushed by doing it, but it was the principle of the
15      Q. Okay. And who's your point of contact at Salem,        15   thing. Why are you doing this with censoring people,
16   who do you deal with?                                        16   you know.
17      A. We deal with, I don't know who she deals with.         17      Q. Okay. I actually printed this out. Let's mark
18   Now we do, I use Phil, Phil. Back in the day before          18   this, I wasn't going to talk about it, but let's do it
19   they went public I dealt with this, with Phil. I             19   anyway. So keep that handy dandy.
20   haven't dealt with him for a long time, but he's, Phil,      20      A. Yep.
21   oh, my gosh, he's the one that won't let me, he gave the     21      Q. The big one there.
22   order that I can't come on.                                  22      A. Yep.
23      Q. Boyce?                                                 23      Q. And I'm going to stop talking so she can mark
24      A. Boyce, yep. Phil Boyce, that's correct.                24   that exhibit.
25      Q. All right.                                             25      A. Yeah, okay. What am I doing?
                                                       Page 166                                                       Page 168

 1      A. Yeah. He's the one I can't come on anymore.             1            (Exhibit 63 marked for identification.)
 2      Q. So looking again back to this exhibit. On the           2      Q. Now, Mr. Lindell, I'm going to tell you what
 3   right side there's, I'm color blind, but it looks like a      3   just happened. She can't mark an exhibit and type at
 4   yellow-ish color. This is on a second page. Actually,         4   the same time, so we have to pause, okay?
 5   you don't have a colored version, so it's probably gray,      5      A. Mm-hmm.
 6   all gray. On the right side it says, "Please call me at       6      Q. So you, you brought up the point and you've made
 7   7:30 your time over, I would like to go over Gallagher        7   it several times already that My Pillow dropped its ads
 8   and talk about dropping Fox."                                 8   on Fox News and you've explained why now, right?
 9      A. Talk about what?                                        9      A. (Nodding head.)
10      Q. "Dropping Fox," do you see that, right there?          10      Q. And I'll represent to you, do you know who Media
11      A. Is that with Phil Boyce?                               11   Matters is, what that group does?
12      Q. This is your text with                                 12      A. (Shaking head.)
13      A. Oh, no, yeah, yeah, yeah. Okay, yeah. What             13      Q. Okay. Well, this graph is their analysis of the
14   that was is Fox would not take my ads and so I dropped       14   ad buys by My Pillow on Fox News over a period of time.
15   them, I dropped My Pillow. I was the No. 1 story in the      15      A. Right.
16   world, everybody was asking me to come on their show,        16      Q. Do you see that?
17   everyone, I mean CBS, everybody wanted, why are you          17      A. Mm-hmm.
18   dropping Fox News, why are you dropping your ads, you        18      Q. And if you look at sort of the period of time
19   know.                                                        19   that we're talking about, it's kind of on this right
20      Q. Right.                                                 20   side.
21      A. That's what that question is.                          21      A. Yeah, I got it.
22      Q. And, and the answer to that question is what,          22      Q. And that's the, does that correlate with the,
23   why were you dropping Fox News in late July?                 23   your decision to stop running the ads?
24      A. Because they wouldn't let me, they wouldn't let        24      A. Yeah, yeah, absolutely.
25   me run ads, they wouldn't let me run ads, they would not     25            MR. MALONE: Objection, foundation. But
                                                       Page 167                                                       Page 169

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 1   yes, you can answer.                                        1   so fast, I'm trying to save the country and I don't know
 2      A. Yes.                                                  2   if these ads were a break even right here or if they
 3      Q. Okay. And just from, and maybe you know these         3   were making money.
 4   numbers and maybe you don't, but on the left axis of        4      Q. Well, you testified that, as a matter of fact,
 5   this graph there's 100, 200, 300, 400, 500, 600, that       5   you ended up losing several million dollars?
 6   correlates to the number of ads. And then --                6      A. Right, that, when I, when I dropped the ads the
 7            MR. MALONE: Same objection.                        7   revenue there just tanked.
 8      A. I don't know what that means, I don't know what       8      Q. Right.
 9   that means.                                                 9      A. So now, now was the gross sales the net, that's
10      Q. Okay.                                                10   why I said I left it kind of open, you said I won't hold
11      A. I have no idea what that means.                      11   you to that. It could be 2 million I lost. I know I
12      Q. Well, do you know how many ads were run on Fox       12   lost out 4 million in gross sales.
13   News last month?                                           13      Q. Okay.
14      A. No, absolutely not, I wouldn't know that.            14      A. But I don't know how much I lost in net because
15      Q. Okay.                                                15   I don't know if these were break even buys or if they
16      A. See you, you need to understand, we have another     16   were making money buys.
17   company we go through where they, every ad is rated        17      Q. All right.
18   itself what you pay and what you get back. And then,       18      A. And very seldom do you have a place where it's
19   and once a week I talk to her and say how much can we      19   really, really good, like right now the My Pillow 2.0
20   buy if we bid this much. It's a bidding thing, you         20   because it's a new product and you have the margins, you
21   know.                                                      21   know.
22      Q. Right.
23      A. And if I wanted to take a loss, you know, and
24   just brand, I could buy more ads.
25      Q. Right.
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 1      A. You know, you know.
 2      Q. But in this case you've testified that the Fox
 3   News ad relationship was financially lucrative for My
 4   Pillow at the time that you made the decision to pull
 5   them, right?
 6      A. I, I don't know if -- all I know is at least,
 7   whatever you see there, that's at least I was breaking
 8   even.
 9      Q. Right.
10      A. That thing, breaking even or making a little
11   bit. That's my branding, I don't pay for branding.
12   Does that make sense.
13      Q. Yeah.
14      A. Most of the ads will break even or a little
15   better because I'm branding, I'm not paying for my
16   branding.
17      Q. Right, I get it, I get it.
18      A. Yeah.
19      Q. But I'm, what I'm trying to understand is when
20   you pulled the ads from Fox.
21      A. Right.
22      Q. You knew that you were going to end up taking a      22    Q. Right.
23   financial hit, the company at least was?                   23    A. So if I, in order to keep my manufacturing up,
24      A. Well, if these, depends on how these were going      24 there's times I dipped down below that just to keep them
25   at the time. I didn't check in to see. We were moving      25 busy.
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 1      Q. Right.                                                1   point?
 2      A. But very seldom because we can't afford it,           2      A. When you, when you don't have a three-week or
 3   especially now. And when this did this dip here, when I     3   four-week history.
 4   did that, my guess is these, you know, these were           4      Q. Right.
 5   probably, they were definitely above a break even. When     5      A. So you don't know, you don't know if it was
 6   you see this dip here, that means that the ads were not     6   downturn. You're kind of shooting blanks. So it's kind
 7   working, the ads were not working. And you see this dip     7   of like, like when we launched the My Pillow 2.0, this
 8   here, that means you're not, you've got, you know, you      8   has happened before in history. We launched the My
 9   have different products. So we had a different product      9   Pillow 2.0, we put it everywhere because we don't have a
10   launch here probably. There's a reason this went up        10   history, okay. Fox did it one other time where Fox
11   here, there's a reason it went up here. The reason it      11   dropped it. And this is when I was attacked by the
12   went up here --                                            12   Better Business Bureau and they took My Pillow from an A
13      Q. Mr. Lindell.                                         13   plus to an F. When they did that and did a national
14      A. What?                                                14   press release, two things dropped us, Fox and The View.
15      Q. Hold on. Thank you again for the explanation,        15   And when that happened we were a whole month without
16   but it's not going to make sense to the jury.              16   Fox. This is very similar to what happened then. When
17      A. No, this, this will make sense right now is what     17   we went back we had to put everything out there and
18   I'm telling you.                                           18   retest it.
19      Q. Hear me out, hear me out. When you say you see       19      Q. But why as the CEO of My Pillow were you willing
20   this, you see the dip, they can't see it, so they don't    20   to risk, you know, the potential losses by pulling those
21   know what you're pointing to. I can see it. Circle the     21   ads?
22   two areas, the dips that you were talking about when you   22      A. Because, I've answered that before, I'm going to
23   had --                                                     23   say it again, because I didn't want to lose our country,
24      A. I would have to --                                   24   that's it. I had to get this out there and they stymied
25      Q. Take your pen --                                     25   my voice, they stopped my voice. So you know what, it
                                                     Page 174                                                        Page 176

 1      A. I'm just going to tell you something because I      1     didn't matter, no matter what the repercussions were, My
 2   can't circle what you're saying. I would, if I were to    2     Pillow, I had to sell them. If you're not going to do
 3   explain this without, without seeing what was behind it,  3     this, I'm going to pull my ads. I have to have people
 4   what happened back then. Back then I probably knew.       4     see this evidence, that was the whole thing.
 5   When we had this right here, I guarantee there was        5        Q. I know, but you knew, the problem with that
 6   either --                                                 6     potentially is you knew from the My Pillow side of that
 7      Q. You're pointing to the big dip in the middle.       7     that that was going to potentially --
 8      A. Yeah, this here, we were either exchanging          8        A. 100 percent I did.
 9   products or when this went up here we might have          9        Q. Okay.
10   launched a new product. Here it's very easy to explain.  10        A. I knew it was going to hurt us, but it doesn't
11   I didn't run ads for almost a month and everybody, I'm   11     matter when you lose your country. I had to make that
12   coming back so everybody, everybody either, either I, I  12     decision to Fox. How dare you do this, how dare you do
13   didn't know what to buy then because we had no test to   13     this, we have this, you can't tell me -- and I even went
14   go by, so I probably put it out there and a lot of them  14     to them, CNN ran it, MSNBC ran it, everybody ran it.
15   were probably below market, that would be my guess,      15     Even, even if you would think if it was political, they
16   because you see they're higher. And it doesn't mean      16     would run it, wouldn't you, I would think so. Fox, you
17   that you made any more money, it means that you ran more 17     know, and Fox who I advertise on a lot doesn't run my
18   ads coming out of this gate. We had nothing to go by     18     ad.
19   what was going to be working or not.                     19        Q. Okay.
20      Q. So slow down. You're talking about the spikes      20        A. They did it for a reason and, and they didn't
21   after you made the decision --                           21     want this information out there, that's what I think.
22      A. After, right.                                      22        Q. Where there other decisions that you made
23      Q. -- to start advertising again?                     23     leading up to the Cyber Symposium that ended up hurting
24      A. Right, right.                                      24     the My Pillow finances?
25      Q. You said you had nothing to, to go on at that      25        A. Of course. In January when I was holding up the
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 1   evidence and every day I'm losing a box store, every      1               him up and go Asawin, the Daily Beast is very left, I go
 2   single day.                                               2               you better get back over there and tell Dominion chop,
 3      Q. Right, no, no, no. I'm actually focused more on     3               chop or you're going to be known as fake news, that was
 4   the late summer --                                        4               it.
 5      A. There were other, there were other stations that    5                     So when they first sued me finally, they sued me
 6   threatened to cancel me if I didn't stop talking, there   6               and it said, and they sued My Pillow, it said something
 7   were 12 little stations. And I told them go ahead and     7               about promo codes. So I went on Steve Bannon, the first
 8   cancel me, if you do you're not coming back, I'm not      8               time I had ever met him in my life. And I go on there
 9   getting cancelled. I have to, we have to get this         9               and he goes, Mike, Dominion sued My Pillow and not just
10   evidence out there.                                      10               you. And I said yeah, they're disgusting. And I said,
11         So yes, I did make those statements to them.       11               he goes, well, you said they're using promo codes, and I
12   They decided to stay on with us, it was 12 of them. And  12               said, yeah, use promo code Dominion to save up to
13   they, I got called by our media buyer and she said we    13               66 percent. And then he dropped his microphone, it was
14   have 12 TV stations I think are going to cancel. I said  14               disgusting. That's where it came from.
15   tell them if they do they're never coming back because   15                   Q. Who dropped his microphone?
16   I'm not going to, they're not going to bully me into     16                   A. Steve, he just, he couldn't believe I said that.
17   changing my mind and not showing this evidence to the    17               I said use promo code Dominion. Just like when the FBI
18   world.                                                   18               took my phone, I said use promo code FBI.
19      Q. You mentioned Chris Ruddy earlier and Newsmax. 19                       Q. I thought it was Hardee's.
20   Were there, sort of the opposite of what we were talking 20                   A. No. Well, Hardee's was one too, they put their
21   about with Fox, were there certain media outlets that    21               thing out there, you know.
22   were actually helping you promote the Cyber Symposium? 22                     Q. All right. Let's, let's focus back --
23      A. No, no. They all, all of them were just the        23                   A. In other words, you know, take your lawsuit of
24   generic ads.                                             24               promo codes and shove it, that was my, that was my
25      Q. Okay.                                              25               statement to them.
                                                               Page 178                                                        Page 180

 1    A. And, and incidentally now that you ask that,                      1       Q. Yeah, using the company My Pillow to, to make
 2 everyone was the same, whether it was ABC, Newsmax or                   2   that statement, right?
 3 whatever. But on the first day of the Cyber Symposium                   3       A. After the lawsuit, Mr. Twister, after I was
 4 Dominion decided to sue OAN and Newsmax, not the rest of                4   sued. Everything in here in your little lawsuit, other
 5 ABC, NBC, CBS, NBC. You wonder why I don't like the                     5   than that one little paragraph, everything I said --
 6 name Dominion. They hurt us there too. They attacked                    6       Q. We don't, we don't --
 7 those two and then OAN, what ends up manifesting from                   7       A. -- after he sued me.
 8 that, they take, AT&T takes them off the news, or Direct                8       Q. We don't need --
 9 TV, we lost that for advertising too because their                      9       A. After Coomer served his papers.
10 audience went down to nothing. So I got Eric Coomer                    10       Q. We don't need to replow that, okay, I've heard
11 destroying Newsmax for me and Dominion and AT&T and them               11   you say that.
12 guys destroying OAN.                                                   12       A. Well, then I'm just telling you. So that's what
13    Q. I noticed, by the way, there was a Dominion                      13   he, you know, using My Pillow, after.
14 promo code. Why do you have a Dominion promo code?                     14       Q. Let's --
15    A. Because I, you know why, because when I went on                  15       A. And it's a, and it's a joke, you know, shoving
16 TV and they're going, oh, Mike, Dominion sued you, which               16   it back in you guys' face. Oh, you think My Pillow
17 I asked them to sue me because I wanted the discovery,                 17   benefitted from this, give me a break. Talk to them
18 that's how it was. I asked them to sue me, did you know                18   employees who are trying to support their families. You
19 that, are you familiar with that.                                      19   guys are disgusting. What else you got.
20       I called up, I called up the Daily Beast and I                   20          It's kind of a sad day for you, isn't it, to see
21 said why would you tell Dominion to sue me, I got the                  21   how bad My Pillow is sitting and you're trying to make
22 evidence. And so he walks over and he tells them that,                 22   it look like this was some grand thing to make money.
23 his name is Asawin. And he goes yep, they're going to                  23   It's just sad, it really is, it's sad. This is probably
24 sue you. And I said, okay, do an article about it, he                  24   the most frivolous lawsuit in the history of the United
25 did. They didn't sue me for three days. I had to call                  25   States, and I mean that. It's shameful that judge did
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 1   not dismiss this last summer when she, when it was         1   and then we'll see what I can, we'll see what kind of a
 2   brought up for dismissal, it's shameful.                   2   lawyer you are then. Keep going, what's your point.
 3      Q. Are you through?                                     3      Q. Do you hire criminals?
 4      A. Okay. What else do you want to know in here.         4      A. What?
 5      Q. All right. Flip to, if you look at the bottom        5      Q. Do you hire criminals?
 6   right, Page 2138.                                          6      A. Do I hire criminals, ex-criminals, yeah. I have
 7      A. Yep.                                                 7   people that have been, have done all kinds of stuff and
 8      Q. By the way, did you read Dr. Coomer's                8   I have a company of second chances. I get them off of
 9   deposition?                                                9   addiction, I get them to Jesus, yes. I have hired
10      A. What's that?                                        10   people that have been criminals, that have done criminal
11      Q. Do you know that Dr. Coomer gave a deposition in    11   things. I have a criminal record, so. And now you're
12   this case?                                                12   going to go what is it. Look it up, read my book.
13      A. Who's Dr. Coomer, is that Eric?                     13      Q. I actually don't care.
14      Q. Yeah, he's, he's a Ph.D.                            14      A. Okay.
15      A. I didn't, I wasn't at his deposition.               15      Q. But the point has been made and I think I even
16      Q. I said did you read it?                             16   noticed in some of your documents that, some texts where
17      A. No.                                                 17   you're talking about Eric Coomer --
18      Q. Okay.                                               18      A. Only after the fact.
19      A. Was that a requirement? This whole case is          19      Q. -- being detained by the police?
20   frivolous, you guys are already wasting so much of my     20      A. Only after you guys served me these papers. And
21   time that I'm here. And let's finish, okay. No, I did     21   whatever you found was after you have sued me. There's
22   not read his deposition. I don't know the guy.            22   only one statement I ever made about this man was after
23      Q. Okay. In his deposition he was asked about          23   he did this at Newsmax.
24   run-ins with the law, criminal conduct.                   24      Q. Okay.
25      A. Okay.                                               25      A. That's fact, I read this. Unless you got more
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 1      Q. Are you aware of that?                              1    that you didn't put in there, I read this. Everything I
 2      A. He was, he was, he was part of criminal conduct,    2    said was after you served me papers in Colorado.
 3   I'm unaware.                                              3       Q. I'm just asking you --
 4      Q. Okay. He was asked about that in his                4       A. And everything I said I mean it.
 5   deposition.                                               5            MR. MALONE: Mike, just listen to his
 6      A. If he's a criminal?                                 6    questions.
 7      Q. Yeah.                                               7       Q. Does My Pillow, I'm just asking if there's a
 8      A. Did he, did he come clean?                          8    double standard at My Pillow. On the one hand we're
 9      Q. You think he's a criminal, don't you?               9    looking at some texts about Eric Coomer running in,
10      A. Did he come clean?                                 10    having a run-in with the law, right, and then on the
11      Q. You think he's a criminal, don't you?              11    other hand you've said yourself you have a criminal
12      A. Do I think he's a criminal?                        12    record. You know            has a criminal record, don't you?
13      Q. Yeah.                                              13       A. Yeah, sure.
14      A. I think what he did to me is criminal. What he     14       Q.
15   did to my company when he did that deal with Chris Ruddy
16   I think is criminal, yes. I think he's a traitor and                       .
17   criminal by what he did to My Pillow, that's what I      17             MR. MALONE: Object to the form, outside
18   think. There's your answer. And I stated it very, very   18    the scope. You can answer.
19   fine in here after he, after he attacked me.             19       A. I know all the things, yeah, and they got help,
20   100 percent, there it is, yeah, Eric Coomer, if I knew   20    and yes, she got help and she's fine.
21   right now instead of turning and making deals with       21       Q. I just want to make sure that when we try this
22   Newsmax, why don't you turn yourself in to get less      22    case My Pillow isn't going to castigate Dr. Coomer
23   time. I hope, I hope he does get time for what he did    23    because he's had run-ins with the law himself?
24   to us. Oh, you don't, you don't, we haven't pressed      24       A. Listen to me. I don't know his run-ins with the
25   charges yet, but let's get rid of this frivolous lawsuit 25    law. You're misunderstanding what I said. What he did
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 1   to me I consider it criminal. I don't care what he's                1      A. She had, I have many, many people, their past,
 2   done in his past nor do I know what he's done in his                2   but if they've changed, if they've changed or gotten
 3   past. Do you get that?                                              3   help, absolutely I hire him. This is current, this is
 4      Q. I do.                                                         4   real.
 5      A. Well, then don't sit here and tell me. He did                 5      Q. You struggled with addiction?
 6   this directly to me.                                                6      A. Oh, yeah, I was a crack addict, yeah.
 7      Q. Right.                                                        7      Q. And Eric Coomer struggled with addiction.
 8      A. And it's criminal what he's done to me.                       8      A. I don't know, I don't know. I feel bad for him,
 9      Q. And, and --                                                   9   but I hope he got changed, hopefully he found the Lord
10      A. He's a criminal, that's what he is, and that's               10   Jesus Christ, you know, so I can pray for him. I have
11   my opinion. He did this to me. I don't care if he,                 11   prayed for him, believe it or not, I have prayed for
12   what he's done in his past, I could care less. I heard             12   him, you know. I prayed for him, I go why did this
13   once he, that he's got some DWI's, I don't even know, I            13   person do this to somebody and I prayed for his
14   don't know, I don't know, I don't know his past, I don't           14   salvation, for his soul, and for him to get help, you
15   know what he's done, I don't know anything about the               15   know, as I have lawyers that even back up frivolous
16   guy. But I do know what he did to me. That's why we're             16   cases like this. And I got to meet the lawyer behind
17   here, what he did to me. And I will, just like these               17   the curtain. Go ahead.
18   other people that you hear me bad-mouth, I don't                   18      Q. I'll take whatever I can get. Okay. Let's,
19   bad-mouth anybody directly unless they, I have the                 19   let's de-escalate and just talk about some numbers,
20   evidence of what they did to me or what, or that, that             20   that's a little easier I think in a sense. Go back to
21   I've done my due diligence.                                        21   this exhibit, if you would, please, 62. You've already
22         Eric Coomer did this directly to me. And I made              22   been quite clear at least in your mind that your
23   one statement about him. Didn't say nothing for a whole            23   activities relating to the election, 2020 election have
24   year, and then you guys come up and serve me papers in             24   hurt My Pillow's business?
25   Colorado. I'll bet there was statements after that,                25      A. Absolutely.
                                                             Page 186                                                         Page 188

 1 wasn't there. Then everybody knew that what he did to                 1      Q. In a, in a sort of a shorter area or window, did
 2 My Pillow and Mike Lindell. How dare he come and sue My               2   My Pillow at least around the Cyber Symposium experience
 3 Pillow, he's a scumbag for doing that.                                3   an uptick in sales?
 4          THE WITNESS: Put that in there, scumbag,                     4      A. Huh-un, no.
 5 S-C-U-M, bag.                                                         5      Q. Okay.
 6    A. That's what he is for what he did to me.                        6      A. And it's hard to tell because, because of drop
 7    Q. Okay. That's not my question. There were                        7   in the Fox ads, so it's very hard. But we lost, it's a
 8 questions to him about his past.                                      8   net net definitely loss.
 9    A. Not from me.                                                    9      Q. Well, if you take Fox out of the scenario,
10    Q. And what I'm hearing you say --                                10   because you made the decision to, to cut Fox out, all
11    A. Not from me.                                                   11   right. So put Fox --
12    Q. From your lawyer.                                              12      A. It's all one thing.
13    A. Well, I don't know what my lawyer did, that's                  13      Q. Hold on, hold on. Put Fox in a box on the side.
14 between my lawyer and him. You guys, all lawyers do the              14      A. Okay.
15 same stuff, lawyer stuff.                                            15      Q. And just, just talking about the other revenue
16          MR. MALONE: Just let him ask the question,                  16   streams. During the symposium, isn't it true that you
17 see what he has to say.                                              17   had an uptick in revenue from the other sources
18    Q. Okay. From your perspective as CEO of My                       18   outside --
19 Pillow, Eric Coomer's past, whether he had run-ins with              19      A. I, I don't know, I would have to, I have no
20 the law or, or criminal issues, is of no moment and is               20   idea.
21 irrelevant?                                                          21      Q. Is there something like, I've looked at, there's
22    A. Is irrelevant, 100 percent irrelevant, as far as               22   week -- here's the question, and correct me if I'm
23 I'm concerned, that's his business.                                  23   wrong. You both do day, daily reporting where you look
24    Q. Because you believe, you said, you know,                       24   at --
25 has --                                                               25      A. And weekly reporting, yeah.
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 1      Q. To -- you got ahead of me again.                        1   did before because I think it helps to speak about this
 2      A. What's that?                                            2   in context. Please keep that in front of you.
 3      Q. You got ahead of me again.                              3       A. Yeah, yeah.
 4      A. Yeah.                                                   4       Q. And then I'm going to let her mark this and
 5      Q. Daily reporting, hey, what did we do last               5   we're not going to talk while she does that.
 6   Wednesday, what are we doing this Wednesday, right?           6             (Exhibit 64 marked for identification.)
 7      A. Mm-hmm.                                                 7       A. I can already see the answer right there. It's
 8      Q. Week, what did we do last week, what are we             8   a flash sale probably that day, that's what it is, yeah,
 9   doing this week, right?                                       9   it's a flash sale.
10      A. Right.                                                 10       Q. Okay. This is Exhibit 64.
11      Q. Okay. So looking at 2138, this is the back and         11       A. Yep.
12   forth between --                                             12       Q. Right?
13      A. Where do you see it, 21 what?                          13       A. Yeah.
14      Q. 38 on the bottom right, the very bottom right.         14       Q. Okay. Explain to the jury what we're looking at
15      A. Oh, 2138, okay. All right.                             15   here.
16      Q. So and, and you touched on this, so let me just        16       A. Okay. This is --
17   make sure I understand this portion of it.                   17       Q. And it's two pages, it's double. Go ahead.
18      A. Mm-hmm.                                                18       A. This is a flash sale. So what we had is
19      Q. At the top of this email or text exchange it's         19   products in there that are being, that were on sale at
20   July 31, 2021, right?                                        20   that time, the offer expires 12/21, so this is a flash
21      A. Yep.                                                   21   sale.
22      Q. Do you see that in the middle?                         22       Q. Okay. And this would have been, if you look at
23      A. Yep.                                                   23   URL on the bottom, it says basically MyPillow.com/.
24      Q. And then         says, "Yesterday sales were really    24       A. Right. This was an ad done at Frankspeech, not
25   good, these are actual sales"?                               25   My Pillow.
                                                       Page 190                                                           Page 192

 1      A. Okay.                                                   1      Q. Okay. So again, this is a flash sale on
 2      Q. Is it true that she would report sales from the         2   Frankspeech?
 3   prior day typically, right?                                   3      A. That's correct, that's their sale.
 4      A. I had her switch to that. If she backed in, she         4      Q. And there's a promo code that's associated with
 5   did, I don't think she did, sometimes, but there she          5   this sale, right?
 6   didn't.                                                       6      A. Yeah. I don't see the promo code on here, but
 7      Q. Okay. Well, I, that's what I'm trying to                7   yes.
 8   understand because --                                         8      Q. I don't either. Do you recall what it was?
 9      A. Okay. There's no thing she has to do. She               9      A. What's that?
10   could do without it if she wanted. I mean, this is just      10      Q. Do you recall what the promo code was?
11   a thing to, like I say, so I could like at deviations or     11      A. No, there's no, there was no promo code on this
12   whatever. This one is on 7/31, so the sales were good.       12   ad. What this would do, you're going to
13   I would have checked in to why did that happen on            13   Frankspeech.com, there was, you'd have to go there. And
14   July 31st.                                                   14   we had a store on Frankspeech, Frankspeech had its own
15      Q. Right.                                                 15   store back then.
16      A. Because especially, you know, they were all            16      Q. Right.
17   pretty much up, which is, so something happened there.       17      A. So there was no promo code.
18   Did we launch a new product, I don't know. This one          18      Q. Okay.
19   would have nothing to do with the Cyber Symposium, it        19      A. So they would go back there and they would use
20   was in July. I don't even know if we had announced it        20   whatever promo code they had, you know, if they heard it
21   yet.                                                         21   out there, whatever. If they came to Frankspeech, they
22      Q. Okay.                                                  22   would use whatever promo code. This was a, this was a
23      A. In fact, I don't, I don't know, I don't know           23   store that was owned by Frankspeech, follow me.
24   what day was the ads went out.                               24      Q. I do.
25      Q. We're going to do something similar to what we         25      A. So they're selling My Pillow products.
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 1      Q. Right.                                                 1   an example, let me use, let me use like the Gateway
 2      A. That's right.                                          2   Pundit or Epic Times, okay, it's very similar to that.
 3      Q. But again, if you look at the bottom left.             3   They will put what the news are, what's going on, and
 4      A. Mm-hmm.                                                4   then they'll, they'll do an ad. So think of this as two
 5      Q. The URL is actually MyPillow/Frankspeech. So           5   separate things.
 6   did you actually --                                          6         I'm talking about, just because I own them all,
 7      A. Right. So, so let me explain that again to you.        7   so I'm talking about a thing coming up, an event coming
 8   Just like, pick somebody, pick Sean Hannity, pick The        8   up, and now I'm selling, and now you have an ad in there
 9   Chicks or whatever, somebody out there, nothing to do        9   for My Pillow, you know, just like any other thing. You
10   with anything. They get their own back page, which is       10   can go to anybody's page, Epic Times or Gateway Pundit.
11   MyPillow.com/ whoever it is, whatever podcast it is,        11   I don't know, we'd have to, I could name them over and
12   whatever it is. This was /Frankspeech.                      12   over and over again, different, different magazines,
13         So in other words, we didn't have a separate          13   they'll put in there whatever it is and then they have
14   merchant server. What you need to understand is the         14   an ad in there.
15   money has to come in there and the tracking has to come     15         So this is, think of this as my ad telling about
16   in from there. These, all these people out there they,      16   a Cyber Symposium coming to you, important commercial
17   they get paid for their ads after, you know, afterwards.    17   that I've ever done. I was actually talking about the
18   They don't have, it doesn't go to their Website. Are        18   commercial that I was going to do on Fox and CNN, that's
19   you following me?                                           19   what I'm talking about here, did you read that?
20      Q. Yes.                                                  20      Q. No.
21      A. That's why this is the same as every other ad         21      A. I'm coming out with the, as the most important
22   that would have been out there by anybody else. Just        22   commercial I've ever done, My Pillow had gone through in
23   call it Frankspeech, call it, or Frank, call it The         23   the last five months in my effort to bring the truth
24   Chicks or Sean Hannity or Mike Gallagher. They all have     24   forward for all that's come down to this, I'm having
25   back splash whatever there thing is, it's a drop-in         25   Cyber Symposium, there, live stream 24/7.
                                                      Page 194                                                       Page 196

 1   page. We used our drop-in page on Frankspeech. Does          1         These are the ads when I did on TV, when I did
 2   that make sense?                                             2   the ad on TV, this might have been one of them, you
 3      Q. Not, not that part. But let's just dumb it down        3   know. When I did an ad on TV and said, hey, you need to
 4   for the nontechnical members of the jury. If in this         4   come to the Cyber Symposium, this is one of my most
 5   period of time, August of 2021, you went to the My           5   important ads, a directional ad to come to you. Are you
 6   Pillow site, would you be able to get to this flash --       6   following me?
 7      A. No, 100 percent no, no.                                7      Q. No, I'm following you. But why would My Pillow
 8      Q. Okay.                                                  8   in this instance care if people were coming to the
 9      A. You would go to Frankspeech from there. So             9   symposium one way or the other?
10   Frankspeech, this particular podcaster, they did okay       10      A. It says it right there, I'm going to read why,
11   that day because they were pretty, you know, if there       11   this is just news about My Pillow. I, Mike Lindell, I'm
12   was, if there was sales. If this correlation is to          12   coming to you with the most important commercial that
13   their on Frank, whatever the, whatever promo code was       13   all of you know that My Pillow and myself have gone
14   coming in there, it doesn't, you know, list it here.        14   through. They were attacked. So in other words, the
15   But they, this one here, and this might not even have a     15   commercial is talking about My Pillow and my employees.
16   lot of sales because this is pretty generic.                16         The ad that came out on TV was to direct them
17      Q. Well, this one speaks directly to the Cyber           17   there. Everyone was going, hey, My Pillow, that's big
18   Symposium, does it not?                                     18   news when they got attacked like they did, they did
19      A. Right, down below, yeah. This was an                  19   nothing wrong. You guys don't care because you sued
20   announcement. So I was going -- this would have been,       20   them, you know, admit that. So that's exactly what it
21   are you sure this wasn't an email, where did you get        21   was telling the public. My Pillow has been attacked,
22   this?                                                       22   they've been sued. Everyone, you guys hadn't sued me at
23      Q. This is off the Website.                              23   this point, but Dominion had, Smartmatic had, every box
24      A. Okay. So this would have been a message that I        24   store had cancelled us because they were afraid. So we
25   have something important coming up. Just like, here's       25   had been attacked.
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                                                                                                    50 (Pages 194 - 197)
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 1         So my point being was, hey, you need to watch       1         A. CNN was there, everybody was there. Did they
 2   the Cyber Symposium and you're going to find out          2      ran ads, I don't know. Everybody was there. I didn't
 3   evidence of why My Pillow and I have been attacked. It    3      run any ads. If I would have, I would have made a lot
 4   was, it was getting to the point of where I was going to  4      of money, wouldn't I, if I would have sat and run ads.
 5   be vindicated. But, hey, guys, don't you care about       5      But I felt it was so important, I didn't want any ads
 6   your country. I've sacrificed everything, including my    6      ran, I said no. This, people can't think that, oh, he's
 7   company and all my money, all I want you to do is watch   7      doing this. No, I did it to save our country. I didn't
 8   the Cyber Symposium, just come to it and see what we,     8      run one ad at that Cyber Symposium, that's a fact.
 9   see what I have, that's all it was. That's, that's the    9         Q. And you didn't promote the company or provide
10   My Pillow relationship. Now I do know, that's why there 10       promo codes for My Pillow?
11   was no promo code, there was no sales for this.          11         A. No. I may have at one time, but I don't even
12      Q. There weren't?                                     12      believe I did that. You're looking at the wrong thing.
13      A. There was no sales, there was no promo code,       13      If you're looking at RSBN or War Room or something,
14   there was no sales for this. This was talking about      14      whoever was televising that, because I got accused of
15   trying to get people to come and watch the Cyber         15      that. I don't control RSBN, they've been selling my
16   Symposium.                                               16      show for ten, 15 years.
17      Q. All right. I, I understand that part, and I        17         Q. Well, let's look, you've just said a lot that we
18   think you've tried to answer the question that I was     18      could probably deal with.
19   posing there.                                            19         A. Show me something that you're talking about,
20      A. It was news, you're separating the news. So        20      don't just sit here and be, you know. You know I ran
21   like when My Pillow lost their Twitter account, remember 21      commercial free, so that would be a lie.
22   that, it was worldwide news, we were attacked. The       22         Q. Well, I think there's a little bit of semantics
23   problem is I couldn't go on anybody's station and say    23      there.
24   why did My Pillow lose their Twitter account, why did My 24         A. I never, I don't even know there is one time I
25   Pillow lose their Facebook, why did Mike Lindell when he 25      went out there and said one word to buy My Pillow at
                                                      Page 198                                                          Page 200

 1   couldn't do ads and he couldn't even have himself in the     1   that time. Show me, because there's not. That would
 2   picture, and it was attack after attack. Because they        2   have been the last thing on my mind. It was, it was a,
 3   didn't want China, they didn't want the news out about       3   we had more things to worry about then selling a couple
 4   this, about the evidence, the evidence that is now two       4   of pillows when it was, this was a do or die weekend for
 5   years later we all see it, it's everywhere, you know,        5   our country. And I don't even think I mentioned it, now
 6   everything approved it now.                                  6   that I think about it, not at all. You're going to be,
 7      Q. But what you're telling us, from what I'm              7   it's going to break your heart you can't find anything.
 8   hearing is My Pillow had an interest in advertising the      8       Q. Well, there's several.
 9   Cyber Symposium --                                           9       A. There's zero, I ran no ads.
10      A. No, they didn't, they didn't advertise anything       10       Q. Again, we're talking about two different things.
11   at the Cyber Symposium.                                     11   If you are streaming a symposium and you're telling
12      Q. What are we looking at?                               12   people to go to your MyPillow.com --
13      A. They didn't advertise anything at the Cyber           13       A. I wasn't, I didn't do that, that's not true.
14   Symposium. I told you, we didn't run any ads. Show me       14       Q. Okay, okay.
15   an ad we ran. What is wrong with you. All I'm doing is      15       A. That's not true. I did not tell that, the
16   I wanted them to come and see why My Pillow is getting      16   symposium wasn't about MyPillow.com at all.
17   attacked and Mike Lindell. That was the driver, hey,        17       Q. Okay.
18   you guys want to see why they're attacking us and trying    18       A. Frankspeech was there televising, we had, they
19   to kill my employees and myself, watch the Cyber            19   were attacked. RSBN was there, I think they ran it
20   Symposium. Not to watch it to sell pillows. I made it       20   nonstop. I don't know if OAN was there, I don't know.
21   commercial free. If you're talking about RSBN or War        21   I think War Room was there, RAV, CNN was there.
22   Room, they were all there, but they're their own people.    22             MR. CAIN: What's the next?
23   I don't control them, they buy ads from me. Do you get      23             COURT REPORTER: 65.
24   that part?                                                  24             (Exhibit 65 marked for identification.)
25      Q. Of course I do.                                       25       A. I hate to rain on your parade, but I didn't run
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 1   any ads and I didn't talk about My Pillow while I was     1   on. The sales that day were probably $200,000 if that.
 2   there.                                                    2   We didn't have Fox, we didn't have nothing. The total
 3      Q. Okay. Hold that thought. Exhibit 65, we've got      3   net net we lost about 4 million. I didn't run ads
 4   some clips that we'll show to you during the course of    4   during there, I didn't run any ads, not one, so you
 5   the day.                                                  5   can't get me on it. I was making fun of people like you
 6      A. Okay.                                               6   accusing me. You're accusing me just like I said, the
 7      Q. Exhibit 65, this is 17.                             7   media. Everything I told you, you just proved my point.
 8      A. Mm-hmm, okay.                                       8   I even told you about the Dominion code, didn't I. Yes,
 9      Q. Have you seen that?                                 9   I did.
10      A. Yep.                                               10      Q. If you go to --
11      Q. And what are we looking at here?                   11      A. So you kind of killed your own little case
12      A. I'm, I'm standing in front of a screen with a      12   there, I'm sorry. You got something more.
13   square on it.                                            13      Q. If you go to exhibit, the big Exhibit 62 that
14      Q. Okay. And this is at the Cyber Symposium?          14   we've been looking at.
15      A. Yeah.                                              15      A. 72 hours of tape and you show that thing, that's
16      Q. And that's you?                                    16   unbelievable, that's shameful. What else you got.
17      A. Yep.                                               17      Q. If you go to Page 2149.
18      Q. This is about 40 seconds.                          18      A. Mm-hmm.
19            Playing Video Clip: "For this symposium         19      Q. Are you there?
20   the media, the bad media said he's only doing this to    20      A. Yep.
21   run My Pillow ads. And then if you remember when         21      Q. Okay. This is more of the email chain between
22   Dominion sued me, they said they sued My Pillow and they 22   you and
23   said he's only doing this to make money giving out promo 23      A. Mm-hmm.
24   codes. Well, today you can save up to 66 percent and     24      Q. Actually, if you look at the, the prior page.
25   you can, and, and use, hold it, and use promo code       25      A. Mm-hmm.
                                                    Page 202                                                          Page 204

 1   audit."                                                   1      Q. It starts 8/12, August 12th, August 13th,
 2      A. Right. So same thing I did with Dominion,           2   August 14th.
 3   that's what you got.                                      3      A. Right.
 4            Playing Video Clip: "That will be the best       4      Q. But on the top of 2149 on the top left, what is
 5   savings you can find" --                                  5           telling you there, can you just read that section?
 6      Q. It's one of many.                                   6      A. Yeah, it says, "I guess you track promo code
 7      A. You think that was an ad? Are you out of your       7   audit," because I mentioned promo code audit. I said
 8   mind, seriously.                                          8   yeah, put it in there. Or she says I guess, I guess I
 9      Q. You tell me.                                        9   didn't, I guess I didn't answer her. "I'm guessing you
10      A. Well, that's not an ad. I don't even know if we    10   want me to track promo code audit for Frank as well,
11   used promo code audit. I was making a joke like, hey,    11   yesterday         so far
12   you guys, these guys are trying to say I was making      12      Q. So as it relates to the audit promo code that we
13   money by losing my own company. I didn't even know who 13     just looked at you talking about at the symposium.
14   Dominion was or for that matter this Eric Coomer guy and 14      A. Mm-hmm.
15   you guys sue me out of the blue because you think I'm    15      Q. The day prior had brought in              excuse me,
16   making money or trying to make money. Are you out of     16   $      is that right?
17   your mind. That's what I was doing, and you don't know   17      A. Mm-hmm, right.
18   sarcasm when you hear it. You do, does anybody else in   18      Q. And then at least as of this reporting $
19   this room get that. That's the best you got, good luck.  19   right?
20   Promo code audit because that's what we were doing was 20        A. There's two things to that. I don't know when
21   an audit.                                                21   the promo code audit was set up and when it was set up;
22      Q. Okay. So you're saying you don't know if you       22   and No. 2, this is not My Pillow, this is Frank, this is
23   made money using the promo code audit?                   23   Frankspeech, this is the platform Frankspeech. My
24      A. No, we didn't, we lost money at the Cyber          24   Pillow has nothing to do with Frankspeech, you do
25   Symposium. It cost almost a million dollars to put it    25   understand that. This is another, this is on the list
                                                    Page 203                                                          Page 205

                                                                                                   52 (Pages 202 - 205)
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 1   here like your Diamond & Silk, War Room, Alex Jones,         1   are you --
 2   Bartz, it's everybody. This is not My Pillow, they           2       Q. The ones that are looking at this on the video.
 3   don't get those sales. Anything that came close to           3       A. I'm trying to tell you that you're trying to say
 4   Frankspeech, My Pillow doesn't get them. Do you get          4   we made money there. We lost $4 million. And that, I
 5   that?                                                        5   don't know when the promo code audit was set up. That's
 6      Q. No, I guess I don't.                                   6   a Frankspeech is a platform just like the man on the
 7      A. Talk to my employees. They wouldn't get, they          7   moon, Fox News, everyone I've been doing for 15 years.
 8   don't get that money. It's another platform like, like       8         Now did they buy more for promo code audit by me
 9   War Room, like Fox News. They have to pay. What              9   saying that, yeah, I said it as a thing, yeah, they did.
10   Frankspeech ends up with with that, My Pillow will get a    10   It looks like they bought more than the day before. Is
11   portion of that for their sales.                            11   that what you want me to say. Yes, by me saying that on
12      Q. Wait, wait, wait. My Pillow --                        12   that stage, I'm telling you I didn't do any ads, it was
13      A. They don't get anything from Frankspeech.             13   not to run ads at all, and I ran ad free. Did I say
14   Frankspeech, that's their sales. Do you get that. This      14   that because of proving a point, you proved my point.
15   wasn't a My Pillow, it had nothing to do with My Pillow.    15         Rotten horrible lawyers like you and the media
16      Q. It's the product that was being sold.                 16   saying, oh, Mike Lindell is trying to save this country
17      A. Right, by using a promo code, right.                  17   just to make money. I have lost everything I've had so
18      Q. Right. When a pillow is sold, My Pillow gets a        18   far, you got it. So don't sit here and take your,
19   portion of the sale?                                        19   because I'm not going to take this garbage you're
20      A. From everywhere I have ads in the world. What         20   spewing out. This is horrific what you're doing, I've
21   I'm saying is when I do an email blast --                   21   said it from the start of this thing, it's disgusting,
22      Q. Wait. You said ten times that My Pillow doesn't       22   I've lost millions of dollars.
23   get the money.                                              23         You'd like to be in my shoes, you just can't put
24      A. No, you need to understand, that's sold on the        24   it through your head. Why would anybody hold to his
25   Frankspeech platform.                                       25   moral compass and say here, I have evidence to save our
                                                      Page 206                                                         Page 208

 1      Q. I don't care what the platform is, the money is        1   country so you have a job. And I'm willing to sacrifice
 2   going in part to the platform --                             2   every single thing I have, including other people's
 3      A. That's right.                                          3   jobs. If it takes that, I can't help it, I'll try and
 4      Q. -- and in part to My Pillow?                           4   do everything I can to help save them. But you know
 5      A. Just like any other, that's correct.                   5   what, if it comes to that, I will lose everything I have
 6      Q. You're in the pillow business to sell pillows,         6   because that's how important it is to fix our elections.
 7   right?                                                       7   That's it.
 8      A. Mm-hmm.                                                8         So you can go ahead and say that to the jury and
 9      Q. Yes?                                                   9   make it look like I was trying to make money. They
10      A. Sure.                                                 10   heard that statement. I made a joke about it. I can't
11      Q. And that's what we're looking at, the                 11   help that that many people bought, but I still lost
12   $          --                                               12   $4 million that weekend. That's the bottom line. So
13      A. But that was sold on the Frankspeech platform.        13   you can sit there and go, look at him. If there was an
14      Q. I don't care if it was sold on the moon. The          14   ad coming up every two minutes, you could maybe make
15   money is going to My Pillow in part?                        15   that argument, but it didn't. There wasn't even
16      A. Not all of it, but some of it, yes.                   16   anything on the strips, nothing. So it's disgusting
17      Q. Okay. And it's going to whomever --                   17   that you're even insinuating that. That's all I'm
18      A. Mm-hmm.                                               18   saying. Go ahead.
19      Q. -- is advertising that product?                       19      Q. You can't bang on the table because you're --
20      A. Mm-hmm.                                               20      A. That's what I did, I'm sorry, I apologize. Did
21      Q. Through the promo code, right?                        21   it break anything? I'm just getting, it's disgusting.
22      A. Okay.                                                 22   I can't believe that you're a lawyer, that you would do
23      Q. Are you trying to tell the jury that you're not       23   something like that. Don't you have a moral compass. I
24   making money --                                             24   mean, this is bizarre, this whole thing is bizarre.
25      A. What jury, what jury are you talking about, why       25   That I did it to make money with promo codes, really.
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                                                                                                     53 (Pages 206 - 209)
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 1       Talk to my employees, talk to -- when you were                     1      Q. I understand that.
 2 out of the office I sat here, we're overdrawn today,                     2      A. That's what, that's what I assume that meant.
 3 that's what I had to do while you were out of the room,                  3      Q. Well, it could, I mean, and as you pointed
 4 by a quarter million dollars. I have to borrow more                      4   out --
 5 money now and more money because you guys keep attacking                 5      A. Because it wasn't an ad, so I wanted to keep it
 6 my company and what you did with Eric Coomer to that                     6   separate so I know if my ads are working, that's all it
 7 fateful day when he did his deal with Newsmax.                           7   was.
 8    Q. All right. I'm just asking you questions today.                    8      Q. Okay, all right. No, what I was trying to
 9    A. Yeah, keep going.                                                  9   figure out, since you own half roughly of My Pillow and
10    Q. I'm not going to make any speeches. The                           10   100 percent of Frankspeech if when, if the code actually
11 question was, and you've talked about using that promo                  11   that you were using audit was driving revenue to a
12 code $           in revenue came in to My Pillow, of which              12   company you owned 100 percent of versus if it was --
13 a portion of it went to Frankspeech, right?                             13      A. No, no.
14    A. Mm-hmm. One to some, some went the other, some                    14      Q. -- me?
15 went to shipping sales, I don't know what portion.                      15      A. No, my stockholders would not allow that and
16    Q. And then if you look further down in              in              16   neither would my son, you can't do that. It's a
17 your exchange on this day, I needed you to clarify                      17   completely separate entity. That's accusing me of
18 something for me. This is 2149. After she tells you we                  18   committing a crime.
19 did $          on that audit promo code, you say, "Audit                19      Q. No, I'm asking questions --
20 is also Frank." And then you say, "Actually, audit is                   20      A. It is, you can't do it, it's illegal. It would
21 me, not Frank, put that in the memo, Frank - audit."                    21   be morally wrong and illegal. And no, that's not the
22 And I was confused by that when I read it first as to                   22   truth.
23 what you're --                                                          23      Q. Okay.
24    A. I don't know, I don't know what that means.                       24      A. It was done to track over here, otherwise I lose
25    Q. -- referring to?                                                  25   track of the ads because it's skewed by that audit, and
                                                                Page 210                                                         Page 212

 1      A. They, back then, I don't know, we were, because                  1   I said that on stage. I can't skew those numbers over
 2   I own 100 percent of Frankspeech so, you know. I don't                 2   here, I have to -- are you following me?
 3   know what that would mean. I guess maybe, maybe                        3      Q. Yeah, I'm following you.
 4   sorting, because we had, I know what it was. Because we                4      A. All right. It's tracking is all it is.
 5   had two, we had two things going on, I didn't want it to               5      Q. Okay. So when you say actually audit is me --
 6   be confused with the bucket. I wanted to know if Frank,                6      A. What's that?
 7   keep Frank separate because we were doing our regular                  7      Q. Actually --
 8   ads so she didn't mix it in, you know what I mean. I                   8      A. Just to put --
 9   didn't want it mixed in so I couldn't tell what our                    9      Q. -- audit is me?
10   regular ad did, that's what it was.                                   10      A. She probably put it, back then she probably put
11      Q. Okay.                                                           11   it under, under Mike or another, the Mike code. At that
12      A. Audit wasn't a regular ad, so I wanted her to                   12   time I had a Mike code, I had an ML, so you could track
13   put it under a category of me so that over here I can                 13   different things that, you know, what it was producing.
14   track my ads. Do you follow that?                                     14   But I didn't get, I didn't get a check from that, if
15      Q. Not, not --                                                     15   that's what you're saying, no, I didn't get a personal
16      A. It's very simple.                                               16   check.
17      Q. -- entirely. Well, you live with your business,                 17      Q. Well, do you, that raises a question that I
18   I don't.                                                              18   asked early --
19      A. No, but it's very simple. At Frankspeech                        19      A. Ever.
20   there's a bunch of other promo codes there, I got the                 20      Q. -- to that point. The promo codes, whether it's
21   L66 or whatever and where you run ads. In order to give               21   whatever, it doesn't matter, are there any instances
22   them credit over there I wanted, I did not want                       22   where you are actually the, the receiver of the revenue
23   Frankspeech, I had to know what ads were working here                 23   share --
24   for that promo code Frank, so I put audit separately.                 24      A. No.
25   Do you understand that?                                               25      Q. -- personally?
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                                                                                                               54 (Pages 210 - 213)
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 1      A. No, no, no, zero.                                             1      Q. So --
 2      Q. Which is what you were saying. I just wanted to               2      A. Where does it say that? It says, "I'm guessing
 3   clarify it.                                                         3   you want me to track promo code audit for Frank as
 4      A. Right. And there's also ones where, you're                    4   well." My guess is when it says Frank audit, that's
 5   going to ask the next question, I'll do it for you being            5   audit and Frank all included in one. I mean, she's
 6   the lawyer you are, that Frankspeech isn't treated any              6   asking to add audit with all the other Frank promo
 7   different than any other outlet out there, it's all the             7   codes, that's what she's asking.
 8   same.                                                               8      Q. Okay.
 9      Q. What is the, what is the deal?                                9      A. Do you see that? "I'm guessing you want me to
10      A. It's a rev share, just like every other single               10   track audit for Frank as well." And you look up here
11   person out there, whatever that's at at the time of that           11   and it says             , but the big number down there
12   product.                                                           12   would be all of the promo codes. Do you follow me?
13      Q. Okay. And I know you, you addressed this, but I              13      Q. I do follow you. Mike, I need to know the
14   didn't ask the follow-up questions. If, if, is the rev             14   answer to it though.
15   share ever dictated by impressions?                                15      A. I don't know the answer. What's your question?
16      A. No, never.                                                   16      Q. Do you know whether or not that's all of Frank
17      Q. Okay.                                                        17   promo codes or just audit?
18      A. Ever, ever. It doesn't matter if you have, if                18      A. No, it's all Frank's promo codes, 100 percent.
19   you have $5 in sales or 500,000, nobody gets more                  19   There is no way it's just audit because it wouldn't
20   because of volume.                                                 20   match the           up above.
21      Q. As long as it's the same time period and the                 21      Q. Is there a way to segregate those out?
22   same product, then the revenue share should be the same            22      A. I don't know, I'd have to look back, that's two
23   across all your platforms, right?                                  23   years ago.
24      A. Yeah, it depends what product they had, there's              24      Q. All right. Now it looks to me --
25   the --                                                             25      A. I doubt, I doubt if there is because that's in a
                                                           Page 214                                                            Page 216

 1      Q. I said the same product at the same time.                     1   big swimming pool, but I could check.
 2      A. It could depend on what product, if they wanted               2      Q. Okay. Going down this column, we looked at
 3   to be a specific thing like an overstock sale. There's              3   Frank audit,
 4   a lot of variables, but it's, but it's not -- everybody             4      A. Mm-hmm.
 5   is treated the same, okay. It's not based on, hey, you              5      Q. This is, this is after the symposium ramped up,
 6   do a million dollars. I've had people try that, well,               6   wrapped up, excuse me.
 7   we're a big volume thing. I said well, good for you                 7      A. Mm-hmm.
 8   Special K, you know, it doesn't mean I don't give you               8      Q. All right. And these have sort of the week
 9   the same treatment as the guy that sells 10, has a                  9   prior and then the current week --
10   smaller audience, they're all the same.                            10      A. Right.
11      Q. All right. Let's finish up with this page and                11      Q. -- results. So this would relate to sales
12   then give some of us a break. If you look down on the              12   during the symposium, the week of the symposium, true?
13   left after this discussion about audit and me. It is               13      A. It says 8/16.
14   reported by           "Frank audit $              and that would   14      Q. Right.
15   relate to this promo code we were just talking about?              15      A. Okay. Yeah, that's that week.
16      A. I don't know, I don't know if that's all of                  16      Q. Okay. So --
17   Frank and the code audit, I don't know that. Because               17      A. 8/16, so I don't know, is that, this is the
18   that, I don't know what that means. I would have to                18   actual week we did the symposium?
19   look back and see what that would entail. It could be              19      Q. This is your exhibit and it says that --
20   all of Frank and including audit. Because the promo                20      A. Well, I don't know, it says it was 8/16.
21   code is audit, I don't know why this says Frank audit,             21      Q. Yeah.
22   you know what I'm saying.                                          22      A. So yeah, I guess that would be the whole week we
23      Q. Well, you, you actually just told her put in the             23   had the symposium.
24   memo Frank audit?                                                  24      Q. Okay. So L66, you touched on this earlier, that
25      A. Okay.                                                        25   code is what?
                                                           Page 215                                                            Page 217

                                                                                                            55 (Pages 214 - 217)
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 1      A. That is commercials.                               1      Q. Did he tell you, he Steve tell you why he didn't
 2      Q. Okay.                                              2   run his ads?
 3      A. That was real commercials and that would be on,    3      A. He ran his regular, I think, I don't even know
 4   on Lindell TV, it had nothing to do with the symposium.  4   if he ran regular ads then. They might have ran
 5   That's our regular scheduled programming on Frankspeech, 5   commercial free too.
 6   like all the podcasts. If you look over there there's    6      Q. Okay.
 7   like, I don't know, 300 podcasts. It's like a Rumble.    7      A. I think he did, now that I think. I don't know,
 8      Q. Right, right, right.                               8   I don't know. He didn't, he didn't do, his would have
 9      A. So that's where that's from.                       9   changed if he would have been there because he was there
10      Q. And then did Lindell TV broadcast the symposium? 10    the whole three days, but his didn't change. And RSBN
11      A. We did on one stream, but we have three streams   11   is easy because they do, they are specific, they'll do
12   I believe, or two then, I don't know. But on the one we 12   events. And we watch them all the time. If I see a
13   ran commercial free, so we couldn't, it couldn't have   13   spike like yesterday, it was maybe $500, you know, some
14   came from that. This L66 did not come from the          14   days where they're $100,000, but then they do an event.
15   symposium.                                              15   For example, they just did CPAC, you know. They do
16      Q. At all?                                           16   events, they're very event orientated, so that's their
17      A. It can't, 100 percent.                            17   spike.
18      Q. Okay. How do you --                               18         If I, if I had to look on here, the one that
19      A. Because those are, because those are paid, those  19   would be the weird one is the L66 because we didn't run
20   are ads.                                                20   any ads. So I would have to see what the week prior,
21      Q. No, no, I get it.                                 21   did we not run ads there or were we affected by Fox.
22      A. Those are ads like you see on Fox, and we didn't  22   See Fox TV affects a lot of what you're doing. But so I
23   run any during the symposium.                           23   don't know, that one I would have to affect. I would
24      Q. I know.                                           24   say a lot of people went through Frankspeech, you know,
25      A. Okay.                                             25   not to the Cyber Symposium, but they went to Frankspeech
                                                   Page 218                                                      Page 220

 1     Q. I understand.                                       1   to that platform whether they were going there for pick
 2     A. Okay.                                               2   a, pick a podcaster, because there are a lot of
 3     Q. Wait for my question.                               3   podcasters that were also, you know, there.
 4     A. Okay.                                               4      Q. Right.
 5     Q. Is this week prior            the week of the       5      A. So there, there we put ads around them, like on
 6   symposium             is that a deviation as you --      6   Rumble or YouTube, those are those one-minute ads.
 7     A. Yeah, that's a deviation.                           7      Q. Okay.
 8     Q. Okay. And the same for Frank,               that    8      A. I would say the Cyber Symposium that, if I had
 9   week --                                                  9   to guess, they had the traffic going not to watch the
10     A. Yep, that's a deviation.                           10   symposium, but the traffic going to Frankspeech could
11     Q. Okay. And we can go on down.                       11   have, could have made that difference. Because we
12     A. Yeah.                                              12   didn't run ads at the symposium. So that's the only way
13     Q. Well, let's go to --                               13   I could explain it. And I would really have to dig in
14     A. The others didn't move much. RSBN, see that big    14   to find that out.
15   deviation, RSBN, that would be easy, they, they         15      Q. Well --
16   simulcast the symposium and they did run ads.           16      A. And why didn't I back then, because I was trying
17     Q. Right.                                             17   to save a country. I didn't even know what we did. I
18     A. There's a guy that did run ads.                    18   was out there after that for weeks going, hey, can you
19     Q. And they had people there talking about your       19   guys, you know, that's all I was doing every day. I
20   products on the floor?                                  20   spent 18 hours a day with evidence going around to
21     A. I don't know what they did, that's their own       21   Attorney Generals and going around this country. I
22   news. And Steve Bannon, you see his was about the same, 22   wasn't paying attention to numbers, until I get a call
23   he was there. He just ran his normal ads, but he didn't 23   about, hey, we're overdrawn or we need money, you know.
24   run nonstop probably like, and he's only on I think two 24      Q. Well, the deviation that we're looking at is at
25   hours of the day where RSBN was a full 72 hours.        25   least correlated to some increased traffic on these
                                                   Page 219                                                      Page 221

                                                                                                56 (Pages 218 - 221)
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 1   various platforms because of the, the Cyber Symposium       1   obviously knew it because he told Newsmax not to have me
 2   being that week, right?                                     2   on anymore, I think. They didn't have me on, Ruddy says
 3      A. Well, good for them, they did good I guess for        3   I can't have you on after your boy here, your, your
 4   two days.                                                   4   money cash cow, whoever is paying you. I hope he's
 5      Q. Okay. Well, so did My Pillow in the sense             5   paying you, you know, I hope you get paid or you're just
 6   that --                                                     6   doing it on, think you're going to get a big payday
 7      A. No, My Pillow lost $4 million. How many times         7   here, you know.
 8   do I have to tell you that.                                 8      Q. Is Chris Ruddy a traitor too for what he did?
 9      Q. Did My Pillow -- yeah, you've told me multiple        9      A. I told him that, and I go Chris, you're a
10   times.                                                     10   traitor if you do that. I called Fox, said why don't
11      A. If you take the numbers, if you take the Cyber       11   you watch. I said, Chris, here, if you do that, I said
12   Symposium out and if you put what we normally do, we're    12   you're a traitor. I bad-mouthed him every day after
13   down $4 million. Now you can say, well, it was your        13   that for at least a week and he goes Mike, will you quit
14   choice to drop Fox. Yeah, it was, it was your choice to    14   bad-mouthing me. I go okay, I will, and I bad-mouthed
15   do this. I didn't charge for the symposium. Maybe I        15   Newsmax and I have ever since.
16   could have charged, maybe I should have ran ads like       16         Newsmax, Salem Media and Fox I bad-mouth almost
17   RSBN, maybe then I would have maybe broke even, but I      17   every day that they won't put the evidence, they won't
18   lost $4 million. And I knew I was going to take a hit,     18   talk about elections, nobody, because it's called
19   I didn't care.                                             19   Lawfare. It's what your guy started, you started, even
20         You asked me, well, why did you drop Fox, you        20   before Smartmatic started Lawfare. On February 4, 2021
21   knew you were going to take a hit. Because they            21   when Smartmatic sued Fox News, it changed our country
22   wouldn't take my ads and advertisements on election        22   forever. Nobody can go on, evidence or not. Even 2,000
23   crime, that's it. I don't care about this thing here, I    23   meals when they had cameras, they wouldn't even have
24   have to save the country here and get the word out. If     24   them on at Newsmax or Salem Media, or I mean or Fox
25   you had the evidence I would hope you would do the same    25   News.
                                                     Page 222                                                        Page 224

 1   thing. This isn't money driven, this isn't, I don't         1          This is where we're at, this is Lawfare. It's
 2   care how much money I've spent. You can sit out there,      2   absolutely insane. You attack companies so they drop My
 3   I've spent over $40 million of my own money. I have no      3   Pillow. They tried to put me out and this whole thing,
 4   money left. Every dime I've had to save this country to     4   let's just break Mike Lindell, run him out of money, run
 5   get this out there, and you guys know that, you see me      5   his company down so he shuts up. That's the game.
 6   every day. Do I say, oh, I'm going to back down now,        6   Whether you're a part of that game or not, I don't care.
 7   and no, it doesn't matter because I know what I have.       7   Anyone that gets in my way of getting this out, they're
 8   And if I don't finish it, you're done, you don't have a     8   a traitor, period, they are a traitor to our country.
 9   job in a couple years, it's over, you will never have an    9   Because no one, just let me out and let me show this to
10   election again.                                            10   the world. It's up on Frankspeech right now, but no
11         This isn't about a Democrat or a Republican,         11   reporters report it, instead it's that's what comes out
12   this is about the evidence that China intruded in our      12   of here, Mike Lindell sued by Dominion for $6.3 billion
13   election. Did your guy do it, I don't know and I don't     13   and at the capitol when I'm trying to get the word out,
14   care, but I know what he did to me, I know what he did     14   they got sued by a guy named Eric Coomer, who I didn't
15   to me at Newsmax. And that's what I went after him with    15   know from the man on the moon, you know.
16   one paragraph calling him a traitor, and I did, and a      16      Q. All right.
17   criminal, because what he did My Pillow was criminal.      17      A. It's just bizarre.
18   He didn't have to do that to My Pillow and attack my       18             MR. CAIN: I'm going to object as
19   company and my employees so they lose all the money.       19   nonresponsive.
20   It's disgusting.                                           20      Q. Here's what we're going to do. We're going to
21       Q. Is that why he's a traitor too, what he did to      21   give her a break, sir, and I'm going to reiterate what I
22   your company?                                              22   told you earlier. As much as I'm enjoying my time with
23       A. Mm-hmm, absolutely. He did it, he did it there      23   you, I may have to ask for more of it because --
24   to suppress, to attack Newsmax and suppress what --        24      A. What's that now, ask what?
25   everybody knew what I was trying to get out there and he   25      Q. Can you put your phone down, please.
                                                     Page 223                                                        Page 225

                                                                                                   57 (Pages 222 - 225)
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 1       A. No, I got an emergency, so no, I'm not putting         1   It's a code, it's a code, audit 30, audit 50, it says
 2   my phone down, I'm checking this. I have a text from my       2   towels and sheets.
 3   IT that I told you we were overdrawn today by a quarter       3       Q. I get that, but you mentioned it at the
 4   million dollars, so I want to take this text, is that         4   symposium.
 5   okay?                                                         5       A. What's that?
 6       Q. That's fine.                                           6       Q. You mentioned audit code at the symposium.
 7       A. Okay.                                                  7       A. Yeah.
 8       Q. But not in the middle of a deposition.                 8       Q. You are --
 9       A. Okay.                                                  9       A. And by the way, do you know at that symposium,
10             MR. CAIN: Let's go off the record.                 10   here, I want to put this on the record. When I said
11       A. All right. Keep going.                                11   audit in that joke there, if I, what that, what that
12       Q. We just went off the record.                          12   code took in there, did you notice I didn't mention it
13       A. Okay.                                                 13   after doing that the next three days. I could have made
14             VIDEO TECHNICIAN: We are going off the             14   a lot of money if I was trying to make money, let's let
15   record at 2:04 p.m.                                          15   that be on the record. You know what I'm saying. If
16             (Lunch break taken from 2:04 p.m. to               16   you would have said audit and all of a sudden boom, you
17             2:56 p.m.)                                         17   had the spike, I'd have mentioned it again.
18                   AFTERNOON SESSION                            18       Q. Are, are you saying --
19             VIDEO TECHNICIAN: We are back on the               19       A. The audit, the reason the audit is on there is
20   record at 2:56 p.m.                                          20   just a code. Audit 30, there's different towels,
21   BY MR. CAIN:                                                 21   sheets, that's what it says here, towels, sheets. These
22       Q. Okay. Mr. Lindell, I'm going to jump around a         22   are Frankspeech codes.
23   little bit just to clean up some stuff. We talked about      23       Q. All right. You created that code though, that
24   a lot this morning and early afternoon, and we don't         24   came from your brain, didn't it?
25   have enough time to go through a lot of these exhibits.      25       A. Yeah.
                                                       Page 226                                                        Page 228

 1   On Exhibit 62 though, which we looked at, I don't             1      Q. Okay.
 2   necessarily need you to -- well, I may point you to           2      A. When I, when I said it, when I said audit, I
 3   something, but I can obviously read through it later.         3   think that's, I think that came from me.
 4   But there's, beginning in, in August there's a bunch of       4      Q. Okay.
 5   different audit codes, promo codes --                         5      A. Because I said it as a, at the Cyber Symposium
 6       A. Mm-hmm.                                                6   as a joke. Not as a joke, but sarcastically. Yeah, use
 7       Q. -- that are coming up. For example, on the             7   promo code audit because the media is saying I make the
 8   report on August 25th, audit 67, audit 68, audit 89,          8   money off promo codes, Dominion and whatever, so.
 9   audit 98. And the audit refers to what?                       9      Q. But are you telling me under oath that the audit
10             MR. MALONE: What page are we looking at?           10   has nothing to do with or does not refer to the idea or
11       A. I see it. It's just different commercials. So         11   concept of auditing an election?
12   I, like I threw that name audit out there, so I just         12      A. When I said it there, yeah, when I said it at
13   use, because we have to, we have to pick like cool, like     13   the symposium. These codes here now, no.
14   for the, you know, it's just a different name to, to --      14      Q. Okay.
15   like audit 35 it says sheets, audit 50 says towels. I'm      15      A. No, we just, the codes were set up to audit
16   just looking at this. So it's just different products.       16   codes. Audit 30, they refer to towels and sheets. When
17       Q. Well, but a more basic question is, the audit is      17   I said it at the symposium I was making a correlation
18   referring to the idea that to audit certain states           18   going, hey, when the media attacked me, I got sued by
19   elections, counties elections?                               19   Dominion and Smartmatic for using promo codes that My
20       A. No, it doesn't say that.                              20   Pillow had nothing to do with it. So I just put it out
21       Q. Well, that's my question.                             21   there, promo code Dominion, I did on Bannon, just like I
22       A. No, it's just the name audit.                         22   did audit at the symposium. That wasn't to make money
23       Q. Yeah, but what does, that doesn't refer to            23   there, that was not to make money when I said use promo
24   auditing an election?                                        24   code audit to save up to 60 -- you watched it, I was
25       A. No, it doesn't refer to auditing an election.         25   being very, what would you call the word in your own
                                                       Page 227                                                        Page 229

                                                                                                     58 (Pages 226 - 229)
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 1   mind, sarcastic. I'm tired of people thinking that I     1       Q. Is there a --
 2   did this to make money, you know, that was the whole     2       A. To get them to quit, to get them to quit using
 3   thing.                                                   3    that generic code.
 4      Q. I didn't ask you about money. You know, we got     4       Q. Is there a mechanism if let's say         is in
 5   to be on point here.                                     5    this room with us and I want to know,            how much in
 6      A. Well, then, well, you're asking me. I just told    6    revenue was done associated with all of the audit codes,
 7   you, it says right here, audit 50 towels, audit 33       7    is there, is there a way internally to produce that kind
 8   sheets.                                                  8    of financial reporting?
 9      Q. All right. You answered part of my question.       9       A. From back then, maybe, I would say yes.
10   There is audit --                                       10       Q. Okay.
11      A. It says right there, I'm reading it.              11       A. But then you asked me why, why the number is
12      Q. Let me finish, please. There's audit 67, audit    12    behind it.
13   68, audit 89, audit 98. Which, which vendors were using 13       Q. You answered my question.
14   those audit codes?                                      14       A. It's very simple. If people kept using that
15      A. I'll have to check on that, I'll have to check    15    code audit. It's kind of like Dominion when I threw
16   on that. But here it says towels and sheets. I don't    16    that out there.
17   know which vendor. So probably, here's my guess, when I 17       Q. Right.
18   said that at the symposium, other vendors out there     18       A. I had to, I had to actually, first I just
19   probably went, hey, can I have an audit code. I don't   19    disconnect it because people used it and I couldn't
20   know, I'd have to check on that, you know, that could   20    track my media.
21   be. Or it could be we had to divide them up with the    21       Q. No, I know the tracking part.
22   audit code because it was already established. And      22       A. Well, that's the biggest part of it, you have to
23   that's probably it, so people are using an audit code.  23    be able to track your media.
24   I had to divide it up to towels and sheets, you know    24       Q. We may be asking these, or talking about this
25   what I mean. We had to put numbers behind it. That's    25    for different reasons, so.
                                                    Page 230                                                          Page 232

 1   probably, that would make more sense. We couldn't use     1      A. Mm-hmm, right.
 2   just one code audit or you're not tracking your media.    2      Q. So if, if, for example, Frank33, if I wanted to
 3       Q. No, you've already talked about --                 3   know how many sales --
 4       A. Well, that's what it is, that's exactly what it    4      A. What?
 5   is. It meant nothing as far as auditing somewhere. You    5      Q. Frank33.
 6   had to divide it up between sheets and stuff because I    6      A. Frank33, right.
 7   said it at the symposium, so now you have all this,       7      Q. If I want to know how many sales are associated
 8   everyone is using promo code audit, I couldn't track a    8   with that promo code, can you go back or someone --
 9   sheet commercial from a towel commercial. Do you follow 9        A. Well, I would assume, I don't think we changed
10   me?                                                      10   our, I don't think we changed our platform.
11       Q. I do follow you.                                  11      Q. All right. Have you ever asked someone like
12       A. That's what we did. So we probably shut off the   12          or your controller to give you a report like that
13   promo code audit is what, that's my guess. It's like,    13   that just says, hey, I want to see War Room, I want to
14   I'll give you an example. Back what we did originally,   14   see everything --
15   what they did way back in the beginning we used promo    15      A. Of course I have.
16   code My Pillow on all the media in 2012, all, it was     16      Q. Okay.
17   just a promo code, My Pillow. And then what happened     17      A. Or I can do it myself, you know, I can do it
18   was we couldn't track it all because it was all going to 18   myself.
19   the same code. So then we had My Pillow 22, My Pillow 19         Q. Okay.
20   23, very similar.                                        20      A. I showed you on my phone. What's wrong with
21          So when I said that at the symposium, what        21   you. I just showed you all the promo codes.
22   people had stuck in their head, so when they're seeing   22      Q. Let's, let's not get combative about it.
23   commercials on, on Frankspeech, this is probably from    23      A. Well, no, I'm just telling you. You're asking
24   Frankspeech, we had to divide them out into numbers,     24   me something, I just showed you how I can do it.
25   that's all.                                              25      Q. No, you, you didn't produce a report. Oh, you
                                                    Page 231                                                          Page 233

                                                                                                   59 (Pages 230 - 233)
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 1   want to do it, do it?                                    1        boxes, we had, you know, financial reporting that was
 2      A. What do you want to know?                          2        paper for the most part, right?
 3      Q. Frank33.                                           3            A. Yeah. I had a bar for 13 years, yeah, you tally
 4      A. Frank33.                                           4        it up by hand.
 5      Q. How many sales in the history of that code have    5            Q. Yeah. This day and age a lot of stuff is on
 6   been made under Frank33?                                 6        computers?
 7      A. In where, forever?                                 7            A. Oh, believe me, I know. Our election, I, I get
 8      Q. Forever.                                           8        it.
 9      A. Well, I don't know when forever would be. Let's    9            Q. So it's easier if it, to the extent the
10   see. It wouldn't have been before, let's go 2020. The   10        computers have value, it's easier, would you agree, at
11   problem is what's going to happen is it will probably   11        My Pillow to produce a report because you have a
12   take a half hour to come up on the board here, you know 12        database, a computer database that has that data
13   what I mean.                                            13        contained on it, is that a fair statement?
14            MR. MALONE: Yeah, I do know what you mean. 14                A. To produce a report?
15   Let's go back and follow up.                            15            Q. Yes.
16      A. I can't produce an individual code, it would be   16            A. In that, in that sense, yeah. You would have
17   forever that I, you know, that's what I'm saying, you   17        to, it's like credit card transactions, anything, I get
18   would have to produce --                                18        that.
19      Q. Yeah, you just tore into me because I'm just --   19            Q. Yeah, yeah, and --
20      A. No, I know. What I'm saying is I could do it,     20            A. If you're telling me, if you're trying to do
21   but we would wait probably an hour and a half. Because  21        anything over here about election machines, you're going
22   here, here's what happens is --                         22        down the wrong path.
23            MR. MALONE: So we'll do it later, Mike.        23            Q. No, no, I'm not. I'm just trying to figure out
24            THE WITNESS: No, no, but I want give it to     24        how --
25   him so he understands this.                             25            A. Because if it's a mistake here, it doesn't
                                                       Page 234                                                         Page 236

 1      A. I take a date range, like say a date range, and         1   matter, you're losing money, but over here you lose your
 2   now from, for two years, for two years it has produced        2   country. But I know what you're trying to figure out.
 3   every code, everything, and it will take probably five        3   The answer to your question is yes. I can do a date
 4   hours, I've never done that big of a date range. And          4   range, but all of them show up. So I just scoot down
 5   when I do it, if I do a five-day date range for two           5   and find that particular code. It's easier if it's
 6   years it might take ten minutes, but then it lists them       6   within a week or two and you're only doing like a week,
 7   all and I go down to the one you're talking about.            7   but when you do a year it takes, it just, it takes time.
 8      Q. Right.                                                  8       Q. Okay. But --
 9      A. That's what I do.                                       9       A. Because you realize it's adding, you know, it's
10      Q. But it's, but it's on a computer?                      10   a big process, you need a big server. We have our own
11      A. Same thing.                                            11   servers.
12      Q. Right?                                                 12       Q. Right. But it's, it's, it's a computerized
13      A. You have to do it the same way.                        13   function, in other words, it's not as burdensome as
14      Q. It's like a, but it's information, financial           14   going to pull files off of --
15   information that My Pillow has on a computer, right?         15       A. Right, right.
16      A. No, it's not financial. It's, it's -- well, it         16       Q. It's not that difficult to do, is it, I mean, is
17   says financial, but it's reporting so I can make             17   it?
18   decisions whether or not to buy media or something to        18       A. I wouldn't think so.
19   pay media out, to pay vendors, that's their, that's          19       Q. All right. There are, I have Fight for Trump
20   their accounting.                                            20   and Trump related promo codes, what are those used for?
21      Q. But my, I'm asking maybe a slightly different          21       A. Those were vendors that were out there. That
22   question. In terms of back in the old days. How old          22   would have been like some podcaster, I don't even know,
23   are you?                                                     23   I'd have to find out. They were not My Pillow, they
24      A. 61.                                                    24   were podcasters, or radio hosts, radio hosts out there.
25      Q. All right. We used to have boxes, bankers              25   Maybe it was a Salem radio host back in the day. This
                                                       Page 235                                                         Page 237

                                                                                                      60 (Pages 234 - 237)
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 1   was, this was before the election I believe.                1      A. Someone else came up with the name for their own
 2      Q. Okay. But again, there's --                           2   show and they're marketing and selling our product like
 3      A. I think. It's whatever their podcast name is.         3   other products out there. You realize there's other
 4   If their podcast is Fight for Trump, we would give them     4   products out there like relief factor stuff. These guys
 5   Fight for Trump. But I don't even know if they were         5   also use their own promo codes --
 6   that. You're asking me this. I would have to, and let       6      Q. I understand, I understand.
 7   me tell you something, this is really important too,        7      A. -- and they do the same thing.
 8   just because they're, because I've been on the Dominion     8      Q. Right.
 9   lawsuit, I don't know about this Eric Coomer guy, but on    9      A. It's pretty much a business model now.
10   the Dominion lawsuit they put in promo codes here that     10      Q. Of course.
11   said we were using, which in fact were not in use.         11      A. Yeah.
12         What you can do on My Pillow's Website, you can      12      Q. But if, as we talked about earlier, you said,
13   type in a promo code and take a screen shot, it doesn't    13   you know, if there was a promo code that had a bad word
14   mean it gives you anything off. You could type in your     14   in it or --
15   name, you can type in ambulance chasing lawyer and that    15      A. Right.
16   would, it would make a picture of it, but you can't, it    16      Q. You know, you would, you would as the CEO would
17   doesn't mean it works, right, you know.                    17   instruct that vendor to not use that --
18      Q. I'm just looking at, here, I'll show you what        18      A. Right.
19   I'm looking at.                                            19      Q. -- promo code?
20      A. I don't know what you're looking at. If you're       20      A. And there was some that back then that they,
21   looking at a screen shot, what are you looking at?         21   that        said, brought to me and said can you use that,
22   Fight for Trump, I don't know what you're talking about.   22   I said absolutely not.
23      Q. I'm looking at a spreadsheet that your company       23             (Phone ringing in room.)
24   produced.                                                  24      A. This one I have to take, I'm sorry.
25      A. Okay.                                                25             MR. CAIN: Let's go off the record.
                                                     Page 238                                                          Page 240

 1      Q. It's Trump, or excuse me, My Pillow 2366. And         1            VIDEO TECHNICIAN: We're going off the
 2   I'm not going to mark this.                                 2   record at 3:11 p.m.
 3      A. My Pillow 2366.                                       3            (A break was taken at 3:11 p.m.)
 4      Q. No, that's, that's just how it's been labeled,        4            VIDEO TECHNICIAN: We are back on the
 5   okay. And we asked for promo codes used by My Pillow        5   record at 3:20 p.m.
 6   and got what you're looking at.                             6   BY MR. CAIN:
 7      A. Those are not, but those are not, none of them        7      Q. There's a note on Exhibit 62 in November of 2021
 8   are used. The only promo code where My Pillow is the        8   that, from         that says, "Just an FYI, we owe Sidney
 9   email blast and stuff. These promo code all associate       9   Powell $               What was Sidney Powell doing?
10   to some, somebody out there, they have for 15 years.       10      A. She has her own podcast.
11        So like I'll give an example, Trump 1, that's         11      Q. So it's --
12   Diamond & Silk, that's Diamond & Silk. Trump 24, I         12      A. It's just like anyone else.
13   don't know whose that is. Trump 2020, these are            13      Q. Okay.
14   podcasters out there, they've been doing this stuff.       14      A. She had this before, I think. I don't know when
15   Tucker, that's his own, Tucker, I don't even know who      15   she got her promo code.
16   Tucker is because he doesn't have his own code.            16      Q. Okay.
17        Truly, truly, these guys get creative in their        17      A. She has a podcast, just like every other person.
18   names. If they're out there, that's their promo code       18      Q. And how about Giuliani, does he have a promo
19   and their, you know.                                       19   code?
20      Q. You're answering a question I didn't ask.            20      A. He does, he did. I don't know when he got his,
21      A. Okay. Well, you're asking about Fight for            21   but yes. I think it was sometime after '21 or '22, he
22   Trump, you said who owned it. You said, oh, you said       22   came on a podcast, I think it was after they maybe
23   these were My Pillow, no, they're not.                     23   disbarred him or whatever they tried to do to him, you
24      Q. Okay. And your distinction being that someone        24   know, just has a podcast, that's his livelihood now.
25   else came up with --                                       25            (Exhibit 66 marked for identification.)
                                                     Page 239                                                          Page 241

                                                                                                     61 (Pages 238 - 241)
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 1      Q. This is related to the financial topics that              1   It's up, it's up by, you know, on your highest day
 2   we've been discussing, this was produced by My Pillow,          2   there, what,         It could be they're sending, that he
 3   Bates 723.                                                      3   he sent out the same text market or email, but we might
 4      A. Okay.                                                     4   have had more, we might have had more.
 5      Q. Most of it is blacked out on the front. And do            5         Our audience got bigger, you know, our text --
 6   you know, this appears if you look at the back to have          6   when people sign up for, then they get text marketing,
 7   some information concerning a particular promo code, do         7   they sign up for text or email marketing. It looks to
 8   you see that on the back?                                       8   me like that they, that the audience could have been
 9      A. Am I looking -- yeah, I see the promo codes,              9   bigger. There was definitely none sent on 8/2 and 8/3,
10   yeah.                                                          10   that would have been hardly any marketing sent out
11      Q. All right.                                               11   because you got to pay when you send them out.
12      A. I see daily totals, Frank33, right.                      12       Q. Would Frankspeech have sent out, I'm looking
13      Q. Yeah. So quickly since we've touched on this             13   back at this Exhibit 64, which I know is a splash page
14   already.                                                       14   on the Web, but would Frankspeech have sent out an email
15      A. Yeah.                                                    15   that is similar in nature to what we looked at in
16      Q. This is actually a text string with someone              16   Exhibit 64?
17   else, not        someone named                                 17       A. I don't know, I don't know.
18      A. That's right.                                            18       Q. All right.
19      Q. Who's                                                    19       A. That there with me in the background, is that a,
20      A. He does the emails and the, the emails and the           20   is that screen shot taken from my show or is it taken
21   text marketing.                                                21   into the screen shot of a -- let me see that again, if
22      Q. All right. So then if we go to the --                    22   you can turn it. That looks like it's a, I don't know.
23      A. And he does them for My Pillow, he doesn't --            23   Like I don't know if that's taken from a, like a show
24   this Frank33, I don't know if that's text or emails, I         24   where you took a screen shot. Do you know where you got
25   believe it's emails.                                           25   this?
                                                         Page 242                                                         Page 244

 1      Q. Okay. So as you stated earlier,          doesn't do       1            MR. KLOEWER: It's a screen shot of the
 2   the emails?                                                     2   Website.
 3      A. No.                                                       3      A. Oh, so that was on the Website. So that video,
 4      Q. So this is a separate report relating just to             4   that video, that's a video that was on the Website.
 5   daily totals for the Frank33 email code?                        5   Okay, I gotcha. Yeah, then that's a video, so it's not
 6      A. So, yeah, these are all emails. Frank33 is all            6   an email.
 7   emails, I believe, because       does, that's what he           7      Q. Okay. And I have the video, I don't think we're
 8   does. It could be text marketing or emails where you            8   going to watch it.
 9   buy, where you send out, you pay to send people, you            9      A. That's not, that's not an email. Whatever this
10   know, text marketing.                                          10   is, these are emails.
11      Q. Okay. And do you have, just looking at the               11      Q. Okay. But and you'll talk about this with
12   daily totals from it starts August 2nd at                      12   Frankspeech a little bit more, but just to help me
13      A. Mm-hmm.                                                  13   understand part of that --
14      Q. And it appears to have a three-day during the            14            (Phone ringing in room.)
15   symposium spike of                                             15      A. Oh, shoot, it's that same lady. Let's take two
16      A. Yeah.                                                    16   seconds.
17      Q. And         right?                                       17            VIDEO TECHNICIAN: We are going off the
18      A. Right.                                                   18   record at 3:26 p.m.
19      Q. Would you attribute that as well to the                  19            (A break was taken at 3:26 p.m.)
20   symposium?                                                     20            VIDEO TECHNICIAN: We are back on the
21      A. It's whatever he sent out in text or emails.             21   record at 3:28 p.m.
22   You don't get it unless you send out a text or whatever.       22   BY MR. CAIN:
23   And so I don't know if he's paid to send more out or if        23      Q. So when we broke you were discussing, you told
24   he, or what, I don't know, I'd have to look into that.         24   me Exhibit 66 shows email --
25        But it did, if you look back there's      on 8/6.         25      A. Mm-hmm.
                                                         Page 243                                                         Page 245

                                                                                                        62 (Pages 242 - 245)
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 1      Q. -- marketing revenue associated with the Frank33       1   guess.
 2   code that your understanding is most likely was sent out     2      Q. Okay.
 3   by Frankspeech during --                                     3      A. It's a national company.
 4      A. Right.                                                 4      Q. Before lunch, a couple of follow-up questions to
 5      Q. -- around the time of the symposium, correct?          5   your testimony. I had asked you, you told us at length
 6      A. Right, yep. So if you look at Friday, Saturday         6   how much money My Pillow has lost over the last few
 7   and Sunday, by Sunday we probably didn't even send out       7   years.
 8   an email because that's very low, it's a very low            8      A. Mm-hmm, yes.
 9   number.                                                      9      Q. You mentioned some loans against inventory I
10      Q. And you seem to be referring to someone else          10   believe?
11   that would have been doing that marketing?                  11      A. No, it's loans, I think they put everything in
12      A. Yeah, I have no idea who sent this out. I, I          12   collateral.
13   wouldn't have ordered these sent out, that would have       13      Q. And then you, okay. So it's to a financial
14   been done by, I don't know, we had a company doing our      14   institution or like who is the lender?
15   emails back then and our texts, and I don't, I don't --     15      A. It's a financial, it's financial, yeah. And
16      Q. Was that --                                           16   you're going to ask who and I don't know, I'd have to
17      A. Not, not within My Pillow.                            17   get their name. It's a credit company or company, it's
18      Q. So that was outsourced to a third-party?              18   not a normal bank.
19      A. I'm sorry?                                            19      Q. Okay.
20      Q. That was outsourced?                                  20      A. But it's not a, I don't know what you'd call it.
21      A. Outsourced to a third-party, they would have          21   They do, Saveign I think is one, it's loan companies.
22   done this and used that code. I have, I can have            22      Q. Okay.
23   pull that code so it looks like, or you guys did, he        23      A. They're not banks.
24   pulled, he was able to pull that because he can pull        24      Q. Okay. I think I neglected to ask the follow-up
25   promo codes. He was not in charge of that back then. I      25   which is, I thought you said, well, I know you said you
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 1   think we got rid of that company in November of, of '21,  1      personally lost money, but have you lent My Pillow money
 2   we got rid of this company. Then we got a new company     2      yourself, you personally as a lender to the company,
 3   that was -- this is Frankspeech now by the way, this      3      called a shareholder loan?
 4   isn't My Pillow.                                          4         A. Have I, many times.
 5       Q. Right.                                             5         Q. Okay.
 6       A. We bought Frankspeech, the same company that       6         A. Many times. Are you kidding me, yes.
 7   does My Pillow now is doing Frankspeech as of November 7            Q. All right. There's a distinction I'm drawing
 8   of '21.                                                   8      between a capital contribution where, where you're
 9       Q. Okay. Thank you.                                   9      actually --
10       A. Yeah.                                             10         A. I know what you're talking about, a loan where
11       Q. So that was my next question too.                 11      you get paid back, yes, yes.
12       A. Right, right.                                     12         Q. Okay.
13       Q. Who does that for My Pillow?                      13         A. Yes.
14       A. It's a company called Liz Trax, it's on their     14         Q. And that's currently the case that the company
15   platform, it's on their platform.        in-house does   15      is in debt to you?
16   it, but he has to do it on their platform. There's all   16         A. To me by these other loans, this is a direct
17   kinds of rules when it comes to that.                    17      loan from My Pillow had to borrow money to stay in
18       Q. Okay.                                             18      business.
19       A. So Liz Trax is, I've had them for I want to say   19         Q. Right.
20   ten years, 12 years.                                     20         A. Because of this stuff. $8 million I believe at
21       Q. Can you spell that.                               21      the last count. Not Mike Lindell borrowing money, My
22       A. Liz, L-I-Z, T-R-A-X maybe, Liz Trax. L-I-Z        22      Pillow borrowing money.
23   maybe, I don't know.                                     23         Q. Right, I know, I know.
24       Q. Do you know where that company is located?        24         A. And Mike Lindell has also had to borrow money.
25       A. Huh-un. I think it could be -- I'm not going to   25         Q. Okay. We're not, you're not wearing that hat
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 1   right now.                                                   1       Q. Okay. All right. Now you also talked earlier
 2      A. Right.                                                 2   about this gag order and the election data. And then I
 3      Q. My Pillow has borrowed money from Mike Lindell         3   think you said something about two to three weeks?
 4   as the lender?                                               4       A. Mm-hmm.
 5      A. No, My Pillow borrowed money from these other          5       Q. Something is going to happen?
 6   two companies as the lender.                                 6       A. Mm-hmm.
 7      Q. All right. I thought you, you said you lent            7       Q. What's going to happen in two to three weeks as
 8   money to --                                                  8   it relates to --
 9      A. I said I have lent money to My Pillow. You said        9       A. Well, the government, the government said about
10   when, I'd have to look back, many times I said. Even if     10   I think it was six months ago or so, said the cases in
11   you go back when My Pillow needed money, I had to take      11   Nevada, it's Dennis Montgomery, and not to get into the
12   it personally and put it in my bill. This goes back for     12   specifics, the government said if Mike Lindell wants to
13   a long, long time with different times where I've had       13   release the 2020 election data, the other stuff will
14   to, like, I don't know, when we needed money, we            14   remain under a gag order. Because he's also got a lot
15   couldn't buy, we didn't have enough money to buy            15   of stuff, he worked with the CIA going back all the way
16   inventory or whatever to buy things to sell.                16   to Brennan, Clapper, the government. He worked with the
17      Q. Okay.                                                 17   CIA for over a decade, over 15 years I believe. And so
18      A. I take money from Mike Lindell and put it in My       18   the government said that.
19   Pillow. This time I ran out of money in Mike Lindell        19         We now have waited, because Dennis Montgomery is
20   even selling a building and I had, they had to go           20   still under a gag order, so according, my attorneys
21   elsewhere to get money because I didn't have money to       21   said, hey, we have to do this strategically, you know.
22   give them anymore. I was, as of today, overdrawn. My        22             MR. MALONE: You don't have to tell them
23   Pillow borrowed $8 million themselves to cover just this    23   what the lawyers said.
24   last year alone, not even covering back when your guy       24             THE WITNESS: Well, whatever, okay.
25   did this about starting to borrow money.                    25             MR. MALONE: You answered the question,
                                                      Page 250                                                           Page 252

 1      Q. All right. When My Pillow was borrowing money          1   that's fine.
 2   from you personally.                                         2   BY MR. CAIN:
 3      A. To what now, me personally?                            3      Q. Who's handling that?
 4      Q. Yes, sir. Did you have an actual loan document         4      A. What's that?
 5   associated with that?                                        5      Q. What, what lawyers are handling --
 6      A. They keep, the accountants do that. And this           6      A. There's different lawyers.
 7   might not have been, I don't think that was anything         7             MR. MALONE: You don't have to tell them
 8   during the last two years.                                   8   that either.
 9      Q. Okay.                                                  9      A. Yeah, yeah, there's about six firms, I mean.
10      A. But you would call it a loan, yes. If my My           10      Q. That's not privileged. Is there a proceeding in
11   Pillow didn't have money to pay Frankspeech, so to          11   Nevada that relates to that?
12   speak, for their codes, I'd run that and gave them time     12      A. Oh, yeah, just look it up.
13   because I don't have it. And so then I, and they            13             THE WITNESS: Can I give him the name of
14   probably still owe me money, I don't know, you know, I      14   the case?
15   don't know. All I know is when I ran out of money to        15      Q. Well, you can tell me what it is.
16   give them money to get them through this last year, they    16             MR. MALONE: If you know, Mike, but --
17   had to go borrow 8 million, 4 million -- actually, it       17      A. I don't know the name of the case, but it's --
18   might be three loans, 4 million, 2 million and 4 and a      18             MR. MALONE: I'd say it's outside of the
19   half, I think it's 10 million.                              19   scope of the questions.
20      Q. Okay.                                                 20             THE WITNESS: No, I know, but I'll give him
21      A. And then we lost for the year about $6 million.       21   that case, that way they can look it up themselves, I
22      Q. Who at My Pillow would be in charge of that           22   mean, that's a big thing, it's a big thing.
23   relationship, making those loans and coordinating with      23      Q. I've seen reference to it.
24   the lenders?                                                24      A. But, you know, and this is, in the next few
25      A. I had to do that.                                     25   weeks it's going to show something, it's really going to
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 1   be, you know, not your case, but other cases are going       1   a picture of him, we had a picture of him. And it never
 2   to go bye-bye, I mean, it's going to go, hello, it's not     2   came forward, it was the biggest coverup you ever seen.
 3   defamation when this is what I have, what I have on          3       Q. And the logic is escaping me. Why did that have
 4   January 9th.                                                 4   anything to do as to whether you released the data or
 5      Q. Well, that was supposed to be the same data that       5   not?
 6   you promised to produce at the symposium.                    6       A. I just told you. I was physically don't release
 7      A. No, no, no, no, no, no, this is, there's two           7   it. And then also Waldron said they were going to stick
 8   different things going on.                                   8   in the data, which had already happened with this
 9      Q. It's not PCAP data?                                    9   crooked guy named Josh Merritt where he had stuck
10      A. Yeah, this will be PCAP. This is PCAP from            10   something in there and he took something from the
11   China that I couldn't drop the third day. I mean, these     11   symposium.
12   were certain PCAP's that could not be dropped because I     12         So this, we already had been sabotaged that day
13   was, on the second day of the Cyber Symposium I was         13   by a guy named Josh Merritt who had met in Texas on the
14   physically warned and also this, this colonel that was      14   way there and he got up on the floor and he said, yep,
15   running this team said we are going to have, said we are    15   I've validated all of Dennis Montgomery's stuff. Now I
16   going to have, we believe we have information that          16   didn't even, I didn't even put the name out Dennis
17   they're going to put a poison pill into the data, this      17   Montgomery. And he got up there before we were turning
18   was the last day of the symposium. We were going to         18   it into the Cyber '15 Act, the 2015, we were turning it
19   release the China part, specifically the China part, and    19   the bag and I go who is this guy. He's there with this
20   he said we, we can't, they're going to put a poison         20   Russ Ramsland guy and then Kurt Olsen an attorney, this
21   pill. I was physically attacked and warned and I had to     21   other attorney that was going to put it in the bag.
22   make the call, okay, we won't put the China stuff down.     22         And Josh Merritt got up on the board because the
23      Q. Are you talking about Phil Waldron?                   23   guy goes, well, I don't know if Dennis Montgomery's
24      A. Yeah, Phil Waldron, yeah.                             24   stuff has been validated. I have it, I validated it for
25      Q. Okay. Well, you said publicly during the              25   six months I've been validating. And Josh got up and I
                                                      Page 254                                                        Page 256

 1   symposium that you weren't showing the data because you      1   didn't know who he was, he goes I have totally
 2   were saving it for the Supreme Court and the --              2   validated. He drew a thing on the board explaining it
 3      A. No, that's, you know, this is what I'm telling         3   to this guy. So the guy is putting it in the bag
 4   you --                                                       4   instead. I go, well, I want a copy to bring to the
 5      Q. But you said that.                                     5   Cyber Symposium.
 6      A. I don't know, you'd have to show me where I said       6         They started to download it and it was going to
 7   that. What I said on the second day after I was              7   take too long. And I said no, just bring, bring it
 8   attacked the morning of the third day, I said I was          8   with, we'll bring it back. And Kurt Olsen agreed, okay,
 9   physically attacked, that's in a police report.              9   we'll bring it back, but Mike, it would have to go in
10      Q. Who, who attacked you?                                10   there. I go, I agree, but I have to get going, I had
11      A. Three guys by the elevator. See, do your due          11   the Cyber Symposium. I had the whole thing to get the
12   diligence. They physically attacked to warn me not to       12   chairs, everything ready and get the food, everything
13   put this down the next day. Waldron came about shortly      13   done.
14   after that, police were called and everything, but          14         And so then Josh Merritt flew on my plane and
15   Waldron came and said, hey, you can't release the China     15   then he gets there and I find out he's part of some red
16   stuff, we have been, they're going to put a poison pill     16   team or whatever, I didn't even know what a red team
17   in the data, which means stuff that, I don't know what a    17   was, I didn't hire him. Apparently Kurt or somebody
18   poison pill is, I wasn't sure what it is, but he said       18   hired him and he's in this room with about eight other
19   trust me, we can't do it, let's get the gag order lifted    19   people. And, and then I give him the, he takes the
20   on that part, you know.                                     20   thing and he puts it in and he goes, well, we don't have
21      Q. And there's a police report on this?                  21   enough we need here. And I'm going what are you talking
22      A. Yeah, there's a police report, absolutely.            22   about. And then the other guy is bringing stuff, he's
23      Q. Who were the three people --                          23   bringing it the next day, he goes you shouldn't have the
24      A. I don't know, they couldn't find the guy. They        24   Cyber Symposium, you shouldn't have it. I go what are
25   did it, they put it all over the news, a picture of him,    25   you talking about not to have it. It was like he was
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 1   already trying to sabotage.                                  1       A. I don't know the name of the company on there,
 2         And then this Josh Merritt on this, it was his         2   that I don't.
 3   first or second day he went, he was supposed to be part      3       Q. Okay. Is it, is there a lease with that company
 4   of this, whatever it's called, red team, but he went and     4   for the use of the plane?
 5   said something to them. We had a rumor that he had put       5       A. I don't know. This was an attorney back in the
 6   stuff in the cyber room and to sabotage. We've got a         6   day lined that up with, it's Minnesota Jet, I don't
 7   tape of him, by the way, where him and his wife were out     7   know. The short answer is I don't know.
 8   there to sabotage it, we've got a whole recording of him     8       Q. I'm just --
 9   saying that. I couldn't even play it all on the show         9       A. And that, and that plane, I don't even know if
10   because he swore so much. And in fact, I had to bleep,      10   that was, I had two planes, or used two planes, one was,
11   bleep, bleep, bleep, it was disgusting. But they had        11   I don't know if it was the Falcon 50 or the, or the new
12   that all planned. I didn't know the guy from Adam.          12   one. In fact, I think an article came out, Mike had to
13         And then he turned it into some newspaper, which      13   sell his airplane at the failed Cyber Symposium.
14   one of our guys caught him before it was even, before it    14       Q. Who pays for the plane?
15   was even out, the news article came out, so it was all      15       A. What?
16   preconceived. And then we kicked him out, I said you're     16       Q. Who pays for the plane?
17   not coming over here, you're kicked out of the Cyber        17       A. Who pays for the plane?
18   Symposium. I said what are you doing, I didn't even         18       Q. Yes.
19   know who the guy was. And I said you're sabotaging the      19       A. I'd have to look up the thing. I don't know if
20   symposium.                                                  20   it's Lindell Management or My Pillow, I don't know. I
21         I took him to court after that I believe. And I       21   guess it depends who uses, the usage. You have to keep
22   think, I don't know if they ended up dropping the           22   track of everything like that.
23   charges or what, but he stole something from there. He      23       Q. Okay. Who would be the person --
24   took the drive with him and to this day I don't believe     24       A. Probably Lindell Management, you know, that's
25   we ever got it back. He took the drive and, and he's a      25   probably, you know, which is my, my, it's the management
                                                      Page 258                                                        Page 260

 1   bad guy. So I don't know if that's relevant to your          1   company.
 2   case.                                                        2      Q. Right. By the way, does My Pillow pay Lindell
 3      Q. It is.                                                 3   Management for certain management services?
 4      A. Very bad guy. He was there, I think he was             4      A. That I don't know either. You're going to,
 5   planted by someone, because first he says Dennis             5   you'd have to ask the controller, I don't know.
 6   Montgomery is good, then we had a tape of him, horrible      6      Q. Okay.
 7   tape of him saying how he was going to sabotage it. And      7      A. I don't know who, when that goes back. If we do
 8   it was all, here he, here he rode on my plane. I'm           8   work, if Lindell Management does work for My Pillow, I
 9   going who found this guy, all these guys, I didn't even      9   believe we have to get paid, you know, I'm sure there's
10   know where the red team came from.                          10   agreements there. This was set up back with the other
11      Q. Yeah, he testified about a plane trip he took         11   attorney I told you that worked in-house, by that
12   with you to the symposium.                                  12                  back in the day.
13      A. Yeah, and it was because I didn't know who he         13      Q.
14   was. We got there to drop off this thing and the Cyber      14      A. He's no longer around. He works here for, he
15   '15 Act, 2015 Act, to drop the information off so it        15   works in Minneapolis, he worked for, I can't remember
16   would go out everywhere.                                    16   the firm. It's a big firm, you'd probably, I don't know
17      Q. I'm speaking of the plane. You fly around a           17   where you live, but it's one of the bigger firms in
18   lot, the plane that you were flying in during the           18   Minneapolis.
19   symposium, was that a plane that was leased or owned by     19      Q. Okay.
20   you or My Pillow?                                           20      A.                         is what,
21      A. No, it's --                                           21   that law firm, if you want to look it up. I think
22            MR. MALONE: Form.                                  22   that's where he's at, that's where he came from.
23      A. It's in another account, I don't know who, it's       23      Q. My guess is Brad here next to me is looking it
24   like a holding account.                                     24   up right now.
25      Q. Okay.                                                 25           THE WITNESS: Do you know who they are?
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 1           MR. KLOEWER: I'm looking them up right               1   Montgomery, or did I know those guys, no. I had been on
 2   now.                                                         2   Brannon Howse's show one time three months prior or
 3            THE WITNESS:                             nice       3   something.
 4   guys.                                                        4      Q. Did you pay Mr. Howse for access to the --
 5   BY MR. CAIN:                                                 5      A. No, 100 percent, no. I never paid him a dime.
 6      Q. All right.                                             6      Q. You have not paid any amount of money or My
 7      A. Charge          an hour. Do you guys make that         7   Pillow has not paid any amount of money for this data --
 8   much an hour?                                                8      A. No.
 9      Q. No comment.                                            9      Q. -- that you say is under gag order?
10      A. Or are you making it on this, on frivolous            10      A. No, absolutely not, 100 percent no.
11   cases, consignment things?                                  11      Q. Has Mary Fanning ever worked for My Pillow?
12            MR. MALONE: They won't answer the                  12      A. No.
13   questions, Mike.                                            13      Q. Have you ever met her?
14            THE WITNESS: Well, he's asking me stuff            14      A. No.
15   that has been completely irrelevant. I could ask him        15      Q. Do you know if she's a real person?
16   some questions, that's crazy.                               16      A. Yeah, I've talked to her. She, she helped, she
17            MR. MALONE: We'll do that later.                   17   helped in two movies, she's definitely a voice.
18      A. Who owns your airplane, who owns it, you know,        18      Q. She's definitely a voice.
19   what does Lindell, what does it have to do with anything    19      A. Yeah.
20   you're talking about. Josh Merritt, I gave a ride to        20      Q. But you've never met her in person?
21   the guy on my plane, the guy, I didn't know he was a bad    21      A. I've never met her in person. I've never met a
22   guy, but he's there, I don't know where he came from, I     22   lot of these people you're talking about in person. I
23   didn't hire the guy. He sits up on the thing and says       23   met, I think I've probably met Joe Oltmann like four
24   this evidence is all good, and then two days later he       24   times.
25   tries sabotaging the symposium. And then, and then he       25      Q. Dennis Montgomery, does he --
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 1   about two days or four days after the symposium we get a     1      A. I met Dennis many times now because now he does
 2   tape that was taped two days before the symposium how        2   work for me.
 3   he's going to take, win the $5 million and sabotage the      3      Q. Okay.
 4   thing. Just a disgusting person.                             4      A. Mike Lindell.
 5      Q. This data we've been talking about, is it the          5      Q. He does not work for My Pillow?
 6   same data that, that you procured from Patrick Byrne?        6      A. No, absolutely not, he does not work for My
 7      A. I didn't purchase anything from Patrick Byrne, I       7   Pillow, never has.
 8   never dealt with Patrick Byrne on anything, purchasing       8      Q. Just you personally?
 9   any data. What are you talking about and where did this      9      A. Mm-hmm.
10   come from. Now you're starting to be stupid, now you're     10      Q. Is that a yes?
11   really asking some questions. Where did you even get        11      A. Yes.
12   that that I purchased any data from Patrick Byrne. This     12      Q. It's just ambiguous if you say mm-hmm.
13   is the most out left field thing I've ever heard. What      13      A. Yes, yes, yes.
14   do you want me to say, oh, no, I didn't purchase it. I      14      Q. It's not clear what that means. Where is, if I
15   never purchased anything or got anything from Patrick       15   needed to locate Mr. Montgomery, where would, where
16   Byrne ever.                                                 16   would I find him, if you know?
17      Q. Thank you.                                            17      A. I think that's his -- once again, I don't want
18      A. My evidence came from Brannon Howse on                18   you attacking him.
19   January 9th, you got that.                                  19      Q. Do you know where he lives?
20      Q. Who did he get it from?                               20      A. Yes, I do.
21      A. I don't know. Mary Fanning I believe, and then        21      Q. Do you have his contact information?
22   they got it from Dennis Montgomery, that's, that's what     22      A. Yes, I do.
23   I've heard.                                                 23      Q. Do you have his phone number?
24      Q. Okay.                                                 24      A. Yes, I do.
25      A. And did I know Brannon Howse and Dennis               25      Q. Will you provide that information to us?
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 1      A. No, I will not because that's the last person I       1   do with any expenses at the Cyber Symposium, just let's
 2   want you to attack. He's been attacked enough, you          2   make that clear in the record.
 3   guys, maybe not you, but Dominion makes a really good       3         And I had people that had My Pillow emails, they
 4   case of that. You want him, subpoena him.                   4   worked for Lindell Management, that's their email, okay.
 5      Q. I'm sorry, I missed the part about Dominion           5   They don't work for My Pillow, that's still their email.
 6   makes really?                                               6   They might have worked for My Pillow at some point like
 7      A. Dominion has got his number and everything, you       7   my niece. You probably got this, my niece
 8   guys call them up, I'm sure -- by the way, do you ever                  works for, she's my chief of staff at Lindell
 9   talk to their lawyers, can I subpoena that, your guys'      9   Management. That's probably where you got those, so
10   text messages? We'll have to talk about that afterwards    10   don't say you got them from My Pillow.
11   when we're off the record. When we go out to lunch         11      Q. My Pillow produced them is what I'm saying.
12   tonight, let's talk about that, huh.                       12            THE WITNESS: Why would My Pillow give it
13      Q. I already had lunch.                                 13   to them, how did they get them?
14      A. Oh, okay, dinner.                                    14            MR. MALONE: Mike, we'll talk about that,
15      Q. Oh, you mentioned, let's stick on the symposium.     15   just answer his questions.
16   We talked a little bit about --                            16      A. Okay. I haven't seen them, I can't see it, I
17      A. Do a lot of people call you Perry Mason?             17   want to see it, where are they.
18      Q. No.                                                  18      Q. It's because you haven't stopped talking and so
19            MR. MALONE: Mike, just answer questions,          19   they can't mark it yet, so let her mark it.
20   let's keep it moving here.                                 20      A. Okay.
21      A. Okay. Did I mention what?                            21            (Exhibit 67 marked for identification.)
22      Q. You had mentioned you had to get back, you had       22      Q. Okay. Before she marked this we were talking
23   food to order, this is for the symposium.                  23   about expenses.
24      A. Yeah, because nothing was planned.                   24      A. Yeah.
25      Q. Why was that, why was nothing planned?               25      Q. Have you ever seen this --
                                                     Page 266                                                        Page 268

 1      A. Because I was just going to get up there for          1       A. No.
 2   72 hours myself and just talk, talk and put evidence        2       Q. -- spreadsheet before?
 3   out, that's all I was going to do. It was nothing           3       A. No.
 4   planned. I had, the food was all planned, but I             4       Q. And it had a column, the second page is I guess
 5   micromanage, I wanted to make sure that everyone had a,     5   the last column, it that just bled over.
 6   where their seating was, where the food was, because the    6       A. Mm-hmm.
 7   continuous food, I didn't want anyone, I wanted everyone    7       Q. But in terms of the expenses associated with the
 8   to be attentive. I wanted to, it was a big thing to me,     8   Cyber Symposium, you just testified that that would not
 9   everything was on the line.                                 9   have been incurred by My Pillow?
10         I wanted to, you know, these guys are sitting        10       A. That's correct.
11   there trying to put evidence in a thing or whatever, we    11       Q. Okay. Does, do you know who incurred those
12   had to get there. And a copy he said could have took up    12   expenses?
13   to two, three more hours and I was, you know, wanted to    13       A. Lindell Management.
14   get there and make sure that they, as people come in to    14       Q. Okay.
15   set the thing up and make sure everybody, everything was   15       A. Lindell Management put on the whole thing.
16   right, you know, from food to seating to everything.       16       Q. Okay. Lindell Management.
17   You know, this was put on, this was an event put on at     17       A. Yep, Mike Lindell, which is I'm 100 percent Mike
18   the spur of the moment basically, you only had, what,      18   Lindell.
19   three or four weeks when I decided to do it because, you   19       Q. Okay. And did Lindell Management get reimbursed
20   know.                                                      20   for any of these expenses from any third-party?
21      Q. Okay. And, and My Pillow produced a spreadsheet      21       A. No. Lindell Management paid these. And if
22   with the some of the expenses associated with that. Let    22   there wasn't money in the Lindell Management account,
23   me just show you this real quick.                          23   Mike Lindell had to personally pay for it in there.
24      A. How would My Pillow produce that. This is            24   It's possible that this was a check written out on Mike
25   Lindell Management you mean. My Pillow had nothing to      25   Lindell, you know, but it was Lindell Management. So
                                                     Page 267                                                        Page 269

                                                                                                   68 (Pages 266 - 269)
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 1 then, you know what I mean, they're kind of like one in                1       Q. All right. But my, my question is, you have a
 2 the same, but I would, everything was done through                     2   Lindell Management email account. When do you use that
 3 Lindell Management.                                                    3   as opposed to My Pillow?
 4     Q. Gotcha. Is that the same for, for example,                      4       A. I, I never do. I just quick grab whatever
 5 rallies, if you're, if you're hosting a rally?                         5   email. Originally when those were set up when Lindell,
 6     A. I don't host rallies. I did one Frank, two                      6   once again that                  to keep everything
 7 Frankspeech, that was Frankspeech.                                     7   structured he said let's do it Lindell Management. This
 8     Q. Okay.                                                           8   is when they were going to do work for, when we got
 9     A. I did a Frank rally in Mitchell, South Dakota                   9   people, tech people that were working for other things
10 and I did Frank one in, a Frank thing in Wisconsin,                   10   like My Pillow and when we had the Lindell Foundation
11 that's the only two events. The other things were Cyber               11   and the Lindell Recovery Network, all these things,
12 Symposium, which would have been Lindell Management, and              12   that's what Lindell Management would do, work for their
13 then the Moment of Truth Summit which was Lindell                     13   charitable work.
14 Management.                                                           14         So at that time, I think it was          said
15     Q. Okay. How is it that Lindell Management is                     15   let's do separate emails for that, and even on Lindell
16 going to be realizing any income from, for example,                   16   Foundation when I had that. I just never used it
17 hosting or producing the Cyber Symposium?                             17   hardly, you know, when it was set up, I just didn't use
18     A. They wouldn't. We were managing, they wouldn't.                18   it, you know, very seldom. If I do, it would go there
19 They didn't make, zero, what do you mean, we went in the              19   by default. I bet you could check back the last three
20 hole.                                                                 20   months and I probably have one use.
21     Q. That seems like a bad business decision.                       21       Q. Let's, let's try to do question and answer, if
22     A. It is. Lindell Management is a management                      22   we can.
23 company, that's all it is, it's a management company, so              23       A. All right.
24 it's --                                                               24       Q. Because we're getting long in the day.
25     Q. But there wasn't any mechanism in place for that               25       A. Yeah.
                                                              Page 270                                                        Page 272

 1   company --                                                           1      Q. She's going to mark this next exhibit.
 2      A. To make zero, that's correct.                                  2            (Exhibit 68 marked for identification.)
 3      Q. And so when is it that your -- well, let me just               3      Q. This is Exhibit 68. And this appears to be an
 4   show you a couple of emails. Because you mentioned                   4   email between you and Dr. Shiva, is that right?
 5   this, so that's why I pulled out this folder. You said               5      A. No, this says, "Dear Alan," I don't know who
 6   something to the effect of just because they're using a              6   Alan is, I don't know who Alan is. I don't know who
 7   My Pillow email address doesn't mean they're working for             7   this Alan is, I have no idea.
 8   My Pillow?                                                           8      Q. Okay.
 9      A. That's correct. I have a My Pillow email                       9      A. And I probably, I never read this email, just so
10   address because that's my email. I have many people                 10   you know that, ever.
11   that have a My Pillow that either don't work for them               11      Q. I didn't ask you if you've read it. If you look
12   anymore, but they kept their email, you know, some of               12   at the top, the reason I said it's an email from --
13   them.                                                               13      A. Oh, Alan Duke, I do know Alan Duke, I'm sorry.
14      Q. Okay. I'm not making judgments here.                          14      Q. And on the top it looks like Dr. Shiva is
15      A. Just like MyStore, that would be another one.                 15   sending you this at Lindell Management, do you see that
16   They might still have a My Pillow email, even though                16   up top --
17   they no longer work for My Pillow, they work for                    17      A. Yep, yeah.
18   MyStore.                                                            18      Q. -- Mr. Lindell. Thank you. Okay. So this
19      Q. All right. But you have a, you have a Lindell                 19   would be an example of when you, one of the few times
20   Management email?                                                   20   that you would get an email --
21      A. I use, 99 percent of the time I use my My Pillow              21      A. No, he, he, this was given to him on a card. I
22   email, 99.9.                                                        22   never used Lindell Management. He, I get stuff sent to
23      Q. Okay.                                                         23   me because I, obviously he got a business card, some,
24      A. And very seldom do I ever email, I text, as you               24   whatever he got for Dr. Shiva, he probably got a
25   know.                                                               25   business card from my assistant.
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                                                                                                            69 (Pages 270 - 273)
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 1         Now I'm going to explain this, now I remember.              1   people call my call center, and these are upset people
 2   So I had an assistant back then, not          another             2   or anybody, and they bug them enough, because they're on
 3   assistant where we made up cards, Lindell Management              3   the phone, they have to, at a certain point I said if
 4   cards, okay, so that I wouldn't, you know, and on that            4   you can't handle the customer and if they're adamant, I
 5   card had an email. People would ask me all the time for           5   gave them this      email to use. It goes into a generic
 6   a card and I didn't want to use My Pillow, I wanted to            6   box to a team that just covers like customers that are
 7   use Lindell Management. So I used that email on that              7   upset. Deviations, you know, deviations. Like this
 8   card. So obviously this guy got one of them cards. I              8   guy, he says, so he was probably very upset, you are
 9   don't ever converse on the Lindell Management, I bet you          9   very difficult to make contact, I called and waited 20
10   I didn't even respond to this, you know.                         10   minutes, I'm not, so he was very upset. Anybody that's
11      Q. Okay.                                                      11   so upset about anything, they give them that         email.
12      A. This is, other than incoming, give out business            12      Q. Gotcha. So this particular email relates to, if
13   cards that, you know, here, I want a business card,              13   you look in the middle, it actually relates to Dr.
14   well, here, use this. And once again, I think the                14   Coomer, do you see that?
15   assistant then could pull them up and segregate them,            15      A. Yep.
16   like people who wanted my picture and wanted my card.            16      Q. Do you remember receiving this?
17   And obviously Shiva got one. What's the date on this?            17      A. No, I never read this email. I don't read the
18      Q. February 18, 2021.                                         18
19      A. Yeah. So that would have been the only thing.              19      Q. Okay. At all?
20   He probably got a, he probably got a business card with          20      A. No. They would be,              go to a team and
21   that on that. I don't even remember how he ever got              21   usually they've been ordered, back then we got thousands
22   ahold of me.                                                     22   of emails, customers and stuff, so they, so what they do
23      Q. Did Dr. Shiva perform any work or My Pillow?               23   is they go through and take care of the My Pillow
24      A. No, no.                                                    24   customers. Everything else they're ordered to, we
25      Q. As a consultant?                                           25   consider a junk mail.
                                                          Page 274                                                           Page 276

 1       A. No, nobody did, no, absolutely not.                        1      Q. Okay.
 2       Q. All right.                                                 2      A. This was never read by me, probably looked at,
 3       A. He's talking about, this is, this is Alan Duke,            3   boom, gone.
 4   he's Lead Stories of the Facebook fact checkers.                  4      Q. Okay. And I'm not asking about the lumpy pillow
 5       Q. You can put that aside.                                    5   calls.
 6       A. What?                                                      6      A. No, they're not lumpy pillows, that's not what
 7       Q. You can put that aside.                                    7   they call on, okay. When you say lumpy pillows, now
 8       A. Okay.                                                      8   you're an asshole, you got that, you're an asshole is
 9       Q. Let's go to 69.                                            9   what you are.
10            (Exhibit 69 marked for identification.)                 10            MR. MALONE: Mike.
11       Q. This is the email portion of your deposition,             11            THE WITNESS: No, he's an asshole, he's an
12   Mr. Lindell, so we'll just look at a few. You should             12   ambulance chasing asshole.
13   give one to your counsel.                                        13      A. That's what you are. Lumpy pillows, kiss my
14         Okay. Exhibit 69 at least purports to be, and              14   ass. Put that in your book. No, they, they answer
15   it's been produced I guess twice in this litigation,             15   anything, any problem customer that wants to reach Mike
16   purports to be an email from some person named Mark              16   Lindell, those are the ones, I want to talk to Mike
17   Debarbieri?                                                      17   Lindell, I want to talk to Mike Lindell. They send them
18       A. Yep, yep.                                                 18   to here and they go, and they call about maybe they
19       Q. To Mike Lindell at                         , do you see   19   didn't get their pillow on time because of the Fed Ex or
20   that?                                                            20   whatever, but we'll cover it even though it could be
21       A. Mm-hmm, yep.                                              21   somebody else's fault. Nobody calls because of a lumpy
22       Q. Do you know who this person is?                           22   pillow. But good, good one though.
23       A. No idea.                                                  23      Q. Are you done?
24       Q. Do you know how he got your email address?                24      A. Yeah, I'm done.
25       A. Yes, I can, that's an easy one to explain. When           25      Q. What I'm saying --
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                                                                                                           70 (Pages 274 - 277)
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 1      A. Obviously you don't have a My Pillow too, you             1      A. You've attacked them, you attacked them, you're
 2   don't, do you.                                                  2   part of this, you're getting paid on consignment, you
 3      Q. What I'm saying is, Mr. Lindell --                        3   get paid if they get money from my employees, yes, you
 4      A. Asshole. But go ahead.                                    4   have attacked them. You personally did this, the
 5            THE WITNESS: No, I'm pissed.                           5   Newsmax, you and I call it right out, the criminal
 6            MR. MALONE: I understand.                              6   lawyers and Coomer when you guys did this to me.
 7      A. Yeah, go, when you're saying what.                        7      Q. Do you not think that, that Eric Coomer rigged
 8      Q. The non-customer product complaint calls.                 8   the election?
 9      A. Anything that comes in where the customer,                9      A. What?
10   there's a, they can't get, they got to get, get to, they       10      Q. Do you not think that Eric Coomer rigged the
11   can't solve the problem if the customer wants to talk to       11   election?
12   Mike Lindell or if they want to talk about the weather         12      A. I said, Eric Coomer didn't, I didn't say that, I
13   being bad. They say, they, they go give them             and   13   didn't say that. I said Dominion, they used Dominion
14   it goes into another team of people.                           14   machines and all machines. I'm not specific just to
15      Q. Okay.                                                    15   Dominion, ES&S, Hart, all of them, we've got to get rid
16      A. And this team take anything that's unrelated to          16   of the computers in our election. I never said anything
17   My Pillow and throw it in the garbage.                         17   about Eric Coomer. I called him a traitor what he did
18      Q. Okay. That's where I'm going. To the extent              18   to My Pillow and Newsmax.
19   that My Pillow is receiving emails from people like Mr.,       19         Chris Ruddy called me up and says, sorry, Mike,
20   I'm going to butcher his last name, Debarbieri --              20   you can't come on anymore, this guy, I don't know, let's
21      A. Nobody, the only ones that know --                       21   make a deal. Were you involved in that deal? You hurt
22      Q. Let me finish my question, please.                       22   a lot of innocent people is what you did because that
23      A. Well, then, okay. Then make sure you be                  23   day we couldn't go on. Like right now when we're
24   specific. Because people don't, now you asked me how           24   overdrawn I can't go on Newsmax and say, hey, we got the
25   they got that email address. I don't publish it for            25   new My Pillow 2.0, my employees thank all of you, like I
                                                         Page 278                                                         Page 280

 1   everybody. I don't, people try and reach me all the             1   used to do, I'm their host. I can't do that anymore
 2   time for different things. You don't have that luxury           2   because of you and Coomer. That's reality, that's cost
 3   of being, have people, everyone on the street wants your        3   us hundreds of millions of dollars.
 4   email whether to get a picture or whether to attack you         4         When I'm done with this, you wait, if there's
 5   or whatever it is, you know, people like you that               5   any way to get your wallet it's going to be, that's what
 6   probably call on the phone. But go ahead.                       6   we're going to do because you've hurt us so bad, it's
 7          I give, they give them the email, it's a thing,          7   disgusting. And then you call it a lumpy pillow. Put
 8   catchall so they don't have to take the wrath or an             8   that in there too, huh, are you going to put that out
 9   attack or to say I want to talk to Mike Lindell, come           9   there. Did you use a My Pillow, how dare you. Are you
10   on, come on, come on, it's easy, they give them this           10   reading this stuff, I don't get it, you're worse than
11   email. You asked how they got the email, that's it.            11   the media. So keep going.
12   It's the only way they can get                                 12      Q. I think there was a question in there.
13       Q. Do you need to take a break?                            13             MR. CAIN: I'm going to object as
14       A. No, I don't need to take a break.                       14   nonresponsive.
15       Q. All right.                                              15      A. The question, the question you asked me, how did
16       A. Your lumpy pillow question kind of set a nerve.         16   they get the ML. I've never read this, anything that
17   Because obviously, just like your question in here in          17   came across. We get stuff all the time, it goes right
18   your little complaint, Mike's frivolous Cyber Symposium.       18   in the garbage.
19   This whole case is frivolous, you should be ashamed of         19      Q. So to that point, the emails that come in that
20   yourself. But go ahead, finish your question on this           20   get filtered into
21   and try not to talk about, I get personal when you             21      A. That's correct.
22   bad-mouth my employees or my pillows or anything like          22      Q. -- that relate to, let's say it's someone like
23   that. Go ahead.                                                23   this gentleman who's calling about or emailing about
24       Q. I haven't said a single word about your                 24   Coomer or Dominion.
25   employees and I don't own --                                   25      A. Garbage.
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 1      Q. That gets deleted, trashed?                                  1         My team would say, hey, if it was My Pillow
 2             MR. MALONE: Objection, asked and answered.               2   related, this would be the extreme where if it was
 3      A. Obviously you got it off the server, I don't                 3   something extreme that, I don't know what it would be.
 4   know what they do with it. They put a thing that it's              4   My Pillow, we had one time where we kept getting pillows
 5   been looked at. They go down, they're here to take care            5   where they said it was opened up, it turned out it was a
 6   of our customers. That's what My Pillow is, if it's                6   scam, they were showing us the same picture. That would
 7   non-customer related, it goes bing.                                7   go into there, it kept going in there. And then this
 8      Q. If I wanted to see --                                        8   team is very trained in what, you know, what to do with
 9      A. This email was never answered, I guarantee it,               9   the customer to make them happy.
10   because you wouldn't answer it because then you're                10      Q. What's, what's their training as it relates to
11   engaging with people that have nothing to do with My              11   people calling irate on the 800 number --
12   Pillow.                                                           12      A. Not just irate.
13      Q. I didn't ask if it was answered. What I'm                   13      Q. Hold on. Please just let me finish one
14   trying to find out is how many people are sending emails          14   question.
15   to My Pillow about things like election security or Dr.           15      A. Okay.
16   Coomer?                                                           16      Q. Calling irate about the election fraud issues?
17      A. You did, obviously you did a search, a search of            17      A. Nobody called, I don't know back then. All I
18   our whole company. I don't know, how many did you get.            18   know is if it's not related to My Pillow or if they have
19   People call us for other things. If somebody calls                19   a problem with My Pillow, if they need, if they want to
20   that's non-related to My Pillow it goes into            and       20   get to Mike Lindell. That's why I set up the
21   then these guys look at it and they don't answer them.            21   I set it up a long time ago, way before this. And when
22   They have orders, don't engage them. It's just gone.              22   this, when we started getting it, we got calls from
23   Is it deleted, I don't know if it's deleted, but you're           23   people attacking us, like when the box stores were
24   able to get them. They're probably in trash, we don't             24   dropping, we got attacked by people, death threats, many
25   double delete ever.                                               25   death threats and stuff that I got. So these people,
                                                            Page 282                                                             Page 284

 1       Q. When                                                        1   they go here's an email. And then some, we turned some
 2       A. Yeah.                                                       2   into the cops if it was really a death threat.
 3       Q. Would he be in charge of the IT relating to --              3          But if they call, and rather than, so we could
 4       A. No, it's a whole another department. Todd is in             4   get them off the phone instead of focusing on My Pillow,
 5   the back end of Websites and stuff. This is different,             5   send them there. Or if it was some problem that they
 6   this is emails.                                                    6   were, you know, if it was against our parameters. Let's
 7       Q. Okay.                                                       7   say it was a pillow, I'll give you an example, something
 8       A. This is emails. It's a whole, if you did a data             8   that was out of the 60-day money back guarantee and
 9   search that looks like this is where this is coming on             9   they're a half a year later and they're, so it's either,
10   your little discovery, everything that had the word in            10   it's a scam, they're trying to return something that
11   there that if you got one, that's what you got. I never           11   maybe it was a bed or something or, I don't know, you
12   seen it, I would never see these, ever.                           12   name something. And then they'd have since it's outside
13          Back then if they called, I had to do this                 13   the parameters, email               That's what it was
14   because my customers, my, my call centers, they were              14   originally set up for, then they're outside of the
15   being either attacked or most people went, hey, I got             15   parameters. Every company does it, outside of their
16   stuff, I got evidence, I got evidence. You know what, I           16   lane. So then they say here.
17   got my own evidence, I don't want to talk to you guys             17          And it would always come -- I'll give another
18   and waste my time, that's, you know, so we just put a             18   one why it was set up originally. We had a thing on TV
19   filter in, that's all. We had the same filter in before           19   once, buy one get one free, okay, if you remember,
20   this stuff. Any problem stuff that with         related, any      20   that's a lot of my ads, buy one get one free. These
21   deviation, anything they couldn't get rid of the                  21   people swore there was a price up there, and there never
22   customer where they had to have, here, you can email              22   was, I never had any ad back there with a buy one get
23   Mike personally. And the           go with that, it's a team,     23   one free. So we finally had to send them, we sent them,
24   I'll give you an email because they all want to be able           24   they would argue, so we sent them to                 And then
25   to contact, here's an email.                                      25   these guys, we came up with a thing, they would have to
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                                                                                                              72 (Pages 282 - 285)
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 1   interact and say, hey, if you find a screen shot, you         1   with every keyword you gave. There you go.
 2   will get a reward, you know, you have to take a screen        2      Q. Thank you.
 3   shot, okay. So it solved that problem because people          3      A. Yeah, now you got your answer. You already knew
 4   really believed that even though it wasn't true. So           4   the answer, you just was hoping there was more I think.
 5   that was set up.                                              5   It sucks that you're not going to win all this money,
 6         So anything with the election, whether it was           6   huh. Don't you feel it slipping away because you're all
 7   good, even if it was good, hey, I got, like right now if      7   wrong and you realize you shouldn't have done this.
 8   they called up and said, hey, I got a good invention for      8      Q. I'm not sure you understand how you're
 9   Mike on MyStore, I need to talk to him, I need to talk        9   perceived.
10   to him. My reps instead of saying I can't talk to him,       10      A. I don't care how you think I'm perceived. Let
11   there's no way you can get to him, but does he have an       11   me tell you how you're perceived. You're perceived as
12   email, you know what, here's his email, that's it,           12   an ambulance chaser, you're the reason what's wrong with
13   because they don't have time. My Pillow has to               13   this country with lawyers, you're disgraceful is what
14   function, it doesn't have time to talk about the weather     14   you are.
15   or whatever. So these things go there.                       15         When I read this thing again last night, I
16         And this thing here would have been deleted or         16   thought, one paragraph after you came after me. I
17   at least unchecked and it's sitting there in the server.     17   didn't know this, whatever this Oltmann, I didn't know
18   It was, nothing ever gets double deleted because if they     18   him then and I barely know him now. And you guys, and
19   come back to us we have to be able to show the               19   you guys, all the stuff back then the only thing in here
20   conversation with them. We do that to protect our            20   was one statement I made after you attacked Newsmax,
21   company.                                                     21   after Coomer attacked Newsmax. That's the only
22            MR. CAIN: Objection, nonresponsive.                 22   statement I made, period, I didn't know who Eric Coomer
23      Q. I'm just trying to get a sense of how many             23   was.
24   people call your company about the election fraud            24      Q. We're recycling old testimony. I didn't ask you
25   issues?                                                      25   about that either. So let's, let's stay focused because
                                                       Page 286                                                        Page 288

 1      A. How many to nowadays, probably, I don't know,           1   we only have a little bit more time.
 2   none, a few. Back then in January of '21, a lot. They         2      A. Okay.
 3   were all calling in attacking and then, and then we were      3             THE WITNESS: My A plus went out the
 4   losing our box stores, you know.                              4   window.
 5      Q. They, they were emailing too?                           5             MR. MALONE: Just keep it moving, Mike.
 6      A. Not emailing, no. The only to an email                  6      Q. By the way, I'm not responding to your name
 7   probably, I don't know, maybe one a month. I don't            7   calling and I'm not responding to --
 8   know, whatever you got is what we have. Whatever you          8      A. I know, but I did respond when you said
 9   got, then you know the number. If you did, if you did,        9   something about my product that about 2,000 employees
10   had us do a search, whatever you got. And believe me,        10   rely on and they have families. And for you to have,
11   these guys did it all on their own, the lawyer said, no,     11   I've sold 80 million My Pillows in 14 years. You don't
12   we got this third-party to do the stuff, didn't I, I was     12   have one, so you have no right to say that. You took
13   very adamant about that. You can kiss my butt I said.        13   that right off of your corruption that you do. You're
14   He goes no, Mike, we have to get them. I said there's        14   probably the one putting out the narrative, it sure
15   no emails that we have between with any of these things.     15   seems like it.
16            MR. MALONE: Mike, Mike, you know what I'm           16         I read some of the crap in here that you wrote
17   going to say?                                                17   in your brief that's disgusting. The lies in here. One
18            THE WITNESS: What?                                  18   of them says after Mike was with Donald Trump in 2017 at
19            MR. MALONE: You don't have to tell them             19   a manufacturers summit, he started doing promo codes on
20   about what we talked about.                                  20   Fox. I was doing it ten years prior. This is a big
21            THE WITNESS: Okay.                                  21   lie, you're a lying lawyer.
22      A. No, I'm just saying, every, you have every one.        22             MR. MALONE: Mike, you're going to let him
23   So you have your own answer.                                 23   finish what he's going to say and I'll object if --
24      Q. Okay.                                                  24      A. Go ahead.
25      A. You have every single one ever done at My Pillow       25      Q. I'm not going to respond to your personal
                                                       Page 287                                                        Page 289

                                                                                                     73 (Pages 286 - 289)
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 1   attacks.                                                     1      Q. Okay. And then you can also see -- what rally
 2      A. That's fine.                                           2   was that, by the way?
 3      Q. My reference to a customer complaint relating to       3      A. It was a, it was a rally, there was probably
 4   a pillow, I'm sure you've had some customer complaints       4   16,000 people, I spoke, Diamond & Silk, it was in
 5   in the past.                                                 5   northern Wisconsin.
 6      A. You said lumpy, where did you come up with that?       6      Q. Okay. About election issues?
 7      Q. Maybe they didn't like their pillow.                   7      A. What's that, election issues?
 8      A. No, where did you come up with lumpy?                  8      Q. Yes, sir.
 9      Q. That was a hypothetical to separate it from            9      A. Absolutely.
10   people --                                                   10      Q. Okay.
11      A. Where did you come up with that name?                 11      A. And no tickets were sold, that's, are you going
12      Q. To separate it, let me finish, from people who        12   to ask me. Keep going.
13   were calling or emailing about the election fraud           13      Q. Well, it references that.
14   issues.                                                     14      A. Yeah, I don't know why he put that. We didn't
15      A. Okay.                                                 15   sell any tickets, it was a free event, it cost me, that
16      Q. Okay. So non-customer.                                16   event cost me a half a million dollars out of my pocket.
17      A. I'll take your apology. Let's go, keep it             17      Q. You personally?
18   moving.                                                     18      A. Yep.
19      Q. Okay. Well, you need to understand the context.       19      Q. All right. You can see on the bottom that
20   And I'm not apologizing.                                                is sending an email to Janet Lynn?
21            MR. CAIN: Okay. Let's mark the next                21      A. Yep.
22   exhibit.                                                    22      Q. And others?
23            (Exhibit 70 marked for identification.)            23      A. Yep.
24      Q. Okay. Now this is an email, while you're              24      Q. Copying you?
25   reviewing it to familiarize yourself with it, this is an    25      A. Yep.
                                                      Page 290                                                            Page 292

 1   email that was actually produced by Brannon Howse, and    1         Q. At your My Pillow email?
 2   you can tell that because it's got his name on top, do    2         A. Yeah, he used it, he's one, he works for Lindell
 3   you see that?                                             3      Management. He still has a My Pillow email. At one
 4      A. Mm-hmm.                                             4      time he worked for My Pillow, a long time ago.
 5      Q. Is that a yes?                                      5         Q. Okay. But this is in June of 2021.
 6            MR. MALONE: Mike, you have to respond            6         A. Right. So he was working for Lindell
 7   verbally.                                                 7      Management, not My Pillow, he was using his My Pillow
 8      A. What was the question?                              8      email.
 9      Q. I said this is an email produced by Mr. Howse,      9         Q. Well, it indicates that he's
10   you can see that by --                                                                           for My Pillow.
11      A. Yeah, yeah, yeah, RJ Johnston, yes.                11         A. "Attached is a Web optimized version of the
12      Q. Okay. All right.                                   12      poster if you want to use it for Frankspeech," he was
13      A. RJ Johnston, yeah.                                 13      doing work for Frankspeech. This is to RJ Johnston.
14      Q. Yeah. And RJ Johnston is who?                      14                                                helped, had to, he
15      A. He, he ran, RJ Johnston ran Johnston Howse, a      15      was my, my eyes over at Frankspeech with all these RJ
16   company called Johnston Howse for Frankspeech, they ran, 16      Johnston and all these stuff. I had to get
17   they built Frankspeech, the back end, the                17      to watch them constantly because, you know, to this.
18   infrastructure, everything.                              18      He's optimizing Frankspeech for this Website, or for
19      Q. Okay.                                              19      this event. And what it says here as of a few minutes
20      A. And at that time he ran different things like      20      ago, whoever wrote that,                 didn't realize
21   the emails, he subbed out the email people, he           21      because he's IT. We didn't sell any tickets, there were
22   subcontracted everything out, everything.                22      no price, it was just, what he's saying, we had this
23      Q. And you can see that this email relates to a       23      many signed up for the event.
24   rally?                                                   24         Q. Do you have an explanation as to why he's
25      A. Yep, the one in, the one in Wisconsin, correct.    25      holding himself out as the chief technology officer for
                                                      Page 291                                                            Page 293

                                                                                                       74 (Pages 290 - 293)
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 1   My Pillow?                                                  1   be there, me, Diamond & Silk, it was a collage, Charlie
 2            MR. MALONE: Object to form, foundation,            2   Kirk, Dinesh D'Souza, his daughter. It was a collage of
 3   scope.                                                      3   people. Now Frank, I think we called it the Frank,
 4      A. What's that?                                          4   Frank, I can't remember, Frank something, and it was to
 5      Q. He's making an objection.                             5   get Frankspeech to get them to get us noticed that we
 6      A. I, I'd have to call him right now, whether he         6   had a Website.
 7   was, he was working for Lindell Management. He uses         7      Q.                is also on this email chain.
 8   that, he was the chief technology officer for My Pillow.    8      A. She works, she's my chief of staff for Lindell
 9   I don't know if he's, if it's My Pillow or Lindell          9   Management.
10   Management, but he's obviously using his email. He used    10      Q. Okay. She also has a My Pillow --
11   an old template there, that's the only thing I can tell    11      A. I told you that earlier in the conversation.
12   you.                                                       12      Q. Yes, you did.
13      Q. Is he an employee of My Pillow, do you know?         13      A. There's only a few,
14            MR. MALONE: Same objection.                       14   They used to years ago, maybe four years ago they worked
15      A. I, I would have to call and ask him, I would         15   for My Pillow. We kept their email because, their same
16   have to call and ask him, I really would, I don't know.    16   email because we go back and forth. That's just their
17   He's either My Pillow or Lindell Management. He was        17   email. It would be like if you had a gmail.com.
18   doing, he does most his work or all of it for Lindell      18      Q. Okay.
19   Management.                                                19      A. They, they, they do work, they work for Lindell
20      Q. But why would, you said he's either My Pillow or     20   Management, but they have My Pillow emails.
21   he's Lindell Management.                                   21      Q. Okay. That's why I'm asking you the questions
22      A. He was My Pillow at one time, here is his title.     22   to find out what your answer is.
23      Q. I heard your answer to that.                         23      A. But I already told you about           In fact, I
24      A. Right.                                               24   named all the ones. I told you
25      Q. My question is --                                                 , there's               would be another one, she
                                                     Page 294                                                        Page 296

 1       A. At least three years he's been, he was             1     works for MyStore, but she still has a, I think she has
 2   definitely Lindell Management with this thing on here,    2     a My Pillow address, she used to work at My Pillow, but
 3   so he hasn't changed his, his header on his thing.        3     she works for MyStore, but she works under Lindell
 4       Q. My question is, why if he's working for My         4     Management doing work for MyStore.
 5   Pillow in fact is he doing Web optimization for this      5        Q. And I think you said you lost, I may be blurring
 6   event?                                                    6     the rallies, about a half million dollars on this one?
 7             MR. MALONE: Object to form, foundation.         7        A. That one cost me half a million.
 8       A. I just told you, he had, My Pillow did not         8        Q. This one?
 9   employ him to do that. He was working for Lindell         9        A. This rally, it was free for the public. And we
10   Management, for me. My Pillow had nothing to do with     10     had to do a lot there, we brought in a big screen, we
11   that event. There wasn't an ad at that event, there was  11     brought in stages, we brought in, we bussed people in,
12   zero at that event, period. Frankspeech, Frankspeech,    12     we hired a company to bus people in. The whole purpose
13   if there was no even, we didn't even have ads back then, 13     of this, we had just come up with Frankspeech, I was
14   we had nothing. They were, the Website he's talking      14     afraid of losing my voice because when the media does an
15   about is a poster that for people to sign up on a, on a  15     attack I still need to get my voice out there, and we
16   sheet how many people were signed up so we knew what to 16      were doing this to make, so people would know about
17   expect, that's all it was.                               17     Frankspeech, the Website, and that was it.
18       Q. All right.                                        18        Q. Okay. Thank you.
19       A. He was not working for My Pillow. My Pillow had 19          A. I told them at this one, I didn't even tell
20   nothing to do with it, no ad, no nothing. This, when     20     about election what you said, my story was about
21   he's talking about the Website, it's a one-page thing    21     redemption, I told my coming to Jesus from out of crack
22   that we sent out from Lindell Management at Frankspeech, 22     cocaine, that was my speech at that one.
23   hey, sign up for this event, that's it. We didn't sell   23              (Exhibit 71 marked for identification.)
24   tickets, zero tickets. I can show you the Website he     24              COURT REPORTER: Can you, the blue ones,
25   made, it was a poster of the people that were going to   25     can you make sure they stay over here.
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 1            MR. MALONE: Yes. Mike, we are going to              1   She helped with the Frank rally, that's what it was
 2   make sure the blue ones stay over here, these are the        2   called, the Frank rally we did in northern Wisconsin.
 3   official exhibits.                                           3   She had, she knew the people at the venue, she does
 4            THE WITNESS: What do you want me to do              4   venues, so she did a good job there so we hired her as
 5   with this?                                                   5   one of the people helping out here.
 6            MR. MALONE: Just look at it and give me             6     Q. And it looks like this message was forwarded to
 7   one.                                                         7   you and to Kurt Olsen and to            and         is the
 8        I'm going to request that we receive the entire         8   young lady that's here today, right?
 9   Howse production, which appears to be this Exhibit 72 as     9     A. Yep, yep, yep.
10   well as Exhibit 71. We have not received any documents      10     Q. And to Brannon Howse.
11   from the Howse production yet.                              11     A. Right.
12            THE WITNESS: Okay, okay.                           12     Q. Do you see that?
13            MR. CAIN: Did you ask for them from                13     A. Yep.
14   Aubrey, is it Aubrey? And I'm, I'm not obligated to         14     Q. Now how is it, we talked about Kurt Olsen before
15   give them to you, but I'm happy to do so. Do you know       15   and you said he does not work for My Pillow?
16   who Aubrey Greer is?                                        16     A. That's correct.
17            MR. MALONE: No.                                    17     Q. How is that he got associated with the
18            MR. CAIN: Okay. I thought maybe he had             18   symposium?
19   done some work with you. Okay. But I'm happy to give        19     A. Okay. By the way, you notice I use My Pillow, I
20   them to you, that's not the point, but.                     20   never use the Lindell Management, it's just always
21            MR. MALONE: Sure.                                  21
22            MR. CAIN: I didn't think I was obligated           22         Kurt Olsen, I met Kurt Olsen on, in February of,
23   to do to.                                                   23   late February of '21, and I met him and he had done, I
24   BY MR. CAIN:                                                24   found out he had done the, the case, the Pennsylvania
25      Q. Okay. Mr. Lindell, Exhibit 71 is kind of              25   versus Texas case. So he had, he was the lawyer and,
                                                      Page 298                                                           Page 300

 1   similar in nature to some of the others we looked at. 1 and he, him and I at that time, I showed him everything
 2      A. Yes.                                              2 I had with the Dennis Montgomery and that's how, how he
 3      Q. But this one is about the Cyber Symposium, do 3 got involved. We've been pretty much inseparable since
 4   you see that?                                           4 then, I was using him for a lawyer, you know.
 5      A. Yeah.                                             5    Q. Do you know how he's compensated?
 6      Q. Okay. And I think you testified earlier that      6    A. I didn't pay him. He was working for free to
 7   you were detail, you got into the details, it sounds    7 save our country, that's a fact, working for free.
 8   like you get into the details of events like the Cyber 8     Q. A volunteer?
 9   Symposium, right?                                       9    A. Yes, he has been doing that for as long as I can
10      A. What it's going to look like to the customers, 10 remember, since, since back then. He loves his country
11   yes.                                                   11 and all he does is get attacked by people like you too.
12      Q. Yeah. And in this instance, this email appears 12      Q. Are you saying I don't love my country?
13   to be just maybe about a week before the actual        13    A. I don't know. Look what you did to, look what
14   symposium itself.                                      14 you did to Made in America to employees, USA employees.
15      A. Okay.                                            15 I don't know what you do. It doesn't appear. You're a
16      Q. Is that right?                                   16 money hungry lawyer, that's what it appears to be.
17      A. Yep.                                             17    Q. Are you concerned if you resign from the company
18      Q. August 2nd?                                      18 you're going to lose this platform you have to talk
19      A. Ten days I guess.                                19 about these important election issues?
20      Q. Okay. And this is, this woman, Dr. Janet Lynn, 20      A. What, if I resign from what?
21   do you know who she is?                                21    Q. Your company.
22      A. Yeah.                                            22    A. If I resign from my company, if I die tomorrow
23      Q. Who is she?                                      23 My Pillow, My Pillow, whatever it is, maybe, maybe
24      A. She's some gal from Wisconsin and she helped 24 they'd stop attacking them, if that's what you mean. If
25   with the, she is an event coordinator is what she is. 25 I, if I, you know, if I resigned and said okay, you
                                                      Page 299                                                           Page 301

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 1   guys, quit attacking My Pillow, ain't going to happen.       1      A. Who?
 2   They hate, they absolutely hate, they being China,           2      Q. -- podcasts?
 3   whoever attacked us, they want Mike Lindell gone, they       3      A. Who, who?
 4   want to bury me, they want to take every, even, they         4      Q. Joe Oltmann.
 5   want to take my money, no matter what. I would have to       5      A. No, I didn't, I never talked ever on Joe Oltmann
 6   do so, I don't have any money to fight this cause.           6   about, about these issues. Joe Oltmann had me on one
 7         So over here they would continue the attack            7   time, and this is in your thing, it's to sell, to talk
 8   because they know that I'm a stockholder and they would      8   about My Pillow. He said something about somebody I
 9   continue. They don't care about collateral damage or         9   didn't even know, Coomer, he told his little thing, I
10   hurting all them people, they don't care about that.        10   talked about My Pillow, it's when he came onboard. What
11   They figure if Mike Lindell can, you know, once he runs     11   are you talking about.
12   out, but I got other things, I just sold one building,      12      Q. When you went on his program you didn't know
13   I'm selling a house. I will keep getting money to fight     13   that he would be promoting My Pillow?
14   this cause forever. You can't say, you can't even say       14      A. No, I didn't, this is when he wanted to sell My
15   that, that, gee, Mike Lindell, he spent over                15   Pillow, so he said can I have you on my show. And when
16   $40 million, gee, is he drifting, no, it's all my own       16   I get a new podcaster I go on their show to talk about
17   money.                                                      17   My Pillow.
18      Q. My question was more geared towards being the         18      Q. Right. So when you went on Oltmann's podcast
19   CEO of this company and, and being on television gives      19   you knew that you would be talking about My Pillow?
20   you a platform, a public platform, people listen to you,    20      A. Yeah, he was a new podcaster, I had never met
21   they know who you are, right?                               21   him before. It's like any other podcaster, of course,
22      A. No, no, no. My platform over here, I have no          22   of course.
23   platform anymore because of what you guys did. I don't      23      Q. Did you ever have any discussions with Joe
24   have a platform to speak out anymore, I don't. I can't      24   Oltmann about, you know, this back story about Eric
25   go on any station in the country other than being           25   Coomer, how he got on some --
                                                      Page 302                                                        Page 304

 1   attacked, you did that. Unless, unless Business Insider  1          A. Never --
 2   or Yahoo, I can pull up today, Mike Lindell, there will  2          Q. -- Antifa call?
 3   be four attacks just today. That's the only way people   3          A. -- ever in my life did I talk about. I heard
 4   hear about me, the only way that they hear about this    4       about that after this thing and Newsmax, that's when I
 5   election crime, that's it.                               5       heard about Eric Coomer. In my life I had never heard
 6         I don't get to go on TV and go, hey, guess what,   6       that.
 7   that ship sailed with Smartmatic suit, Fox News. I was   7          Q. So you haven't --
 8   on Tucker Carlson one time in three years, three years.  8          A. I still don't know the story. Something you put
 9   I could go on, I could go on and talk about pillows all  9       in here about Antifa, I have no idea what you're talking
10   over with these talk hosts, I can't anymore, I've lost  10       about.
11   that, I've lost that. The only way the word gets out is 11          Q. So My Pillow never did any sort of independent
12   because they attack me. I could go right now and        12       fact checking about that story, let's send someone to --
13   they'll say, you know what, Mike Lindell, blah, blah,   13          A. Of course not. I didn't know the story ever
14   blah, blah, and it's attack, Yahoo, Business Insider.   14       went out on the podcast. Joe Oltmann, let me tell, this
15   When they get up to CNN and Washington Post, then they, 15       guy had, and we were looking for Frankspeech, he had
16   then it's a big attack, then you're right over target,  16       some technology, someone said, well, there's a guy named
17   they attack. But, you know what, the media out there    17       Joe Oltmann that's got technology. I asked about the
18   then hears. I didn't have Twitter, they took my         18       technology and then we decided to go with Johnston
19   Twitter. I didn't have a voice. What do you think, I'm  19       Howse, that was the only thing there. And then this guy
20   my own voice on Frankspeech, that's why I built it so I 20       wanted to sell My Pillow and I went on there to, like I
21   have one voice that I could put on my show, that's it.  21       would any other podcast, and I only went on there one
22      Q. Well, you've talked about these issues on --      22       time.
23      A. When?                                             23          Q. Well, you've been on at least four times.
24      Q. You've talked about election fraud issues on      24          A. No. Well, since then, since your lawsuit
25   some of your vendors --                                 25       probably, yeah. No, only, I'm talking pre-lawsuit,
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 1   you're talking after lawsuit, there's two different       1     an application to get in based on his podcast, I don't
 2   things, after you screwed me and before, you got that,    2     know, or a cyber guy, I don't know. I didn't invite him
 3   after you screwed my employees and before. This whole     3     on that stage, I didn't invite him to the thing, period.
 4   thing in the back where I called him, absolutely, that's  4        Q. So you didn't vet the people that were going to
 5   after you did this to my company.                         5     be talking --
 6      Q. So you think it's okay to defame someone after      6        A. No, there was a team, there was a team. No, no,
 7   they sue you?                                             7     no, Kurt Olsen and other people decided that, I didn't
 8            MR. MALONE: Object to form.                      8     decide. I was going on the stage myself for 72 hours.
 9      A. No, it's not defaming him, I'm telling you what     9     I didn't have anybody scheduled for that stage. You
10   you did to my company. And I will sit there and say      10     can, you can ask the guys that put it on. I was the
11   that's subjective. I can say anything I want. I can      11     only one scheduled when I got there, it was going to be
12   call you a criminal because I feel like you are what you 12     all me for three days, period.
13   did to my company, and you were part of that as much as 13             That's a fact, you can ask anybody that was
14   Coomer, both you two, and, and Chris Ruddy, whatever he 14      there. And then all of a sudden this red team shows up
15   had to do with it, but he's the one that told me I can't 15     and Kurt Olsen and Janet Lynn, they're saying, well, we
16   have you on anymore, Mike. I go who's Eric Coomer, what 16      got the schedule, we want these people up there. No
17   do I, what do I know about Eric Coomer.                  17     idea who they were. All these people I met for the
18         You guys wait a year and then you serve me         18     first time. That's the first time I met Joe Oltmann, I
19   papers on the steps in Colorado. After that, that's      19     didn't even remember who he was. He wasn't, he wasn't
20   when I really went after you, remember that part, after  20     on the stage, you know. There's a picture I guess of
21   this lawsuit. One, only one thing was ever said about    21     where he said hello. I never, you know, he said he met
22   you, about you, and that's after the Newsmax incident in 22     me there, I didn't know, I didn't know him from Adam.
23   the spring of '21. I never talked about you.             23     A lot of people that were at the symposium, I can't tell
24         After I left, after that it was different news     24     you if they were there or not. The only reason I say
25   after a week or two after Newsmax, I bad-mouthed him     25     Joe Oltmann was there is because you guys told me in
                                                     Page 306                                                          Page 308

 1   every single day for two weeks, and then I probably had     1   this.
 2   more stuff I had to do because, you know, this was the      2       Q. Pause button. Deep breath. We're going to take
 3   spring of '21. You guys from that point on, any time I      3   a break because the court reporter is getting tired, and
 4   bad-mouthed, any time anything came up, it was all that     4   frankly, I am too.
 5   week after you sued me.                                     5             MR. CAIN: So let's go off the record.
 6         I bet you can't even find anything in the last        6             VIDEO TECHNICIAN: We are going off the
 7   year. I don't bring up Eric Coomer. This is what you        7   record at 4:38 p.m.
 8   did to me. I reread this last night and that's why I'm      8             (A break was taken at 4:38 p.m.)
 9   so upset about it. This is the most frivolous thing         9             VIDEO TECHNICIAN: We are back on the
10   I've ever seen. And, and I was coming here, I was so       10   record at 4:52 p.m.
11   mad this morning, I go I didn't do anything, I said one    11             (Exhibit 72 marked for identification.)
12   thing after they attacked my company. Everything else      12   BY MR. CAIN:
13   in here, bringing up stuff at symposium and all that,      13       Q. Okay. Let's look at Exhibit 72, Mr. Lindell.
14   you guys, you guys attacked me in the, in the spring of    14   I'll just give you a second on this. This is, well,
15   '21. I didn't know anything, anything about Eric Coomer    15   I'll characterize it while you're looking at it.
16   before that.                                               16   Exhibit 72 is another symposium related email that
17      Q. Is that why you were okay with Oltmann coming        17   you're copied on. Do you see you being copied on the
18   into the symposium and talking about Coomer?               18   front page?
19      A. I didn't bring Oltmann into the symposium, I had     19       A. Mm-hmm.
20   nothing to do with that. I had nothing to do with that.    20       Q. We know that's a yes, but can you answer yes.
21   I didn't know who was coming, I didn't invite him, I       21       A. I said yes, yeah.
22   didn't invite him. There was a vetting of people that      22       Q. Okay. All right. And this kind of follows from
23   had to vet. You got to be invited if you were the          23   what your testimony was earlier that it was supposed to
24   media, a cyber person, or, or worked in government,        24   be Mike Lindell for 72 hours and things changed?
25   those were the three criteria. So obviously he put in      25       A. Yeah. I don't know who James Oaks is.
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 1      Q. Okay.                                              1   exhibit Dr. Janet Lynn is saying, "We worked out this
 2      A. And I don't, and Janet, whatever, she wrote        2   updated program agenda with Mike late last night. Days
 3   this. We worked off this updated program agenda. I       3   2 to 3 will be similar, but with new speakers, panel
 4   have no idea what she worked out with him. I didn't      4   guests and cyber data updates," okay?
 5   have, I never had any plan going into the Cyber          5      A. Yep.
 6   Symposium or scheduled speakers, and Janet will testify  6      Q. All right. Do you remember that happening?
 7   to that. Because when we went there I go, they told me   7      A. No, I don't remember. If we were on the phone
 8   to get off, she goes get off, you need to get off the    8   talking through what are we going to do, I don't
 9   stage, I'm not getting off the stage. And then they      9   remember -- I remember Doug Frank was going to be there
10   went to take a break, I go there's no breaks, that's    10   because I wanted him there, he's the one guy I wanted
11   right, take a break from the stage. She goes well, we   11   there because he had evidence that he had been in
12   have these other people. I go, good for you, I didn't,  12   scientific proof, and Phil Waldron because Phil Waldron
13   I'm speaking.                                           13   had also been in there, Phil Waldron had evidence.
14      Q. Well, that's what I'm trying to get to the        14   Those are the only two I see on here.
15   disconnect because this program agenda --               15         Now they're going, if she says well, I'm going
16      A. What program agenda?                              16   to find other speakers, or Kurt Olsen, I don't know. So
17      Q. The one that's attached at the end of this,       17   there was no, this thing here, if you watch it, it
18   which is Page 122, okay?                                18   wasn't, this schedule was not followed. I don't know
19      A. Yeah, I never seen this.                          19   where this came from, I never seen it. Did I talk to
20      Q. Okay. So that's, there's some, some disconnect    20   them about it, about this first day, she says I did,
21   here that I --                                          21   ongoing, it says right here if you look at it, this Mike
22      A. I have never seen this in my life.                22   Lindell and you got two speakers. I don't know, it
23      Q. Okay.                                             23   doesn't say, speaker 2 to be announced. This is all
24      A. So whatever Janet Lynn did with, with who is she  24   Kurt Olsen, Janet Lynn. These guys took over the thing,
25   here with, Brannon Howse and Kurt Olsen and Tim Tunes, 25    I had no, I didn't schedule one person on this thing, on
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 1   they certainly didn't work this out with me.             1   the Cyber Symposium, not one, other than myself.
 2      Q. But you were, there's a couple emails here.        2      Q. All right. So let's just, from your
 3   That email was sent to your My Pillow email on           3   recollection let's just break down the timeline leading
 4   July 30th, "Hi, Mike," it talks about the stage          4   up to the symposium. And you've told us that you were
 5   production flow.                                         5   going to be there for three days talking, that was in
 6      A. Did I answer, no, I didn't read this email.        6   your mind originally?
 7      Q. Okay.                                              7      A. Yep, yep.
 8      A. You need to understand, I don't, I rarely if       8      Q. Right?
 9   ever read emails.                                        9      A. And actually, there was two things, I forgot to
10      Q. Okay. Well --                                     10   tell you one thing. In my mind Brannon Howse was going
11      A. Ever, and they know that. So whatever they did    11   to be in a booth where we would, he'd be like a
12   here, that's their deal. And this kind of, this kind of 12   reporter, let's go back to the booth, and he would be
13   makes more sense now why they argued with me when I got 13   mostly from a booth interviewing people, cyber guests
14   there. I go, what are you talking about, this isn't,    14   and people in the audience, that was my plan.
15   this isn't what we're doing.                            15         So he would be interviewing like, like, you
16      Q. Okay. Well --                                     16   know, hey, how is, you know, what do you think about
17      A. I guess they got Phil Waldron. I mean, if you     17   what Mike is saying, and it would be me on stage and it
18   look what happened the first day, it probably doesn't   18   would go back and forth. That ship sailed when I got
19   match this. I guess it does say you have Dr. Frank,     19   there because then we, I got so busy on stage. And
20   Phil Waldron and Mike, the rest is Mike Lindell so, you 20   Brannon, he was actually upset, he goes, well, don't I
21   know, I guess that's, that kind of makes sense. I do, I 21   get to talk or whatever. I go no, there's, right now we
22   think I knew Dr. Frank was going to speak, that's the   22   got to get to, I have to talk, you know.
23   only one I knew of.                                     23      Q. That ship sailed when you got there --
24      Q. Yeah, maybe this one will refresh your            24      A. Because there was, it was all, there was too
25   recollection a little bit. At the beginning of this     25   much that I had to say and we didn't have Brannon
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 1   going -- here's what I set up. I wanted four things         1   were in our whole election system.
 2   going, I had a cyber room, the evidence would go down to    2         That's what you're going to see very shortly.
 3   the cyber room, okay, this is what I set up. I don't        3   In fact, I might just throw that at you, you can get a
 4   know about all this stuff for this, for this stage that     4   copy when we throw out the evidence, that would make it
 5   she said to be announced, to be announced.                  5   nice and public. That was just that one piece that they
 6         My setup that I set up the cyber thing was four       6   seen when I was told by this colonel not to put it out.
 7   things, I wanted this is where all the eating is going      7      Q. Okay. Well, it sounds like, I don't want to put
 8   to be, this is the cyber room, we're going to feed          8   words in your mouth, but it sounds like you had one
 9   evidence to the cyber guys, this is the election room       9   vision for the symposium and Kurt and Janet Lynn --
10   where you could go in there and do election and watch      10      A. No, there was, whoever, this red team that came
11   how they flip it in real-time, any cyber guy, which we     11   in there, this red team, I don't know where they came
12   did and the guy hacked it right from the table. So you     12   from. Kurt, Janet, Phil Waldron, whoever was, you know,
13   had machines in there, voting machines showing             13   and probably six other people in that room, they had
14   real-time, so show people here's how they did it, here     14   their own little idea what they were going to put up to
15   it was easy, okay. And then, and then we had another       15   go out there. All these people that were invited, all
16   place where you could go and tune in your county and see   16   of a sudden they get to go up on stage, it was crazy.
17   what happened in the election, that was that space. And    17         I'd be up doing an interview with CNN and I'd
18   then we had Brannon Howse in a booth for Frankspeech.      18   look down and there's a, what's his name, that Professor
19         And as far as, as far as the stage up here, I        19   Clements I met, who is that guy. All these guys coming
20   didn't really care. I know I was going to be up there      20   I never met before in my life. And I didn't invite
21   as much as I could and then I would be doing interviews.   21   them, they were invited as cyber experts. So they must
22   And the rest was Janet Lynn and Kurt Olsen, whatever       22   have cleared, cleared, what do you call, the screening
23   they wanted to put up there. My thing was, the whole       23   team, you had to show you were either someone in
24   purpose of the whole event was here's the evidence,        24   government or media or cyber, you had worked in that
25   bring your own cyber guy, and you have legislators or      25   realm.
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 1   any governor, we invited both Democrat and Republicans      1      Q. Was -- well, strike that. I know you, you
 2   across the country and the media.                           2   quibble with the idea of a red team, but you had a room
 3         So here's the cyber guys, wow, yes, this              3   set up for cyber --
 4   happened, and then this is from the 2020 election. And      4      A. I didn't set that up, that was, no, the red team
 5   then over here these guys would go here, it's right from    5   was at the hotel. There was a room they got that I
 6   their own guys, and the media would report it. That's       6   think Kurt Olsen got. All those fellows, Kurt Olsen was
 7   how it was supposed to go. This wasn't a thing of a,        7   driving the bus on that.
 8   other than Dr. Frank, I did want him to show his            8      Q. Okay. All right.
 9   algorithms because those come right from the voter rolls    9      A. That was a, I walked in there, I go who are all
10   that we had, it's a different evidence.                    10   these guys. I didn't know anyone that room except for
11      Q. When did you realize that you were not going to      11   Doug Frank I had met before one time, I think one time,
12   be able to show the entirety of the PCAP data?             12   that might have been the first time we met. No, the
13      A. No, we had the whole, we had the PCAP data. It       13   second time because he was in Absolute Interference, so
14   was Saturday night when I was physically attacked and      14   I met him one other time. And I had not met, or then,
15   Waldron said don't bring down the China stuff, he said     15   I'm trying to think who else, and I met this Todd that
16   they're going to put that in the data. We were             16   was in the room. Other than that, I never met anyone in
17   releasing data. The thing was, the data we were            17   the room, I go who are these people.
18   releasing, we couldn't release the China, this is what     18         And they're telling me how they're going to run
19   he told me, you can't release stuff, and this was after    19   the Cyber Symposium. I go, I go, you ain't running it,
20   I was attacked. I mean, there were two separate            20   this is my event, I'm getting the word out. They're
21   incidents. And he said we have a report they're going      21   trying to tell me, well, we're going to get this speaker
22   to put a poison pill in the data because they knew that    22   and that speaker. I'm going, you know what, I'm doing
23   that part of the data would show China intrusion,          23   this. And finally the second day I just went, I had
24   100 percent it showed China was in the room. It doesn't    24   interviews to do, I said, you know what, I'm losing my
25   say they did anything, but they were in the room, they     25   voice, go ahead, and whatever they did, they did.
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 1      Q. Did any independent cyber expert tell you while       1   testify to this. We gave him it. I said you could be a
 2   you were there that the data that they had reviewed was     2   hero, instead of a traitor you could be a hero, bring it
 3   worthless?                                                  3   out. I said just tell the public it's true, they can do
 4      A. No, nobody said that other than Josh Merritt to       4   everything, he goes okay.
 5   a media outlet. I had, when I just said Alan Duke           5         He got it and he found out it's 100 percent
 6   there, Alan Duke the Facebook fact checker who had          6   true, and you know what he did, he said I'm not, and you
 7   covered up all my stuff on Facebook, he was invited, him    7   can ask Kurt Olsen, I am not going to go public with
 8   and a guy named Martin, and a cyber guy from the            8   this. He said we are, we, we are fact checkers to find
 9   Facebook fast checker. They called me, they had my cell     9   out if something is true. I said well, you found out it
10   phone number, they called me and they, and he said Mike,   10   is true. He says yeah, we don't have to put a false
11   what you're putting out, there was a duplicate of          11   thing over it. So he goes you're welcome to put it up
12   Pennsylvania I believe and Wisconsin. And he said, and     12   on your Website, which we did, it's on Frankspeech right
13   I said, well, Martin, I said, it's from the 2020, right.   13   now, but he won't put, he won't say publicly it's fact,
14   He said, yeah, but you had a duplicate file. That was      14   but he won't cover it up. Oh, thank you, Alan Duke, you
15   just a mistake that they were labeled, that was the only   15   know, that's disgusting. Do you get that, what he said,
16   one. But it made me feel good, I go it's right, right,     16   what he did to us.
17   and he goes absolutely, it's time stamped from the 2020    17         I'm so upset with that guy, more than you guys,
18   election.                                                  18   you know, because this guy could have got it all out in
19         And I go, and all I wanted to show, it's like a,     19   the open. He had the whole enchilada and he won't put
20   all I wanted to show here's a tip of an iceberg. You       20   it out and say it's all true, everybody, because he's
21   can't show, it took me six months to have all these        21   afraid, I think he's in fear. But he sent me little
22   people validate this. And then what we wanted to show      22   pictures of himself with Raffensperger and all the
23   them is, hey, here it is, is it from there or not, and     23   others, hey, Mike, how's it going. I go Alan, it's not
24   you show them that and now everybody, the media would      24   funny anymore.
25   say it's from 2020, and here everybody could have it.      25      Q. All right. So he had the whole enchilada, as
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 1   We were putting it in that 2015 Cyber Act and it would    1     you put it.
 2   be everywhere and everybody would like into it and it     2        A. Yeah.
 3   would be over, I could have went home, went fishing,      3        Q. By when he signed an NDA?
 4   everything done, beautiful day, everybody take a look at  4        A. Mm-hmm.
 5   it. And then and everyone said it was time stamped,       5        Q. Is that yes?
 6   that's all I thought, oh, this is great, it's perfect.    6        A. He got to look at, right, he got to look at it.
 7   Martin was only one, it was one thing was duplicated.     7     He got PCAP, he got the whole whatever part of the
 8   And he is an expert and he is the one that covered stuff  8     thing, just part of the thing so he could look deeper.
 9   up on Facebook. And I'll tell you one more thing we did   9     Because all these guys at the symposium, you can't look
10   with Alan Duke.                                          10     in three days, some of these guys took six months to
11      Q. Martin?                                            11     validate stuff. We gave him an actual PCAP, or the data
12      A. Martin is partners. Alan Duke owns Lead            12     from inside the machines, here you go.
13   Stories, everything you see covered up on Facebook and   13        Q. The whole, the whole dataset or just the tip, as
14   Twitter that says false information, that was those      14     you said?
15   guys. He has three employees, four, and Martin is his    15        A. He got not the whole dataset, he got a big
16   partner, he's over in Belgium, those two would cover     16     chunk, whatever it was, you know, he got enough to
17   everything up. I got in battles with Alan Duke. One      17     show -- it's on Frankspeech, you can go look at it.
18   time I forwarded my phone number, or I put his number,   18        Q. So who's coordinating that aspect of it, like
19   his Website up and he forwarded all those calls to my    19     transmitting data to people like him to review?
20   phone number and I forwarded them back to his.           20        A. No, no, this was on, this was on, some of it
21         But let me tell you what we did with Alan Duke.    21     went public from the, from the Cyber Symposium, this was
22   We took the evidence, I gave him the evidence, signed an 22     stuff from there.
23   NDA, okay, with him. This is after the Cyber Symposium, 23         Q. Okay.
24   well after. I gave him guts of it and said here, I'll    24        A. So we took it and gave him more of a tip because
25   sign an NDA, and you sign this. We had Kurt, Kurt can    25     we, you know, probably some of the SIEM stuff too, I
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 1   don't know.                                                   1   this, that I can do it, but the rest of the stuff Dennis
 2      Q. And the six months of the review that you               2   Montgomery has cannot be released. I would have
 3   testified about, was that done by the three people you        3   released it then too. Alan Duke has got a chunk, but it
 4   mentioned early in the day whose names you can't give         4   wasn't released to the public. I wanted him, maybe he
 5   me?                                                           5   will now that the government said that, but he still
 6      A. No, no, no, those were three that had validated         6   won't. That's what I'm upset with him about.
 7   Dennis Montgomery's work.                                     7         As soon as the government said they could
 8      Q. Okay.                                                   8   release it, I said Alan, now you can go say it's all
 9      A. That worked with him back in the day. They              9   real, you've seen, you've seen the mountain, he's seen
10   validated Dennis Montgomery's work and yes, it's real.       10   the mountain, it shows the intrusion in our elections
11   I had it validated by people I didn't know, three guys I     11   through the machines, 100 percent. So now at least
12   never met before in my life that were professional cyber     12   we'll be able to put that out now that they've released
13   guys, one that had worked for the government, he had         13   it, the government said this, you know. We subpoenaed
14   great credentials.                                           14   Dennis Montgomery, our lawyers subpoenaed Dennis
15      Q. Are these people that you can tell me who they         15   Montgomery to, you know, here, put this out there. It's
16   are?                                                         16   evidence in my case too, you know what I mean.
17      A. No, I don't want them attacked because they're         17       Q. Right. So you've said a lot again, I'm not
18   out there. And you could, I can tell you this, the guy       18   going to go through it all. A couple of things that I
19   that, the only one I can tell you, and this is after the     19   understood were, No. 1, to the extent that there was an
20   Cyber Symposium they had another image that they             20   agenda for the show, or the symposium.
21   validated was a guy, have you heard of Jeff O'Donnell?       21       A. There was no agenda in my mind.
22      Q. Doesn't strike a chord.                                22       Q. Okay.
23      A. I can give you his name, he's another cyber guy,       23       A. Absolutely not. I was so worried, what are we
24   because he doesn't care if his name is out there, he         24   going to do, I'm just going to get up there and talk.
25   gets attacked all the time. The other ones don't want        25   And I was, I was going to keep throwing it back to
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 1   their names out there. These guys are professionals,          1   Brannon Howse to interview people.
 2   they work, this is what they do. One of them is top           2      Q. You said that.
 3   secret, does missions for the government, missions for        3      A. Yeah. And then they would all talk amongst
 4   them, this is what he does.                                   4   themselves in rooms and we were going to, you know, it
 5      Q. Well, can you understand members, whether they          5   became something a lot different in my mind.
 6   were cyber experts or the media, were expecting to see        6      Q. Well, it was -- don't get upset.
 7   the entirety of the PCAP data presented at the                7      A. Right.
 8   symposium?                                                    8      Q. It was disorganized, at best.
 9             MR. MALONE: Objection, foundation.                  9      A. Oh, it was terribly disorganized, terribly
10      A. You know, I don't know. The challenge was said         10   disorganized.
11   there, you can't validate it all in, you know, as they       11      Q. And --
12   were getting fed stuff, you can't, it took six months,       12      A. Because it wasn't what I originally wanted to
13   there's 40 some terabytes of data, 40 some terabytes of      13   do.
14   data, that's a lot here. So you have this window.            14      Q. Right.
15         All it was was supposed to be you guys check it        15      A. Because certain people changed that.
16   out, it's from the 2020 election, and you guys better go     16      Q. So and it got to the point where there were
17   out and tell the world that it's real and then go in,        17   people on stage that you had no idea were going to be
18   and then they could have all validated and done              18   there talking?
19   whatever. That's what I wanted to, everybody,                19      A. No, none of them. The only one I knew was going
20   everybody, here, take it. Or at least the government         20   to be there was Dr. Frank, that was the only one. And I
21   release that gag order, you know. It was a catch-22.         21   knew, and I didn't really know he was going to be that
22         I wanted the government going, here, you know          22   person until he was in that room.
23   what, if I get in trouble, you know, so be it. Now the       23      Q. Okay. Why didn't you do more to vet the people
24   government has said just, what was it, four months ago,      24   that were going to be talking, I mean, this was --
25   yep, Mike Lindell can release it. He said, he said           25      A. There wasn't going to be no, in my mind nobody
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 1   was going to be talking. You need to understand this         1   to go interview with CNN. I was losing my voice, I went
 2   part. I, I had it set up where the, Brannon Howse was        2   and did interviews almost all day, CNN because they were
 3   going to be, I wasn't even going to be a host, I was         3   there, another outfit. I was two hours interviewing
 4   going to tell my evidence, tell my thing, and then dump      4   with one outfit, at least an hour and a half with CNN,
 5   it to the cyber guys and everybody, it would be an           5   and I just went to the media, right to the media and got
 6   interaction thing where people would be walking around       6   interviewed.
 7   and they would be interviewing. Everyone had their own       7         I had no idea, at one point I looked down the
 8   booth.                                                       8   stage and I had Dr. Doug Frank on the side sitting
 9          But what it became, all of a sudden CNN,              9   there, I go, I did call down, I go tell him to get off
10   everybody shows up and all the cameras are in the back.     10   the side of the stage and get up, you know, because it
11   So I'm going okay, we've got to keep going and talk to      11   just looked bad cosmetically.
12   this these people, in my mind. So I stayed on stage if      12      Q. Did you not know, you said at some point or at
13   you know the first day, I think the whole day almost, I     13   one point you just turned it over to them, I --
14   don't think I left that stage. I don't know, you know.      14      A. No, no, it was them kind of from the beginning.
15   I know at one time they wanted to take a break and I go     15   But when I went on that stage, I got on the stage, I
16   no, we can't take a break. And that's why I know it was     16   controlled when I got on that stage, everything else was
17   commercial free because there wasn't one minute of          17   them.
18   break.                                                      18      Q. And the them was Janet and Kurt Olsen?
19          And but my mind was this, I would be throwing        19      A. Kurt Olsen, Janet and whoever they were talking
20   the camera back to Brannon Howse, he would be               20   to in that room. And I don't know who else was involved
21   interviewing, like let's say governors or legislators or    21   in that planning, I don't, I absolutely don't to this
22   senators and say, hey, what do you think so far, what do    22   day.
23   you think so far. That's what I wanted it to be. It         23      Q. Did you want Tina Peters on the stage?
24   was just to, imagine, you know, because nobody would        24      A. When Tina Peters, I never met her before in my
25   listen, no judges would look at the evidence or nothing.    25   life.
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 1   That's all I wanted.                                      1         Q. That wasn't my question.
 2      Q. But again, the disconnect in my mind is you had     2         A. Okay. Well, I'm going to tell you, explain
 3   the absolute authority of how to run the symposium,       3      that. When they came to the symposium, the Colorado
 4   didn't you?                                               4      group, when they got there she said she had just got her
 5      A. And I set up -- no, not really.                     5      door bashed in. I said well, you should take her up and
 6      Q. Why?                                                6      tell her story on the stage. I didn't know who she was
 7      A. If I wanted to sit there and say, I got tired, I    7      or why they bashed her door. She said they had bashed
 8   mean, I was on that stage, I didn't leave that stage, I   8      it and broke in her office. I'm going, she should get
 9   said my speak. The hour the cameras didn't work, they     9      on the stage. And then she has a couple lawyers go,
10   attacked them, made the biggest attack on the cameras.   10      well, we don't think so. I go why wouldn't she tell
11   I told my whole story of crack addiction at one point,   11      that about getting your door bashed in. That's all I
12   you know, I did almost for an hour. And I'm going, and   12      knew. And the lawyers finally said okay, Tina, it's up
13   I kept putting there.                                    13      to you, and she went on the stage. No idea who she was.
14         And then I go okay, you cyber guys, you can all    14      She was up there with I think with three other people, I
15   go, and they started dumping evidence. But I wanted to   15      think there was Mark Cook maybe or Janet, or I mean
16   keep, keep the camera moving, I never put it back to     16      Shiroma might have been there. There was other people
17   Brannon Howse. At one point Janet Lynn said these guys 17        that were, that came on that bus.
18   are going up. I go no, they're not, who said you're      18            You got to realize, the planes came in, I had no
19   running the show. I said I'm going to keep talking.      19      idea who was on these planes. These were people that
20   They wanted me, the one guy said get him off the stage.  20      vetted that who we could get rides because my plane all
21   I go no, I'm not leaving, I want to tell, you know,      21      over the country brought in as many people as they could
22   because I wanted to get the word out on this.            22      whether, we didn't know them, but they were vetted to be
23         And then, then by the night, I think it was, I     23      there.
24   don't know at one point it was, for sure the next day, I 24         Q. So you didn't know then that they were going to
25   said you know what, you guys do what you want, I'm going 25      present the Mesa County data?
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 1      A. No idea, absolutely no idea. I'm looking down,      1                A. Yes.
 2   I go what's on the, what's on the screen. I was up at     2                Q. Okay. And if, you have the unilateral authority
 3   CNN being interviewed, I had no idea what they were even 3              to determine when a distribution is made?
 4   talking about.                                            4                A. No, that's done by the, that's done by a formula
 5      Q. Did you know who Conan Hayes was?                   5             that's in our books. That, you can't say when a
 6      A. Who?                                                6             distribution is made.
 7      Q. Conan Hayes?                                        7                Q. Okay.
 8      A. Yeah, I knew who Conan Hayes was.                   8                A. We have to every year have to pay, sometime
 9      Q. Yeah. What was his role at the symposium?           9             during that year you have to pay up to the highest tax
10      A. What was his role at the symposium?                10             brackets half of their, to cover their taxes.
11      Q. If any.                                            11                Q. Okay.
12      A. His role was he was a cyber guy that was there     12                A. I don't control that, that's -- and the account,
13   and he is, he is a cyber guy, I knew his name, I knew    13             normally you can't even do anything if the account gets
14   him, Conan Hayes.                                        14             down to here, you can't, but it's been below that for
15      Q. All right.                                         15             quite a bit now where we can't, we can't do, there was
16      A. But I didn't know anything about any Mesa image.   16             no distributions I think probably the last year and a
17   Conan Hayes, Conan Hayes did other stuff for me          17             half because we had a loss.
18   validating Dennis Montgomery. I don't know anything      18                Q. Okay.
19   else Conan Hayes did. He was one of the guys that was    19                A. And you can't distribute when a loss and you
20   validating my Dennis Montgomery info.                    20             can't, you have to distribute to cover taxes.
21      Q. Okay. So who was paying his retainer?              21                Q. Right, right. And it sounds like that you
22      A. Who?                                               22             actually have a formula at My Pillow that tells the
23      Q. Who was paying Conan Hayes?                        23             controller when a distribution can be made to
24      A. I don't know who was paying Conan Hayes.           24             the shareholders?
25      Q. Was --                                             25                A. No, you have to by the tax year. That's the
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 1     A. I pay him now, he works for me now.                            1   only thing, that's the only formula. You don't get to
 2     Q. Okay. Then?                                                    2   distribute when it reaches a certain point. You, you
 3     A. Then, I don't know if he was even getting paid.                3   have to distribute -- like here's the problem, you
 4 I don't know, I'd have to look at the months. If I paid               4   probably don't understand how it works. If your
 5 him I believe from the Cyber Symposium on, maybe a month              5   inventory is so high, this is another thing, a problem
 6 earlier, I don't know. Because it probably was a month                6   we had and why that hurt us, when your inventory, if
 7 earlier because he was another validation I wanted to                 7   your inventory, if you have paid for inventory, you got
 8 validate of Montgomery stuff, he is one of the three.                 8   to pay that, that is your income, you got to pay tax on
 9     Q. Okay.                                                          9   that on your taxes as income even though you might not
10     A. So I probably, I met him I suppose June, July                 10   have got the cash for it. Do you follow me?
11 and I paid him, I probably gave him some money then to               11      Q. I do.
12 validate because there was about ten cyber guys were                 12      A. That's, that's the problem we had. We've always
13 validating leading up to the Cyber Symposium and he was              13   been able to balance that. Now that's been out of whack
14 one of them.                                                         14   because you have all the inventory that was paid for,
15     Q. Did you have to take or did you authorize My                  15   but because our sales are so down, then you got
16 Pillow to, to make a distribution of funds so that you               16   inventory so tax, or people had to pay taxes, we had to
17 could pay for the symposium?                                         17   borrow money just to even do a distribution, I had to
18     A. What?                                                         18   get that money too, that was in 2021.
19     Q. That's maybe a little too lawyerly.                           19      Q. So to the extent that My Pillow pays you, it's
20     A. No, My Pillow didn't pay anything for the                     20   either, and you've already said you don't receive a cut
21 symposium.                                                           21   of a promo code like a revenue share personally?
22     Q. No, no, I know that, that's your testimony. My                22      A. No, no.
23 question is a little different. You're a shareholder of              23      Q. Are you paid a salary?
24 the company and you receive distributions when the                   24      A. Yeah.
25 company makes a profit, right?                                       25      Q. As the CEO?
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 1       A. Yeah.                                                 1             MR. CAIN: What's the next number?
 2       Q. So you get money from the company that way?           2             COURT REPORTER: 73.
 3       A. Yeah.                                                 3             (Exhibit 73 marked for identification.)
 4       Q. And then you get money from the company through       4      A. That's so funny. What was your question about
 5   distributions?                                               5   him?
 6       A. Mm-hmm.                                               6      Q. Just a minute. So Exhibit 73 is, is from My
 7       Q. That's a yes?                                         7   Pillow's production, Bates 730, it's an Excel
 8       A. Yes.                                                  8   spreadsheet, so I don't have a printout for you because
 9       Q. Is there any other mechanism that you're paid         9   there's too many cells.
10   compensation at My Pillow besides those three things?       10      A. Okay.
11       A. No, no.                                              11             MR. CAIN: So we're just going to, if this
12       Q. Company car?                                         12   is agreeable, I think there's been two exhibits that are
13       A. No.                                                  13   spreadsheets, or just one. We'll email that to her and
14       Q. Company plane?                                       14   to you.
15       A. No.                                                  15             MR. MALONE: That's fine.
16       Q. Okay.                                                16             MR. CAIN: Because it's --
17       A. I guess a pickup, my pickup, I think that's in       17             MR. MALONE: As long as we have the Bates
18   My Pillow's name.                                           18   on the record, that's fine.
19       Q. Okay. All right.                                     19             MR. CAIN: Yeah, it's My Pillow 730.
20       A. There is a pickup.                                   20   BY MR. CAIN:
21       Q. Okay.                                                21      Q. Let me see if, this is, you may have to bring
22       A. A Dodge Ram pickup.                                  22   this a little closer because it's hard to see.
23       Q. That's what I drive.                                 23      A. I can see it, I can see it, yep.
24       A. I don't get to use it for personal stuff though,     24      Q. Okay. So this is multiple tabs on this, which
25   if that's what you're asking me, if you're talking taxes    25   is why I couldn't print it out. So my question to you
                                                      Page 334                                                           Page 336

 1   or whatever.                                                 1   was, has My Pillow performed an investigation on the
 2      Q. Part of what we had asked you to talk about            2   background of Eric Coomer at any point?
 3   today is the investigation to the extent that you did        3      A. No, I haven't even. So, no, My Pillow,
 4   through My Pillow any investigation of Eric Coomer?          4   absolutely not. I don't even know what this is.
 5      A. Nobody at My Pillow did investigate Eric Coomer.       5      Q. Okay. Well, your company produced it. Do you
 6      Q. Okay. Well, My Pillow did produce some                 6   know how your company became in possession of this
 7   information on Eric Coomer.                                  7   information?
 8      A. The only thing, the only thing we would have           8      A. I have no idea. I don't know what it is. It
 9   would be as a podcaster, what the name of his podcast        9   looks like Facebook pages.
10   is, we would mail him products so he tries it.              10      Q. Yeah. If we're looking at the first cell on the
11      Q. Well, he's not, he's not a client or a vendor         11   left it's, that's A and it goes down through, I'm
12   for you. I'm just asking about --                           12   scrolling through, various people that apparently are
13      A. No, no, he is a podcaster like every other            13   Facebook friends with Eric Coomer.
14   podcaster, what do you mean.                                14      A. Yeah, I have no idea, I have no idea, I don't
15      Q. No.                                                   15   know. I have no idea who would have produced this or
16             MR. MALONE: He's talking about Coomer.            16   where you got it.
17      A. Oh, Coomer, I'm sorry. No, I have no idea who         17      Q. I got it from you.
18   he is, I've never met him, I don't know who he is, other    18      A. Well, you didn't get it from me because I don't
19   than when he did this to me.                                19   know who this is or what this is.
20      Q. Who, who did you think I was asking you about?        20      Q. Well, I've asked for --
21      A. I thought you were asking about, what's his           21      A. I have no idea what this is. I don't even know
22   name, Joe Oltmann.                                          22   who these people are. And My Pillow would not be able
23      Q. Oh, yeah.                                             23   to produce this, how would they get it. It looks like
24      A. If Eric Coomer had a promo code he probably           24   it came from Facebook.
25   wouldn't have done this to me.                              25      Q. All right. I hear you --
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 1      A. Who, who is the person you got it from?               1   get it from me. I didn't provide this, I don't know
 2      Q. I got it from your counsel, this was produced in      2   where they got this. You'd have to, if I were you I'd
 3   your production.                                            3   ask that guy right there, I'd blame him. Seriously, I
 4            MR. MALONE: That's fine, just answer what          4   don't know where you guys got this, can you say.
 5   you know.                                                   5      Q. We can, he can if he wants, otherwise we can
 6      A. Okay. I don't know what this is.                      6   work it out.
 7      Q. All right. Well --                                    7      A. No, I, I will tell you where he got it, because
 8      A. I never seen it before in my life.                    8   I would like, I would want to know where this came from.
 9      Q. Okay, thank you for that. However, I need to          9   And it didn't come from My Pillow because I know, I have
10   know the source of this investigation, who compiled the    10   never done an investigation on Eric Coomer.
11   information.                                               11      Q. Well, you may not have personally, but --
12      A. This doesn't look like an investigation, it          12      A. Nobody at My Pillow would have. The only one
13   looks like a list of names.                                13   that would have would have been these guys maybe for
14      Q. Okay. It looks like a list of names, I agree.        14   this case.
15      A. If you say, My Pillow or who produced this?          15      Q. Okay.
16      Q. My Pillow.                                           16      A. I 100 percent know no one at My Pillow did an
17      A. Okay. When you say My Pillow, somebody had to        17   investigation. They wouldn't even, none of them would
18   produce it from My Pillow. Why are you saying My           18   even know what they're investigating.
19   Pillow? Did you get it from Frankspeech, did you get it    19      Q. That's why I'm asking you the questions.
20   from Mike Lindell, Lindell Management?                     20      A. Right.
21      Q. My Pillow.                                           21      Q. I don't know the answer to these questions.
22      A. Then you'd have to ask these guys because I have     22      A. Okay. I'm, I'm just telling you, I know
23   no idea where they got it.                                 23   100 percent that did not come from a My Pillow employee.
24      Q. Okay.                                                24      Q. Okay.
25      A. I don't know why they would tell you they got it     25      A. It didn't even come from Lindell Management.
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 1   from My Pillow because they didn't it from My Pillow. I  1      This is crazy.
 2   bet you it's a mistake and they got it from, even        2          Q. Why, why is it crazy?
 3   Lindell Management wouldn't have this.                   3          A. Because none of them, there's nobody at My
 4      Q. So you never seen this information --              4      Pillow that worked on anything with me with election
 5      A. 100 percent, no. I don't even know what it is.     5      crime, period. And I never ordered an investigation on
 6   This is crazy. I have no idea what this is, this would   6      Eric Coomer, ever.
 7   mean nothing to me.                                      7          Q. Do you know how this information apparently got
 8      Q. So you obviously didn't review it when you were    8      to My Pillow?
 9   preparing to testify, right?                             9          A. I don't even know where you got it, I have no
10      A. No, I never looked at this in my life.            10      idea. I'm going to be asking them a lot of questions
11      Q. All you looked at was --                          11      because this certainly isn't My Pillow.
12      A. This is right now. I looked at this, right        12          Q. Okay.
13   here, your wonderful complaint attack on me. I didn't   13          A. If they got it from some email or some My Pillow
14   look at this, I'm looking at it for the first time. I   14      site, I don't know.
15   have no idea. I disagree you got it from My Pillow.     15          Q. Does My Pillow have investigators?
16   Somebody, whoever did your, or what do you call it,     16          A. No, zero. The only, you know who has
17   discovery, made a mistake. I don't know where they      17      investigators, Mike Lindell, personally, boom, that's
18   pulled it from, but it wasn't from me, My Pillow.       18      it.
19   Unless you have some My Pillow employee on Facebook. I 19           Q. So did Mike Lindell personally hire an
20   have no idea, this is, I have no idea where you got it. 20      investigator to compile information on --
21   It doesn't say it's from My Pillow.                     21          A. No, no.
22      Q. It actually is labeled My Pillow 730.             22          Q. -- Eric Coomer?
23      A. Where?                                            23          A. I never hired anything on Eric Coomer, ever.
24      Q. Up on the top.                                    24      The only thing I ever did on Eric Coomer is one
25      A. Okay. I don't know who did this. You didn't       25      statement. Do you want me to read it to you, you've
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 1   seen it, after what he did to me at Newsmax. I read,        1      Q. Before you started talking about --
 2   it's one statement, everything else I said came after       2      A. I didn't even know, I don't know anything about
 3   you guys did this lawsuit.                                  3   the guy.
 4       Q. Well, you know he's associated with Dominion,        4      Q. Right. Before you started talking about him,
 5   Eric Coomer?                                                5   you didn't know anything about him, did you?
 6       A. I did not know it until Newsmax, I did not know      6      A. No, I didn't know any, I still don't know
 7   it until you guys filed this suit against him. I go         7   anything about him. I know one thing about it, what he
 8   what are you doing and he goes, he says this Eric           8   did to me with Newsmax, that's the only thing. Every
 9   Coomer, when I was talking about him, I said who the        9   comment I made after that was because of that, what he
10   heck is Eric Coomer. I knew nothing about Eric Coomer      10   did to Newsmax. I don't know where he lives, I don't
11   until Newsmax until you guys, or until you did that to     11   know anything about him, zero.
12   Newsmax and My Pillow. Now after you sued me over in       12      Q. It sounds like the Newsmax issue angered you?
13   Colorado, I probably said a few things about you.          13      A. Yeah, it hurt us, it hurt my company, it was
14       Q. All right. I'm going to just scroll through         14   horrible. What do you mean did it anger me. I was
15   these tabs, maybe that helps.                              15   worried, I get worried about my employees. That's one
16       A. Helps what?                                         16   thing that went right to the heart of My Pillow, you
17       Q. I don't know, we'll see. The second tab             17   hurt My Pillow, right, you did, you.
18   appears, it says EC planning contacts, do you see, I'm     18      Q. Okay. Next tab --
19   going to switch to that. And it has a list of 30 --        19      A. And you did it twice, you doubled down, and then
20       A. No idea.                                            20   you did a lawsuit a year later. Now when you go after
21       Q. 30-ish names.                                       21   Newsmax and say don't have Mike Lindell on your show
22       A. I have no idea. I don't know anybody on there.      22   ever and talk about My Pillow, you know, and then this
23       Q. Have you ever seen this information before?         23   stuff. No, I know nothing about this.
24       A. No, never in my life.                               24      Q. Next tab is his, purports to be cycling
25       Q. Eric Coomer, or EC relatives --                     25   contacts, he used to be a --
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 1      A. No.                                                   1      A. I don't have any idea what this is. I never
 2      Q. -- contacts?                                          2   seen this, a spreadsheet like this, I've never seen, I
 3      A. No.                                                   3   never seen a spreadsheet like this.
 4      Q. It shows his mother-in-law?                           4      Q. Well, maybe you've seen this next tab, other
 5      A. No. I would say you just got this yourself            5   contacts?
 6   because I have no idea where this came from, I have         6      A. No.
 7   never seen it before.                                       7      Q. It says info from Joey Camp?
 8      Q. I didn't, it's not from me, I'll represent that       8      A. Nope, I don't know who that is.
 9   to you.                                                     9      Q. Various people with some information on them,
10      A. Okay. Well, it ain't from me, it's not from me       10   you've never seen that?
11   or My Pillow, that's a fact.                               11      A. No, ever.
12      Q. Well --                                              12      Q. Jennifer Morrell, bolded there?
13      A. I don't care your thing says you got it from My      13      A. I don't know who they are.
14   Pillow, you got it in My Pillow's discovery. I'll have     14      Q. Radical friend?
15   to find out from the lawyers why they put that in My       15      A. Nope, don't know who they are.
16   Pillow's discovery.                                        16      Q. Passwords, this tab says passwords. And I'll
17      Q. Can you understand why I might think it's coming     17   just scroll down. Are you following with me?
18   from My Pillow?                                            18      A. Yeah.
19      A. I don't know why. Because, because it was in a       19      Q. And it looks like based on the numbers,
20   packet you got in discovery, that they might have          20   approximately 197 email addresses?
21   grouped Frankspeech, Mike Lindell. But even if it was      21      A. Okay, and why is there passwords there?
22   Mike Lindell grouped in there by mistake, I never          22      Q. Well, I was hoping you could tell me.
23   ordered any investigation on Eric Coomer, ever.            23      A. I have no idea. I don't know, I don't have,
24      Q. Right.                                               24   this is nothing from me.
25      A. Ever.                                                25      Q. Okay. So there's Smartmatic employees here?
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 1      A. I have no idea, absolutely none.                       1       A. I'm just telling you for the record, I told you
 2      Q. With what appears to be their email?                   2   what I know about it. 100 percent it did not come from
 3      A. I don't know where you got this, you know,             3   a My Pillow employee or Mike Lindell.
 4   you're going to have to ask these lawyers. It looks          4       Q. Okay. But you're not, you're not disputing the
 5   like you planted this, to be honest with you. I have no      5   fact that it was in the possession of My Pillow?
 6   idea what this is.                                           6       A. I'm disputing that because I don't know where
 7            THE WITNESS: This is, do you know, did we           7   you got it. You can say you got it from my attorneys
 8   give them this, I can ask you that.                          8   and I don't know where they got it. And they're going
 9            MR. MALONE: Sure, Mike, we did give it to           9   to have to explaining to do to me because if they did
10   them.                                                       10   discovery, I think this had to come from somewhere else
11            THE WITNESS: We did.                               11   or somebody planted it because it didn't come from a My
12            MR. MALONE: Yeah, they didn't plant it.            12   Pillow employee. Obviously you should be able to go
13   And you can just tell him what you know about it.           13   back and see if it came from a My Pillow employee, but
14      A. Okay, zero.                                           14   it's not on there.
15      Q. ES&S, vogue.com passwords for those employees?        15       Q. Sir, not to defend anyone, but we did ask for
16      A. (Shaking head.)                                       16   this information.
17      Q. Okay. On the top here it says, and this is            17       A. Good for you.
18   starting in cell C, NV?                                     18       Q. And this was produced as part of a production.
19      A. Don't know who that is.                               19       A. I don't care. It's not from a My Pillow
20      Q. That was going to be my question. "NV, I have         20   employee or Mike Lindell, that's what I'm telling you.
21   not tried these yet. Search database in first tab and       21   So you'll have to work that out and I will with this
22   try passwords with other email accounts in case they use    22   attorney right here as soon as, believe me, we'll be
23   the same password," do you see that?                        23   here all night until I find out where he got this.
24      A. Yeah.                                                 24       Q. Well, it may have come to your CTO, it may have
25      Q. Are you aware of any activity in hacking into         25   come to just someone else.
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 1   email accounts of election workers?                          1       A. No, nobody at My Pillow did this. If somebody
 2       A. No. What are you talking about.                       2   sent us an email, maybe at that            thing and we didn't
 3       Q. I'm talking about --                                  3   know about it, if that's where it came from, that could
 4       A. I've never seen this before and it didn't come        4   be, I don't know. This is a deviation. Believe me,
 5   from me or any employee of My Pillow, that's a fact, I       5   I'll find out where it came from. But it didn't come
 6   would bet my life on it, you got that. I would put           6   from a My Pillow employee. So when you did the
 7   everything I had on it, I would put everything on it.        7   discovery to My Pillow, maybe it was in like that little
 8   It didn't come from an employee of My Pillow and it          8   email you showed me before.
 9   didn't come from me. I never, and I never investigated       9          That, it looks like somebody sent us a bunch of
10   Eric Coomer, period.                                        10   evidence to an email address, that's what I would say,
11       Q. So you don't have an explanation as you sit here     11   or to Facebook. It looks like it might have been, maybe
12   today --                                                    12   it was on a My Pillow Facebook and somebody popped it up
13       A. I have one explanation, it never came from a My      13   there, that would be My Pillow discovery. That's, you
14   Pillow employee or me.                                      14   know what I mean, if that's the case. But it never came
15       Q. Well --                                              15   from a My Pillow employee or Mike Lindell.
16       A. 100 percent it didn't, not 99, because nobody in     16       Q. Well, it sounds like you need to investigate
17   My Pillow would even know this stuff. How would they        17   that first before you can swear to that.
18   even know this, this is crazy. I know all my employees,     18       A. No, I can swear to that now because I know my
19   nobody did, nobody. And I'd bet everything I have on        19   employees and I know me. Nobody, this would have came
20   it.                                                         20   before me, nobody would be doing this. They wouldn't
21       Q. All right.                                           21   even know how to do this. Nobody at My Pillow, no one
22       A. That I do know. You asked me what I know on          22   has even the brains or whatever the heck they're diving
23   this, I know that we didn't do it, Mike Lindell or My       23   into whatever the cyber stuff is.
24   Pillow employee.                                            24          If this came in discovery it came, like I told
25       Q. And you can work out how it got in my file --        25   you, either the ML email and nobody seen this. Anybody
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 1   that would have seen this at My Pillow would have          1         I don't know where you got it from, but we're
 2   brought this to me and said what the heck is this,         2   not in possession of that. If they sent, I guess if
 3   that's a fact. I can tell you that because I know my       3   they sent an email to you, I got a lot of other bad
 4   company. I would put everything I have. It didn't come     4   stuff where people send porno stuff to us in emails or
 5   from a My Pillow employee and it didn't come from Mike     5   hate email, and do I feel bad about having that in my
 6   Lindell and none of my employees seen this. And if they    6   possession, yeah, but I can't help it, it's an email.
 7   did see it, they would have brought it to me and said      7      Q. Well, here's, here's what I propose then, sir,
 8   what is this. That's it. I don't have cyber people         8   and I can talk offline with your counsel. We're going
 9   that work at My Pillow, none of them. So obviously some    9   to be together tomorrow.
10   hero probably sent that in.                               10      A. Yeah, I'll find out where this was, you can bet
11      Q. Why do you call them a hero?                        11   on that. That will be the first thing we can do, how is
12      A. Because it looks like, isn't it supposed to be      12   that.
13   you sent it about an investigation into Eric Coomer?      13      Q. Yeah, and we'll at least, I'm only entitled
14      Q. Yeah.                                               14   to --
15      A. Right, so he tried to be a hero. I never seen       15      A. Oh, no, I'm going to tell you everything because
16   this. That's what I would think, some guy that wanted     16   I want you to know everything. I don't hide my hand
17   to be a hero, I want to be a hero, here, I got all the    17   because I have nothing to hide. We will find out where
18   information on them, whatever it is.                      18   that came from, we will find out who sent it, if it was
19      Q. Does it, does it trouble you that My Pillow is      19   an email, who sent it, where they live, everything. I
20   in possession of this information?                        20   want to find out because you're not going to sit here
21      A. I didn't know they were and I don't know if they    21   and tell me one of my employees did it, because they
22   are. We have emails. You got, what you did, you, a        22   didn't.
23   deposition, or you got discovery, which is disgusting,    23      Q. I'm just asking you questions. I don't, I'm not
24   every email, all emails where you're mentioning           24   telling you anything.
25   whatever, the name Smartmatic, blah, blah, blah. So       25      A. What's even more if it was me that had it or one
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 1   emails that I can't control, outside emails that are      1    of my guys, one of my cyber guys did it for me
 2   sent to My Pillow.                                        2    personally, I think I would know about it, I would want
 3         You get outside emails. If I sent you an email      3    to see it. I've never seen this before in my life. So
 4   from, if I sent you an email here and saying what you     4    I know I didn't order an investigation into Eric Coomer.
 5   are and you're Mike Lindell, are you sorry you got an     5    Maybe these lawyers did. I'm going to find out from
 6   email from me? I can't, we can't control who we get       6    him. They probably did because you guys did this to
 7   email from and we certainly can't control what's said on  7    him, I'm sure they had to get an investigation going,
 8   Facebook. So if someone put this up on Facebook on a My 8      you know.
 9   Pillow site or they sent an email, what am I supposed to  9       Q. All right.
10   do, in possession of it. Did you want us to delete it    10       A. I just pay them, I don't know what they do, you
11   because we, I told you, we don't delete anything, we     11    know. If you're trying to incriminate them right now,
12   don't delete stuff. What do you think, you know, that's  12    you should tell him.
13   crazy. So am I ashamed to have that on there, no.        13              THE WITNESS: What did you guys do?
14      Q. I said does it trouble you?                        14       Q. No, I'm not, and they've been --
15      A. Trouble me as far as what?                         15       A. I'll find out.
16      Q. That you have this type of information on          16       Q. -- they've been thorough and professional.
17   election workers in your --                              17       A. I will find out, okay.
18      A. I don't have this information, we don't have it    18       Q. So I'm not saying anybody did anything wrong, I
19   at My Pillow. We're going to find out it was an email.   19    just want to get the answers to the questions.
20   We're not in possession of this.                         20       A. No, but I'm telling you it didn't come from My
21      Q. Well, yeah, you were.                              21    Pillow or Mike Lindell, so that we do know. And we will
22      A. No, we aren't. It's on an email, it's on an        22    find out so that you can say, wow, Mike, you're right.
23   email server. It could have been deleted, I don't know,  23    I can say 100 percent because I know all my people and I
24   I have to find out. If it's on Facebook, we're not in    24    know me. I would tell you if I did this, I would tell
25   possession of it. I thought I seen Facebook on here.     25    you if one of my employees could even do this. Zero,
                                                    Page 351                                                         Page 353

                                                                                                   89 (Pages 350 - 353)
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 1   zero percent.                                                 1 at this --
 2      Q. All right.                                              2    A. Yeah.
 3      A. It was probably an email from someone in one of         3    Q. -- and tell me, do you know how this information
 4   those       emails.                                           4 was gathered and who gathered it?
 5      Q. Okay. Thank you. What we'll do then when we             5    A. No idea and no idea. There was I know
 6   start up tomorrow, and this could change when we talk,                    I think she worked on it, I think            ,
 7   but I'll propose that we go on the record and finish the      7 once again, it was Lindell Management, she's my chief of
 8   My Pillow part of your deposition.                            8 staff, she would have had a team with her, probably
 9      A. Right.                                                  9                 maybe.
10      Q. To conclude with that.                                 10       They were just getting lists from, from like DC,
11      A. But you better add that back in, because that          11 I know we got a list, you know, that's online there with
12   didn't come from My Pillow, tomorrow.                        12 their emails. We knew all the, we knew most of the
13      Q. Okay.                                                  13 media. And cyber guys, that was invite, I think the
14      A. All right. Go ahead, what's the next thing.            14 word got out so they would, they would take an invite
15      Q. Just give me a second.                                 15 and then we would add them to the list. These weren't
16      A. All right. Hurry up, this lady wants to go             16 potential invites, these were people that reached out
17   home.                                                        17 and we had, they reached out to us and then we said if
18      Q. The clock runs no matter what I do.                    18 they were okay to be invited.
19      A. Okay. If I didn't know you, I'd swear you set          19    Q. Did any of the election companies send
20   me up there, put that in there, but then you tell me my      20 representatives or were they invited?
21   own attorneys gave it, that's disturbing.                    21    A. Who?
22      Q. Similar questions about another Excel                  22    Q. Anyone from any of the election companies,
23   spreadsheet that was produced, this, this one by under       23 Dominion, ES&S, Smartmatic.
24   the Lindell name, meaning it's supposed to have come         24    A. I don't know, I don't know. If they were cyber
25   from you personally, all right. But I think it relates       25 guys, then they were invited. Absolutely, if they were
                                                       Page 354                                                       Page 356

 1   to the symposium, so I want to ask you about this one.        1   cyber people that could come in there, they definitely
 2      A. Okay.                                                   2   should have been there, and they were invited. Anybody
 3      Q. This is Lindell, it's actually the first thing          3   with, you had to have cyber credentials. And I know
 4   that was produced, it's document No. 1.                       4   they were definitely invited when I was on a show once
 5      A. Okay.                                                   5   because they said are you inviting all the machine
 6            (Exhibit 74 marked for identification.)              6   companies, their cyber guys, absolutely.
 7      Q. So 74 is Lindell No. 1. And I'll try to get             7      Q. Well, part of the reason I was asking about this
 8   this close to you so you can see this one. In the, in         8   list is because we had, we had received some
 9   the days leading up to the Cyber Symposium, do you            9   communications between you and Tina Peters --
10   recall circulating a list of potential invitees --           10      A. No, you didn't, not before the symposium. I
11      A. No.                                                    11   didn't know who she was and I never communicated with
12      Q. -- to the symposium?                                   12   her ever before that, so you're lying. That's a fact.
13      A. No, I didn't do any of these invites. I don't          13      Q. You didn't let me finish my question.
14   know who any of these are. This was, like I say, they        14      A. Okay. Well, go ahead.
15   were given parameters, invite politicians, every             15      Q. You accused me of lying before I finished my
16   politician in the country was invited, Democrats and         16   question.
17   Republicans, both at the state levels and the federal        17      A. Well, you said I communicated with her and this
18   levels.                                                      18   list was done before the symposium.
19      Q. Okay.                                                  19      Q. So my question was, we received some
20      A. Every outlet media was invited, podcasters,            20   communications between you and Tina Peters recently
21   everybody, and cyber guys. And they had to prove that        21   dated in April of 2022, so that would have been after
22   they were a cyber, that they had --                          22   the symposium.
23      Q. You mentioned that.                                    23      A. A year later, yeah.
24      A. That's it.                                             24      Q. Okay.
25      Q. Do you know, the reason I'm, I want you to look        25             MR. CAIN: Well, let me just mark this.
                                                       Page 355                                                       Page 357

                                                                                                     90 (Pages 354 - 357)
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 1            (Exhibit 75 marked for identification.)               1   through July and the next page you're talking about, or
 2      A. I want to make it clear on the thing you just            2   she's talking about I should say, apparently raising
 3   showed me, those were not potential invites, those were        3   money.
 4   people that reached out to be invited, there's a               4      A. In 2022.
 5   difference. Do you follow me?                                  5      Q. Yes, sir.
 6      Q. Oh, yeah, I do.                                          6      A. Mm-hmm.
 7      A. As they reached out they got put on here and we,         7      Q. So fairly recently. Do you remember this
 8   or as we, except for the list, the politicians was a           8   episode where she was talking about raising money for
 9   massive list sent out, you know.                               9   her race on a recount?
10      Q. Okay. So that actually is a good point in               10      A. Yeah.
11   that --                                                       11      Q. Okay. And, and were you involved in that?
12      A. What's that?                                            12      A. No, no. She was, it looks like she was asking
13      Q. I said that was, that's a good point because I          13   me could I do a shout out on my media channel.
14   didn't really ask you how the invitations --                  14      Q. So she is, and that's why, part of why I'm
15      A. You said these were potential invites. Some of          15   asking this is, she's emailing, or excuse me, texting
16   them were, some weren't, some had reached out and they        16   you about raising money for this particular race and
17   had to be vetted.                                             17   she's sending that to your --
18      Q. Right, okay. Who actually sent out the                  18      A. It's not, I think this was a, I don't know if it
19   invitations, did My Pillow have anything to do with           19   was a race, it was through, to do a recount, right?
20   that?                                                         20      Q. A recount, right, I apologize.
21      A. No, no.                                                 21      A. Yeah, a recount. I had nothing to do with that.
22      Q. Okay.                                                   22      Q. Well --
23      A. No, it was done by Lindell Management, it was           23      A. She's asking, she's asking me like everyone else
24   done by -- you'd have to check. It was done by a              24   does, will you help me out and do that and I didn't.
25   Lindell Management server, not by a My Pillow.                25      Q. Okay. And that's, that's my question. So you
                                                        Page 358                                                          Page 360

 1       Q. Okay. All right.                                        1   say, "Is there something I can send out in email?"
 2       A. I think it went to symposium.com or something           2      A. That's what I said, right.
 3   like that, or whatever the event was. Symposium.com,           3      Q. And she asked you then to put this out to your
 4   there was a .com, there was a special email set up for         4   contacts?
 5   that to respond.                                               5      A. Right.
 6       Q. Gotcha.                                                 6      Q. Are you with me?
 7       A. It was not My Pillow.                                   7      A. And I didn't put it out.
 8       Q. Okay.                                                   8      Q. You didn't?
 9       A. Absolutely it wouldn't be My Pillow for this.           9      A. What?
10       Q. Fine. And so we're looking at Exhibit --               10      Q. You didn't put it out?
11             COURT REPORTER: 75.                                 11      A. No.
12       Q. 75. And this appears to be, it says, "Tina             12      Q. Why not?
13   new," is that her new cell phone?                             13      A. Well, I don't use My Pillow email for anything
14       A. What's that?                                           14   and I don't know what, for an email I didn't know where
15       Q. It, it says, "Tina new," like the person that          15   to put it out, I mean, I don't know where to put out
16   you're talking to --                                          16   something like that.
17       A. Mm-hmm.                                                17      Q. Okay.
18       Q. -- or texting with in this instance is, by the         18      A. I did not put my, never, never would I put an
19   context it's Tina Peters' new cell phone?                     19   email out from My Pillow involving anything with
20       A. I guess, yes, Tina new, that would be a new            20   elections or anything else other than sending pillows,
21   number, I don't know, probably a new number.                  21   period. So when she put an email, I might have said,
22       Q. Okay. And we don't have time, we're about to           22   you know, to email people around, like other podcasters
23   run out for the day, but since we're going to start up a      23   maybe, but I didn't do that. That's what I meant by
24   little bit tomorrow, we can maybe shave this a little         24   that, can I send out an email to other, because she
25   bit. This is an exchange in April and then it goes            25   asked me, if you read it here, it says, "I am," it says,
                                                        Page 359                                                          Page 361

                                                                                                       91 (Pages 358 - 361)
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 1   "It has to be individual donations, I need a shout out       1   really done anything with it because I didn't go out and
 2   from every media channel. Is there something I can send      2   solicit it. And Kurt started to and Kurt pretty much
 3   out in an email?" So I wanted her to write something         3   controlled the money coming out of there.
 4   and I could have sent it out to my podcasters maybe at       4      Q. But this other person, not a, not a My Pillow
 5   Frankspeech, but I didn't do it, no.                         5   employee or person?
 6         I just thought it was, you know, it doesn't make       6      A. No, no, from Wisconsin. He's not a My Pillow,
 7   sense, because it looks like, "Put this out, Mike, Mesa      7   his name is Paul, oh, my gosh. He runs a treatment
 8   County clerk can be," I never sent it. In fact, I            8   center, he runs a, he's a veteran that runs, I got to
 9   probably didn't look at the text. A lot of times people      9   know him through where I got saved, Operation Restored
10   text me, I don't have time to read it, I never sent that    10   Warrior.
11   out.                                                        11      Q. Do you know whether Tina Peters' attorney, Mr.
12      Q. And did My Pillow pay for her legal defense?          12   Gessler, was paid out of that Legal Offense Fund?
13      A. Absolutely not.                                       13      A. What's his name, I don't know who Gessler is?
14      Q. Did you personally?                                   14      Q. Scott Gessler.
15      A. No. My Pillow never paid a dime and I never           15      A. Don't know him, I don't even know who he is. I
16   paid a dime. Did she get money, you know, lawyer get        16   don't know if I've even met him. When I say I don't
17   money from the Lindell Legal Offense Fund, yeah, one        17   know, even if I met him, I might not know him by face.
18   lawyer did.                                                 18      Q. Okay. If you flip to it's 1422. I was confused
19      Q. On her behalf for her defense?                        19   by some, some statements here. At the top it says, you
20      A. I don't know what they were doing, I guess they       20   say, "Tina, are you available this morning? We should
21   were. But they set up their own fund and they went          21   get the employment done or did the movie people hire?"
22   south on it and two lawyers that to this day are sitting    22      A. Right.
23   on funds that they collected for her and nobody knew        23      Q. What are you referring to when, "We should get
24   what the heck they did with it.                             24   the employment done"?
25      Q. Okay.                                                 25      A. She was doing a documentary, it was called --
                                                      Page 362                                                         Page 364

 1      A. I never put in a dime personally.                      1   now I got to think.
 2      Q. All right. Well, the --                                2      Q. Selection Code?
 3      A. That I know of. And if I, and I could check            3      A. Election Code, Election Code, that's correct.
 4   before I got here, the Lindell Legal Fund, because           4      Q. Okay. So that's what this is referring to?
 5   you'll probably ask, we'll see if you put in money to        5      A. Yeah, yeah. She was doing it, it's for Election
 6   the Lindell Offense Fund it's called, and I don't            6   Code, or Selection Code. Selection Code, I'm sorry,
 7   believe I did, but those lawyers got money out of there      7   Selection Code. Yeah, that's what I was asking her. I
 8   for her attorneys I believe.                                 8   wanted to know if she got her employment done with the,
 9      Q. Okay.                                                  9   if the movie people hired her or paid her or whatever
10      A. That was for one month and then they did their        10   she was doing because it was her story.
11   own thing.                                                  11      Q. I see. Did My Pillow produce --
12      Q. The, the Legal Offense Fund --                        12      A. No, no.
13      A. Right.                                                13      Q. -- that particular deal?
14      Q. -- that you're aware of.                              14      A. No, My Pillow didn't produce that. It's some
15      A. It's a C corp.                                        15   outside company, I don't even know who they were. I can
16      Q. Yes. And you're, you're obviously, I think you        16   give you their names. My Pillow did nothing with any of
17   were actually the incorporator of that entity, do you       17   this, zero, absolutely zero.
18   understand that?                                            18      Q. All right. And then she goes on in response,
19      A. Yeah, there's three people on that board, Kurt        19   "Yes, I'm available. This lawsuit needs Dershowitz or
20   Olsen is one.                                               20   Powell. The SOS and Dominion violated statute in the
21      Q. And who is the other one?                             21   recount." What lawsuit was she --
22      A. Paul, some Paul, I don't know his last name.          22      A. I have no idea what she's talking about. I
23      Q. Okay.                                                 23   never responded, as you can see.
24      A. He's not from Minnesota, he was just a, going to      24      Q. Okay.
25   be just a board member back when set it up and we hadn't    25      A. No idea, absolutely no idea. If she's talking
                                                      Page 363                                                         Page 365

                                                                                                     92 (Pages 362 - 365)
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 1   about, she's probably talking about going after, this is     1   we are under a protective order in our case, some of
 2   what I'm assuming, going after her recount, but I don't      2   this is likely to be designated as confidential by
 3   know.                                                        3   either of the parties.
 4       Q. Okay. And then proceed to the next page in the        4      A. I haven't heard that yet.
 5   middle. In the middle it says, "Mike, sorry I missed         5      Q. Okay. We don't have to do it contemporaneously,
 6   your call, was in a meeting. Will call you back this         6   meaning we can do it --
 7   morning. Good stuff on this end too. I am determined         7      A. Okay. I'm not agreeing to anything.
 8   to bring down Dominion with Tina's case and we may take      8      Q. I'm not asking for your agreement.
 9   a major step in that direction tomorrow." Now it was         9      A. This thing, this thing is public already.
10   unclear to me if this is you texting this?                  10      Q. Right.
11       A. No, this is Mike, this is the lawyer, they had a     11             MR. MALONE: Mike, just listen to him,
12   lawyer named Mike for Tina Peters. This is a very bad       12   we'll object if we need to.
13   guy, just so the know, be careful, okay. This is the        13             THE WITNESS: Okay, okay.
14   guy that ran away with all the money, this is the guy       14      Q. Yeah, my point is this, I'm not here to advise
15   that I'm very upset with because he, he, he took off and    15   you, but if you talk about your deposition, if you talk
16   he, he had the evidence and stuff from Tina, he had, he     16   about what we did here today, it may ultimately end up
17   had everything. Everything he got from Tina he took it      17   violating the protective order if that portion is marked
18   down to that place in Texas, what's their name, Russ        18   confidential.
19   Ramsland, you know, they're all sitting there, got their    19      A. You do care about me.
20   little cabala going down there.                             20             THE WITNESS: This guy is bizarre, one
21       Q. Do you remember Mike's last name?                    21   minute he's hammering me, the next minute he's trying to
22       A. No.                                                  22   get me not to get in trouble. I thought you were
23             THE WITNESS: Do you know it, if I say it,         23   supposed to do that.
24   McCullough?                                                 24             MR. MALONE: That's an issue we agree,
25             MR. MALONE: That's right.                         25   nobody wants you in trouble, Mike, so keep listening.
                                                      Page 366                                                          Page 368

 1      A. Mike McCullough. You can have his name. I'll           1            THE WITNESS: Well, that's great, I got
 2   give you the other corrupt lawyer too.                       2   plans, so we're okay.
 3             THE WITNESS: It was Karen something?               3            MR. MALONE: He's not done, he's done yet.
 4             MR. MALONE: That one I don't know offhand.         4            MR. CAIN: I am, unless there is an
 5      A. Okay. Mike McCullough, that's him. That was            5   objection --
 6   before, before I told him off, I don't know what the         6      A. I do want to put it on the record that I will
 7   date on this, yeah, 8/23. So this is probably one of         7   for sure want that on the record what you put in there
 8   his last texts to me because I told him off. He's a bad      8   today, that one piece on there that I know didn't come
 9   guy.                                                         9   from My Pillow. I will have that answer for you
10      Q. Okay.                                                 10   tomorrow morning and I want to put it on the record, is
11      A. He was clinging onto Tina to make money and he's      11   that agreeable?
12   the one that paid all her stuff, by the way, out of a       12      Q. Yeah, that's what I'm proposing.
13   Tina Peters fund.                                           13      A. Okay. Because that is quite a deal you showed
14      Q. All right. We're getting a little far afield.         14   me there.
15   Let's do this, since you're going to be here tomorrow,      15      Q. All right.
16   what I would propose is let's take, let's take our          16            MR. CAIN: Let's, let's adjourn then.
17   adjournment now and you all can figure out, that will       17            VIDEO TECHNICIAN: We are going off the
18   give you some time to figure out --                         18   record at 6:01 p.m.
19      A. Hey, my show is starting, do you want to come on      19            (Proceedings adjourned for the day at
20   as a guest, off the record?                                 20            6:01 p.m., 03-08-2023)
21      Q. No, no desire to do that.                             21
22      A. That would blow the country's mind, here we got       22
23   the lawyer here that did this to My Pillow, Eric Coomer,    23
24   and he said I called him traitor.                           24
25      Q. I will say this on the record before we break,        25
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1          REPORTER'S CERTIFICATE
                                                                   1 Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
2
3                                                                  2 Michael J. Lindell (#5761446)
   STATE OF MINNESOTA )
 4               ) ss.
                                                                   3            ERRATA SHEET
   COUNTY OF WASHINGTON )                                          4 PAGE_____ LINE_____ CHANGE________________________
 5
 6    I hereby certify that I reported the videotaped
                                                                   5 __________________________________________________
   deposition of Michael J. Lindell, Volume I, on the 8th          6 REASON____________________________________________
 7 day of March 2023, in Minneapolis, Minnesota, and that
   the witness was by me first duly sworn to tell the whole        7 PAGE_____ LINE_____ CHANGE________________________
 8 truth;                                                          8 __________________________________________________
 9    That the testimony was transcribed by me and is a
   true record of the testimony of the witness;                    9 REASON____________________________________________
10                                                                10 PAGE_____ LINE_____ CHANGE________________________
      That the cost of the original has been charged to
11 the party who noticed the deposition, and that all             11 __________________________________________________
   parties who ordered copies have been charged at the same       12 REASON____________________________________________
12 rate for such copies;
13    That I am not a relative or employee or attorney or         13 PAGE_____ LINE_____ CHANGE________________________
   counsel of any of the parties, or a relative or employee       14 __________________________________________________
14 of such attorney or counsel;
15    That I am not financially interested in the action          15 REASON____________________________________________
   and have no contract with the parties, attorneys, or           16 PAGE_____ LINE_____ CHANGE________________________
16 persons with an interest in the action that affects or
   has a substantial tendency to affect my impartiality;          17 __________________________________________________
17                                                                18 REASON____________________________________________
      That the right to read and sign the deposition by
18 the witness was reserved.                                      19 PAGE_____ LINE_____ CHANGE________________________
19    WITNESS MY HAND AND SEAL THIS 22nd day of March 2023.       20 __________________________________________________
20
21                                                                21 REASON____________________________________________
22                                                                22
23
            <%17936,Signature%>                                   23 ________________________________ _______________
24          Kelley E. Zilles, RPR
                                                                  24 Michael J. Lindell             Date
            Notary Public, Washington County, Minnesota
25          My commission expires 1-31-2025                       25
                                                       Page 370                                                                 Page 372

 1 Ryan Malone                                                     1 Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
 2 Malone@parkerdk.com                                             2 Michael J. Lindell (#5761446)
 3              March 22, 2023                                     3           ACKNOWLEDGEMENT OF DEPONENT
 4 RE: Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al           4    I, Michael J. Lindell, do hereby declare that I
 5     3/8/2023, Michael J. Lindell (#5761446)                     5 have read the foregoing transcript, I have made any
 6     The above-referenced transcript is available for            6 corrections, additions, or changes I deemed necessary as
 7 review.                                                         7 noted above to be appended hereto, and that the same is
 8     Within the applicable timeframe, the witness should         8 a true, correct and complete transcript of the testimony
 9 read the testimony to verify its accuracy. If there are         9 given by me.
10 any changes, the witness should note those with the            10
11 reason, on the attached Errata Sheet.                          11 ______________________________           ________________
12     The witness should sign the Acknowledgment of              12 Michael J. Lindell           Date
13 Deponent and Errata and return to the deposing attorney.       13 *If notary is required
14 Copies should be sent to all counsel, and to Veritext at       14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
15 errata-tx@veritext.com.                                        15             ______ DAY OF ________________, 20___.
16                                                                16
17 Return completed errata within 30 days from                    17
18 receipt of testimony.                                          18             __________________________
19 If the witness fails to do so within the time                  19             NOTARY PUBLIC
20 allotted, the transcript may be used as if signed.             20
21                                                                21
22            Yours,                                              22
23            Veritext Legal Solutions                            23
24                                                                24
25                                                                25
                                                       Page 371                                                                 Page 373

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         Colorado Rules of Civil Procedure

        Chapter 4, Disclosure and Discovery

                        Rule 30



(e) Review by Witness; Changes; Signing. If

requested by the deponent or a party before

completion of the deposition, the deponent shall be

notified by the officer that the transcript or

recording is available. Within 35 days of receipt

of such notification the deponent shall review the

transcript or recording and, if the deponent makes

changes in the form or substance of the deposition,

shall sign a statement reciting such changes and

the deponent's reasons for making them and send

such statement to the officer. The officer shall

indicate in the certificate prescribed by

subsection (f)(1) of this rule whether any review

was requested and, if so, shall append any changes

made by the deponent.



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THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

2019. PLEASE REFER TO THE APPLICABLE STATE RULES OF

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              VERITEXT LEGAL SOLUTIONS
    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
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documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
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     5761446 -ER
1                     IN THE UNITED STATES DISTRICT COURT

2                         FOR THE DISTRICT OF COLORADO

3

4       Eric Coomer, Ph.D.,

5                       Plaintiff,

6            vs.                   Civil Action No. 1:22-cv-01129-WJM

7       Michael J. Lindell, Frankspeech LLC,

8       and My Pillow, Inc.,

 9                      Defendants.

10

11

12                 VIDEOTAPED DEPOSITION OF MICHAEL J. LINDELL

13              DESIGNATED REPRESENTATIVE OF MY PILLOW, INC.

14                          VOLUME I (Pages 1-370)

15

16

17      DATE:      March 8, 2023

18      TIME:      9:30 a.m. CST

19      PLACE: PARKER DANIELS KIBORT, LLC

20                 Colwell Building, Suite 888, 123 North 3rd St

21                 Minneapolis, Minnesota 55401

22

23

24      REPORTED BY: KELLEY E. ZILLES, RPR

25      Job No.: 5761446

                                                             Page 1

                                Veritext Legal Solutions
                                     800-336-4000
 1                     REPORTER'S CERTIFICATE
 2
 3
      STATE OF MINNESOTA )
 4                         ) as.
      COUNTY OF WASHINGTON )
 5
 6        I hereby certify that I reported the videotaped
      deposition of Michael J. Lindell, Volume I, on the 8th
 7    day of March 2023, in Minneapolis, Minnesota, and that
      the witness was by me first duly sworn to tell the whole
 B    truth;
 9        That the testimony was transcribed by me and is a
      true record of the testimony of the witness;
10
          That the cost of the original has been charged to
11.   the party who noticed the deposition, and that all
      parties who ordered copies have been charged at the same
12    rate for such copies;
13        That I am not a relative or employee or attorney or
      counsel of any of the parties, or a relative or employee
14    of such attorney or counsel;
15        That I am not financially interested in the action
      and have no contract with the parties, attorneys, or
16    persons with an interest in the action that affects or
      has a substantial tendency to affect my impartiality;
17
          That the right to read and sign the deposition by
18    the witness was reserved.
19        WITNESS MY HAND AND SEAL THIS 22nd day of March 2023.
20
21
22
23
                  ).0031,w4             ilito
24                Kelley E. Zilles, RPR
                  Notary Public, Washington County, Minnesota
25                My commission expires 1-31-2025

                                                     Page 370

                          Veritext Legal Solutions
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              REPORTER'S CERTIFICATE
 2                                                                        I Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
                                                                          2 Michael J. Lindell (#5761446)
     STATE OF MINNESOTA )
 4                 SS.
                                                                          3             ERRATA SHEET
     COUNTY OF WASHINGTON )                                               4 PAGE           LINE         CHANGE
 5
 6     I hereby certify that I reported the videotaped                    5
    deposition of Michael J. Lindell, Volume I, on the 8th                6 REASON
 7 day of March 2023, in Minneapolis, Minnesota, and that
    the witness was by me first duly sworn to tell the whole              7 PAGE           LINE         CHANGE
 8 truth;                                                                 8
 9     That the testimony was transcribed by me and is a
    true record of the testimony of the witness;                          9 REASON
10                                                                       10 PAGE           LINE         CHANGE
       That the cost of the original has been charged to
11 the party who noticed the deposition, and that all                    11
    parties who ordered copies have been charged at the same             12 REASON
12 rate for such copies;
13     That I am not a relative or employee or attorney or               13 PAGE           LINE         CHANGE
    counsel of any of the parties, or a relative or employee             14
14 of such attorney or counsel;
15     That I am not financially interested in the action                15 REASON
    and have no contract with the parties, attorneys, or                 16 PAGE           LINE         CHANGE
16 persons with an interest in the action that affects or
    has a substantial tendency to affect my impartiality;                17
17                                                                       18 REASON
       That the right to read and sign the deposition by
18 the witness was reserved.                                             19 PAGE           LINE         CHANGE
19     WITNESS MY HAND AND SEAL THIS 22nd day of March 2023.             20
20
21                                                                       21 REASON
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24
          Mug
           ....In.),
                               4.11)                                     23
                                                                         24 Michael J. Lindell              Date
           Notary Public, Washington County, Minnesota
25         My commission expires 1-31-2025                               25
                                                              Page 370                                                                   Page 372

 1 Ryan Malone                                                                Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
 2 Malone@parkerdk.com                                                    2 Michael J. Lindell (#5761446)
 3                     March 22, 2023                                     3            ACKNOWLEDGEMENT OF DEPONENT
 4 RE: Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al                  4     I, Michael J. Lindell, do hereby declare that I
 5      3/8/2023, Michael J. Lindell (#5761446)                           5 have read the foregoing transcript, I have made any
 6      The above-referenced transcript is available for                  6 corrections, additions, or changes I deemed necessary as
 7 review.                                                                7 noted above to be appended hereto, and that the same is
 8    Within the applicable timeframe, the witness should                 8 a true, correct and complete transcript of the testimony
 9 read the testimony to verify its accuracy. If there are                9 given by me.
10 any changes, the witness should note those with the
1 1 reason, on the attached Errata Sheet.
12      The witness should sign the Acknowledgment of
                                                                         10
                                                                         11
                                                                                         •


                                                                         12 Michael J. Lindell fDate
                                                                                                             4-eeetvo)
13 Deponent and Errata and return to the deposing attorney.              13 *If notary is required
14 Copies should be sent to all counsel, and to Veritext at              14              SUBSCRIBED AND SWORN TO BEFORE ME THIS
15 errata-tx@veritext.com.                                               15                       DAY OF                          , 20
16                                                                       16
17    Return completed errata within 30 days from                        17
1 8 receipt of testimony.                                                18
19     If the witness fails to do so within the time                     19              NOTARY PUBLIC
20 allotted, the transcript may be used as if signed.                    20
21                                                                       21
22                Yours,                                                 22
23               Veritext Legal Solutions                                23
24                                                                       24
25                                                                       25
                                                              Page 371                                                                   Page 373

                                                                                                                   94 (Pages 370 - 373)
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